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                EXHIBIT 14
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                                                                       Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
 2                       MDL NO. 16-2738 (MAS)(RLS)
 3
         IN RE:       JOHNSON & JOHNSON          :
 4       TALCUM POWDER PRODUCTS                  :
         MARKETING, SALES PRACTICES,             :
 5       AND PRODUCTS LIABILITY                  :
         LITIGATION                              :
 6
 7
 8                      Remote deposition of DAVID A.
 9       KESSLER, M.D., taken in the above-entitled
10       matter before Suzanne J. Stotz, a Certified
11       Court Reporter (License No. 30XI00184500) and
12       Notary Public of the State of New Jersey, taken
13       on Monday, April 8, 2024, commencing at
14       9:09 a.m. EDT.
15
16
17
18
19
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21
22
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25

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     1 A P P E A R A N C E S:                                       1              INDEX
     2 ATTORNEYS FOR PLAINTIFF:
     3    (Via videoconference)
                                                                    2
          BEASLEY ALLEN LAW FIRM                                    3         EXAMINATION                  Page No.
     4    BY: LEIGH O'DELL, ESQ., and                               4 DAVID A. KESSLER, M.D.
          BY: MARGARET M. THOMPSON, ESQ., and
     5    BY: KELLI ALFREDS, ESQ., and
                                                                    5    BY MR. EWALD                        8
          BY: LEANNA PITTARD, ESQ.                                  6
     6    218 Commerce Street                                       7
          Montgomery, Alabama 36104
     7    (800) 898-2034
                                                                    8            EXHIBITS
          leigh.odell@beasleyallen.com                              9
     8                                                             10 Exhibit        Description         Page No.
              - and -                                              11 Exhibit 1     Curriculum Vitae of      14
     9
          (Via videoconference)                                                 David A. Kessler
    10    ASHCRAFT & GEREL, LLP                                    12
          BY: MICHELLE A. PARFITT, ESQ.                               Exhibit 2     Amended expert report 31
    11    4900 Seminary Road, Suite 650
          Alexandria, Virginia 22311                               13           of David A. Kessler,
    12    (844) 680-0339                                                        M.D., dated November
          mparfitt@ashcraftlaw.com                                 14           15, 2023
    13
              - and -                                              15 Exhibit 3     Expert report of David 45
    14                                                                          A. Kessler, M.D.,
          (Via videoconference)                                    16           dated November 16,
    15    LEVIN PAPANTONIO RAFFERTY, P.A.
          BY: CHRISTOPHER V. TISI, ESQ.
                                                                                2018
    16    316 South Baylen Street                                  17
          Pensacola, Florida 32502                                    Exhibit 4     Invoice, dated        48
    17    (850) 435-7000
          ctisi@levinlaw.com
                                                                   18           December 1, 2018
    18                                                             19 Exhibit 5     Photograph of          64
              - and -                                                           materials the witness
    19                                                             20           has
          (Via videoconference)
    20    GOLOMB LEGAL                                             21 Exhibit 6     Reliance List Initial 82
          BY: RICHARD GOLOMB, ESQ.                                              Report
    21    1835 Market Street, Suite 2900                           22
          Philadelphia, Pennsylvania 19103
    22    (215) 278-4449                                              Exhibit 7     First Amended           82
          rgolomb@golomblegal.com                                  23           Appendix C Materials
    23                                                                          Considered
              - and -
    24                                                             24
    25                                                             25

                                                          Page 3                                                               Page 5
     1 A P P E A R A N C E S (Continued):                           1          I N D E X (Continued)
     2                                                              2
     3 ATTORNEYS FOR PLAINTIFF (Continued):                         3       E X H I B I T S (Continued)
     4    (Via videoconference)                                     4 Exhibit
          WILLIAMS, HART & BOUNDAS, LLP                               Name       Description           Page No.
                                                                    5
     5    BY: BRIAN ABRAMSON, ESQ.
                                                                    6 Exhibit 8     First Amended         83
          8441 Gulf Freeway, #600
                                                                                Appendix C Materials
     6    Houston, Texas 77017                                      7           Considered
          (713) 230-2343                                            8 Exhibit 9     White Paper: IWGACP 141
     7    babramson@whlaw.com                                                   Scientific Opinions on
     8       - and -                                                9           Testing Methods For
     9    (Via videoconference)                                                 Asbestos in Cosmetic
          COHEN, PLACITELLA & ROTH, P.C.                           10           Products Containing
    10    BY: CHRISTOPHER M. PLACITELLA, ESQ., and                              Talca Bates labeled
          BY: DREW M. RENZI, ESQ.                                  11           P-2318 through
    11    2001 Market Street, Suite 2900                                        P-2318_030
          Philadelphia, Pennsylvania 19103                         12
    12    (215) 567-3500                                              Exhibit 10 World Health            142
                                                                   13           Organization
          cplacitella@cprlaw.com
                                                                                International Agency
    13    drenzi@cprlaw.com
                                                                   14           for Research on
    14                                                                          Cancer, IARC
    15 ATTORNEYS FOR THE DEFENDANT:                                15           Monographs on the
    16    (Via videoconference)                                                 Evaluation of
          KING & SPALDING LLP                                      16           Carcinogenic Risks to
    17    BY: JOHN EWALD, ESQ., and                                             Humans, Volume 93,
          BY: JACK KEESTER, ESQ.                                   17           Carbon Black, Titanium
    18    1185 Avenue of the Americas, 34th Floor                               Dioxide, and Talc
          New York, New York 10036                                 18
    19    (212) 556-2100                                              Exhibit 11 Johnson & Johnson          153
          jewald@kslaw.com                                         19           Consumer Products,
    20    jkeester@kslaw.com                                                    Inc., Authorization
                                                                   20           for Interim
    21       - and -
                                                                                Specification, Bates
    22    (Via videoconference)
                                                                   21           labeled
          FAEGRE DRINKER BIDDLE & REATH LLP                                     JNJMX68_000000438
    23    BY: SUSAN M. SHARKO, ESQ.                                22           through
          600 Campus Drive                                                      JNJMX68_000000441
    24    Florham Park, New Jersey 07932                           23
          (973) 549-7000                                           24
    25    susan.sharko@faegredrinker.com                           25


                                                                                                                      2 (Pages 2 - 5)
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                                                            Page 6                                                 Page 8
     1          I N D E X (Continued)
     2
                                                                      1      D A V I D A. K E S S L E R, M. D.,
     3       E X H I B I T S (Continued)                              2   having first been duly sworn, was examined and
     4 Exhibit
       Name Description                Page No.                       3   testified as follows:
     5
       Exhibit 12 Document entitled,       160
                                                                      4                 EXAMINATION
     6           "Asbestiform Amphibole                               5   BY MR. EWALD:
                 Minerals in Cosmetic
     7           Talc, Bates labeled                                  6       Q. Good morning, Dr. Kessler.
     8
                 JNJ 000405219 through
                 JNJ 000405228
                                                                      7       A. Good morning, Mr. Ewald.
     9 Exhibit 13 Cancer Prevention        205                        8            I'm going to ask: Can someone help
                 Coalition Citizen
    10           Petition Seeking                                     9   me just make Mr. Ewald center? Is that
                 Carcinogenic Labeling                               10   possible?
    11           on all Cosmetic Talc
                 Products, dated                                     11            Is there any way on Zoom so I don't
    12           November 17, 1994
    13 Exhibit 14 Letter dated          221
                                                                     12   see everybody?
                 November 17, 1994,                                  13            (Discussion held off the record.)
    14           with enclosure of
                 Citizen Petition                                    14   BY MR. EWALD:
    15           Seeking Carcinogenic
                 Labeling on all
                                                                     15       Q. Just for the record, where are you
    16           Cosmetic Tale Products                              16   located today?
    17 Exhibit 15 Document entitled,       240
                 "Talc: Consumer Uses                                17       A. I am in a conference room on the
    18           and Health
                 Perspectives," dated
                                                                     18   seventh floor, I believe, on 1825 Case Street
    19           October 1, 1994,                                    19   at a law firm that you're aware of.
                 cosponsored by the
    20           International Society                               20       Q. Okay. Fair enough.
    21
                 of Regulatory
                 Toxicology &
                                                                     21            And just so I have a general sense
                 Pharmacology and the                                22   as we're going through, what materials, if any,
    22           United States Food and
                 Drug Administration
                                                                     23   do you have in front of you?
    23                                                               24       A. A lot of materials. In front of
    24
    25                                                               25   me, less. Behind me on the side, a good deal.
                                                            Page 7                                                 Page 9
     1          I N D E X (Continued)
     2
                                                                      1   I'm happy to -- if you let me look off to the
     3       E X H I B I T S (Continued)                              2   side or behind me, I'm happy to look around and
     4 Exhibit
       Name Description                Page No.                       3   give you a general description of this, sir.
     5
       Exhibit 16 The United States         250
                                                                      4       Q. Yeah. I don't want to spend too
     6           Food & Drug                                          5   long with it; but if you can give me a general
                 Administration's
     7           response to the 1986                                 6   overview, that would be great.
     8
                 citizen's petition                                   7       A. Got it. I'm not going to go
       Exhibit 17 Article published in 280                            8   through the electronics.
     9           "The Microscope" in
                 Volume 38 Fourth                                     9       Q. Yeah.
    10           Quarter 1990                                        10       A. A couple of monitors. My computer.
    11 Exhibit 18 Johnson & Johnson           285
                 document with the                                   11   I have my report. I have a pad with sheets
    12           subject: "Allegation
                 made by Dutch Consumer
                                                                     12   attached to it. I'm happy to show you, hold
    13           Organization of                                     13   that up to the camera.
                 Asbestos in our
    14           Overseas Talc -                                     14           To my right of me, I have probably
                 Project No. 0936.00,"
    15           dated September 20,
                                                                     15   25 different large, I would guess, 22 by
                 1973                                                16   17 inch sheets of paper. I don't know maybe
    16
       Exhibit 19 Memorandum dated April 301                         17   there's 25 different binder clips attached to
    17           13, 1994, Bates
                 labeled JNJ 000404835
                                                                     18   those sets of papers. So there's a table set
    18                                                               19   up with large papers to the side of me.
       Exhibit 20 Memorandum dated             303
    19           July 1, 1994, Bates                                 20           Behind me, I have maybe -- I don't
    20
                 labeled JNJ 000016687
                 and JNJ 000016688
                                                                     21   know -- 15, 20 binders ranging in size, and I
    21                                                               22   am happy to walk -- at any time you would like
    22
    23
                                                                     23   I will be happy to tell you what's in these
           (Exhibits attached to transcript.)                        24   binders. Nothing surprising. Primarily
    24
    25                                                               25   binders that are -- the documents that are
                                                                                                         3 (Pages 6 - 9)
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                                                  Page 10                                                 Page 12
     1   cited in my report. There's a binder of epi         1   BY MR. EWALD:
     2   studies, a binder of lab test studies. There's      2      Q. All right. And just as a general
     3   a binder of FDA documents. But I'm happy to         3   matter, I understand you have the sheet in
     4   walk through.                                       4   front of you, which is sort of a compilation of
     5            Is that sufficient?                        5   a variety of different things, fair?
     6            Does that give you a sense.                6      A. Yes, sir, exactly.
     7       Q. That's -- that's very helpful. And           7      Q. And are you aware of any materials
     8   it's, actually, the level I was looking for         8   that are in paper in the room that are not
     9   right now.                                          9   included in either your report or the materials
    10            You mentioned a pad with sheets           10   considered list?
    11   attached. I wasn't sure what you were              11      A. I think generally not. It's
    12   referring to when you said that.                   12   possible. Anything's possible, you know. I
    13       A. Yeah. So I mean, I have -- there            13   may have printed off a study, an epi study, or
    14   are large sheets of paper, and they're cut and     14   something like that in the last couple of days
    15   pastes and just things I taped to these large      15   that ends up here and I've not checked it
    16   sheets. So there's usually eight -- there may      16   against the reliance list. The reliance list,
    17   be an 8 1/2 x 11 piece of paper that -- most of    17   as you know, is substantial.
    18   these are materials from -- that have been         18      Q. It is.
    19   produced. And there's, you know, a page here,      19      A. So I would -- let -- let -- let me
    20   a page there; and it's taped on this larger        20   not make -- it's certainly possible there's
    21   sheet. And I'm happy to hold it up to you if       21   something not on the reliance list. That was
    22   you'd like.                                        22   not my intent. My intent was to make sure, you
    23       Q. All right. What I would suggest is          23   know, but some things could have been copied
    24   if we can, please, get a copy of that during       24   and I printed off and, you know, and you know.
    25   the break, work with counsel so I can take a       25      Q. And to be clear, it's not a
                                                  Page 11                                                 Page 13
     1 look at what you're -- what you're looking at?        1   got-you.
     2    A. And I don't want to lawyer, sir,                2            I want to know as you sit here
     3 but I'm happy -- there's a lot of materials           3   today, are you aware of any materials that are
     4 here --                                               4   in the room that you've subscribed that are not
     5         MS. O'DELL: Let me weigh in on                5   contained on your materials considered list.
     6    that, John.                                        6       A. I'm happy to go over it through the
     7         We're -- we're happy to -- I don't            7   break and tell you what I printed off during
     8    believe there's a facility here to copy it         8   the last couple of days, and then we can check
     9    because they're quite large posters. And           9   to answer that question specifically.
    10    so we're happy to provide a photo of it so        10            But, you know, I took great pains
    11    you can see --                                    11   to make sure that the reliance list was --
    12         MR. EWALD: Sure.                             12   with, -- you know, with legal staff; and you
    13         MS. O'DELL: -- what's here. After            13   have two updated reliance lists to -- you
    14    the deposition, we can commission or you          14   should have. But I'm happy to rethink through
    15    can commission Golkow to -- to scan these         15   what I've printed off and I may have that could
    16    if you'd like; but -- but I don't                 16   potentially not be there.
    17    believe -- I don't want to assure you we          17       Q. Okay. Thanks.
    18    can get a copy because I don't --                 18            So let's start with the most recent
    19         MR. EWALD: No. I mean -- no. I               19   CV that I received from counsel. I'm going to
    20    appreciate that. And also, I was thinking         20   put it on the screen there. Always good first
    21    generally about the size. So a picture            21   test.
    22    with enough resolution where I can look at        22            Do you see that, Doctor?
    23    it during the break would be wonderful.           23       A. I see -- yes, sir, I see
    24    Thank you.                                        24   Appendix A. Good job.
    25         MS. O'DELL: Okay.                            25       Q. Well, thank you. That's a good
                                                                                              4 (Pages 10 - 13)
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                                                    Page 14                                                   Page 16
     1   start. Good start.                             1          two things that are -- that I can think of. So
     2            So I'll mark this as Exhibit 1.       2          if you're on page 8 -- there you go, sir. So
     3            (Whereupon, Exhibit 1, Curriculum     3          that is -- that's correct, you know. I was on
     4      Vitae of David A. Kessler, was marked for   4          the Ellodi board, and I have subsequently, in
     5      identification.)                            5          the last month or so, gone back on the Ellodi
     6   BY MR. EWALD:                                  6          board.
     7      Q. And this, I will represent, was          7              Q. Okay.
     8   Appendix A to the Amended Report, sir, by      8              A. All right. And it says senior
     9   Dr. Kessler at the end of 2018.                9          advisor TPG through 2020. Obviously I went off
    10      A. And to make your lift -- I don't        10          when I went into -- I mean, at 2020. And then
    11   mean to cut you off, but to make your life    11          I've just go back on as a senior advisor.
    12   easier, I just have a copy of my report with  12                   I think those things are in effect.
    13   the appendices in front of me too, sir.       13          If not, they're going into effect.
    14      Q. Okay.                                   14              Q. Okay.
    15      A. So I'm happy to turn the page, but      15              A. Those -- those are two -- two that
    16   also watch the screen.                        16          I'm aware of, sir.
    17      Q. Yes. Whatever is -- whatever is         17              Q. And so with the caveat that it may
    18   easiest for you. So get that in front of you. 18          not fully been in effect, within the last month
    19   Let me know when you have your CV in front of19           or two, you have rejoined the boards of Ellodi
    20   you.                                          20          Pharmaceuticals and TPG?
    21      A. I have -- I'm looking at both sets      21              A. One slight modification to your
    22   right now. Yes.                               22          statement. I don't mean to quibble.
    23      Q. Okay.                                   23              Q. Sure.
    24      A. The screen and the spiral bound         24              A. TPG's not a board. Ellodi is a
    25   report.                                       25          board. TPG I'm just a senior advisor.
                                                    Page 15                                                   Page 17
     1       Q. Good. And this was served along                1        Q. All right. An important
     2   with your report that was dated November 15th,        2   distinction, so I appreciate that.
     3   2023.                                                 3            Okay. Now, if we go back to the
     4           Is there a more recent CV of which            4   first page, my understanding from your report
     5   you are aware?                                        5   is that you left government service most
     6       A. There is not that I'm aware of.                6   recently in January 19th, 2023.
     7       Q. Are you aware of any revisions that            7            Does that sound right?
     8   should be made to this CV that's dated                8        A. That's exactly correct.
     9   November 15th, 2023?                                  9        Q. Okay. So you leave government
    10       A. So no revisions as of that date.              10   service January 19th, 2023.
    11   There may be some other stuff that has happened      11            Do you take any well-deserved time
    12   subsequent to that.                                  12   off?
    13           I can think of one thing that may            13        A. A complicated answer.
    14   have been -- you know, there may be updates,         14        Q. Okay. How is it complicated?
    15   you understand, things that happened that are        15        A. 600- -- I -- I don't mean to be
    16   not on the CV; but the CV's right. CV's are          16   flip. All I mean is, the answer is -- the
    17   never right. There's always a mistake on the         17   answer is yes, not off; but I'm much more Zen,
    18   CV. You know that.                                   18   sir.
    19       Q. What updates are you referring to             19            I mean --
    20   since November 15th, 2023, that you add to the       20        Q. Okay.
    21   CV?                                                  21        A. -- 656 million vaccines and
    22       A. Just for, you know, things like --            22   antivirals and an intense number of years for
    23   I can think of -- you can see that I was on a        23   all of us; is that fair?
    24   board in 2020. I think it says in 2020 Ellodi.       24            So I think the -- that's behind us.
    25           If you go down on page 8, there are          25   But when you use the word "off," I then
                                                                                                 5 (Pages 14 - 17)
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     1   resumed -- I was on leave, sir. I mean, if I     1      those -- those funds to do that, and I'm
     2   can jump ahead.                                  2      working on that.
     3       Q. Sure.                                     3          Q. And can you tell me, generally, the
     4       A. I was on leave from the University        4      nature of the two books that you're currently
     5   of California, San Francisco; and, you know,     5      working on?
     6   they've -- I'm -- I'm back on. I'm back on       6          A. I'm happy to. One is -- I mean,
     7   teaching, et cetera.                             7      they're consistent with, you know, things I've
     8       Q. Okay. And -- and that's really,           8      done.
     9   you know, I'm not trying to get into too much    9              One is on obesity, weight, the
    10   while you were on vacation or anything like     10      public health implications of cardiovascular,
    11   that. I really just want to understand.         11      metabolic. So I'm working on a research in
    12            You leave January 19th, 2023.          12      that area.
    13            When do you resume activities at       13              And I've recently agreed to do a
    14   University of California?                       14      book with a number of historians on the
    15       A. Pretty simultaneously. I was on          15      legacy operation -- I mean, putting down the
    16   leave, so the leave stopped was I think the way 16      lessons learned from Operation Warp Speed.
    17   it worked. We can check that.                   17          Q. All right. Apart from your
    18       Q. Okay. And so when you resumed            18      teaching obligations and your research as
    19   shortly after leaving the government in January 19      reflected in part of these upon the two books,
    20   2023, what were -- what -- what were the        20      any other responsibilities that you currently
    21   contours of your job?                           21      have at UCSF?
    22       A. So I'm -- as it was before, I'm a        22          A. Just the usual responsibilities,
    23   professor of pediatrics epidemiology and        23      you know. I mean, I get called on to assist in
    24   biostat. I teach, and I do my research.         24      certain, you know, institutional matters to,
    25       Q. Okay. Are you teaching any classes       25      you know, mentor faculty and just do the --
                                                  Page 19                                                  Page 21
     1   this semester?                                      1   assist colleagues; and those -- those --
     2       A. I -- Well, semester's a little hard          2   that's -- those are the primary. Most of my
     3   in the medical world. We go more by -- by           3   job is research writing, obviously.
     4   years.                                              4       Q. And I believe that your CV says you
     5           Yes, I was just teaching last week,         5   have not been an attending pediatrician since
     6   for example.                                        6   2013; is that correct?
     7       Q. And since rejoining UCSF, have you           7       A. Correct. That's exactly right.
     8   been teaching consistently over that period of      8       Q. All right. So what about on the --
     9   time?                                               9   well, withdrawn.
    10       A. Yeah. I'm a medical                         10            When you get out of government most
    11   school teacher. Yes. I mean, I teach               11   recently on January 19th, 2023, we talked about
    12   epidemiology and biostat; and I -- you know, I     12   your UCSF.
    13   teach sections, et cetera, in the, you know,       13            At that point in time, did you also
    14   the principles of epidemiology and biostat and     14   resume working in connection with expert
    15   clinical decision-making.                          15   witness work for litigation?
    16           And I've -- I've taught that pretty        16       A. I've done some, yes.
    17   consistently since I've -- I -- I left as I did    17       Q. Okay.
    18   before I went in.                                  18       A. I don't -- I don't think
    19       Q. Okay. And in addition to teaching           19   necessarily immediately. I don't want to, you
    20   classes, what other responsibilities do you        20   know -- but throughout -- throughout the year
    21   have at UCSF?                                      21   I've done some. I'm trying to -- when I say
    22       A. So I -- I am currently -- you know,         22   "year," you know, what -- what are we at now?
    23   I am on -- you know, I'm writing two books, to     23   I'm at about 15 months --
    24   get to the chase. I do my research. I do my        24       Q. Right.
    25   writing, you know. I mean, I have, you know,       25       A. -- 16 months. Yes, I've done some,
                                                                                              6 (Pages 18 - 21)
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                                                   Page 22                                                 Page 24
     1   yes.                                             1       BY MR. EWALD:
     2       Q. And I'm only looking for the -- the       2           Q. Except, for example, clinical work
     3   cases that, you know, have been disclosed.       3       in Johnson & Johnson subsidiaries; is that
     4            What expert witness work have you       4       something you continue to work on?
     5   done since you have come out of government? 5                A. I believe that they're -- the
     6       A. So my -- my -- here's my                  6       answer is no -- well, the answer is no. There
     7   recollection. Here's what I have in my head.     7       may have been a phone call or two -- I don't
     8            There were two matters that were --     8       have a recollection -- from some counsel about
     9   let's call them legacy matters if that's okay.   9       a question about Pinnacle in the last year, but
    10   These are matters before I went into            10       I don't have a firm recollection of that right
    11   government; and then, you know, then when I 11           at this moment.
    12   came out I got, you know, called again.         12           Q. All right. And we'll get more in
    13            So obviously, this matter, you         13       to it as the deposition proceeds.
    14   know, that has a longer history going back, I   14                But do you recall approximately
    15   think, you know, your first report you're aware 15       when you were contacted, after leaving in
    16   of.                                             16       January 2023, by plaintiff's counsel in this
    17            There was -- is a matter where I       17       case about reengaging on this legacy matter?
    18   testified at trial on a Bard mesh case in       18           A. I apologize, I don't remember the
    19   Columbus, Ohio, last year. That was a legacy 19          month. I'm blocking. You know, if I had to
    20   case that, you know, I -- I believe I had filed 20       guess -- I don't want to guess. I don't recall
    21   a report even before I went into government.    21       exactly when that phone call came in last year,
    22            And then there is a lead in baby       22       but it obviously came in. You know, my guess
    23   foods case, Hain, Gerber, I don't know what the 23       is it came in -- well, can I speculate, give
    24   exact status of that consolidation. I don't     24       you an approximation?
    25   know if there is an MDL that's been formed or 25             Q. Well, I would say I don't need a
                                                   Page 23                                                 Page 25
     1   not. I believe that was -- my recollection           1   specific month. I'm generally looking for, you
     2   that's -- that's new since. So it's those            2   know, month, range, or the seasons, whatever is
     3   three -- three matters, one of them including        3   the --
     4   this obviously, sir.                                 4      A. Yeah. Again, I could be off on
     5      Q. And are there any other, as you                5   this; but my recollection, there was a phone
     6   said, legacy matters of which you are aware          6   call in the spring of last year, right, on
     7   that you're continuing to work or planning to        7   these matters.
     8   work on since you've come back into government       8      Q. All right. So I'm not saying it's
     9   service?                                             9   anything close to exactly, but about a year
    10            MS. O'DELL: John, you understand           10   ago?
    11      you're only asking for cases in which            11      A. Yeah. I mean, if I could refresh
    12      Mr. Kessler knows --                             12   my memory -- that's my recollection, yeah.
    13            MR. EWALD: Yes.                            13      Q. And how would you refresh your
    14            MS. O'DELL: -- he's been                   14   memory?
    15      disclosed.                                       15      A. I would have to -- I would either
    16            MR. EWALD: Yes.                            16   have to check my e-mail to see whether there
    17            THE WITNESS: Known I've been               17   was an e-mail that said, you know, please call
    18      disclosed? I'm just trying to think, sir.        18   me or something like that or I can ask.
    19            It's possible there's an antitrust         19      Q. Okay. Do you recall the name of
    20      matter. Let me just not go any further           20   the plaintiff counsel that reached out to you
    21      than that because I don't know the status        21   after you left government in January 2023?
    22      of disclosure. It may be an antitrust            22      A. I do.
    23      matter where I have been contacted.              23      Q. Who was it?
    24      Nothing other than that that jumps out at        24      A. So I need -- the reason I'm
    25      me, sir.                                         25   hesitating, sir, is it was involving a talc
                                                                                               7 (Pages 22 - 25)
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     1   case that was not this case, not the MDL,             1   right way to say it.
     2   right.                                                2       Q. So then you asked that question.
     3       Q. Okay.                                          3           What happens next as it relates to
     4       A. I just want to be careful on                   4   your work on this case?
     5   whether I've been disclosed in that matter or         5       A. I get called by either that
     6   not. And if I give you the name of that               6   counsel, unnamed called MDL counsel, or I got
     7   lawyer -- again, I'm happy to check at the            7   called by MDL counsel.
     8   break with counsel to make sure I can reveal          8       Q. Okay. And what was the general
     9   that. But the phone call that came in was from        9   message that they communicated?
    10   counsel. It was -- I'm not sure -- I mean, it        10       A. I believe at that stage -- again,
    11   was a state case. It was not a --                    11   don't hold me to this, but it was general --
    12       Q. Right.                                        12   the bankruptcy issues are being resolved. It
    13       A. -- not an MDL case. That's why I'm            13   looks like this is moving ahead. Again, I
    14   being a little -- being careful here, sir.           14   apologize for the timeframe. I'm not --
    15       Q. Understood. And so we may go back             15       Q. Sure.
    16   to that if necessary.                                16       A. And obviously we would like to --
    17       A. Could you do me a favor?                      17   we would like you to continue your work,
    18            Could you take down, if possible,           18   whatever the word, reengage with the MDL. And
    19   my CV?                                               19   I asked -- then I asked State counsel who
    20            I'd love to see you --                      20   called me to engage with MDL counsel and make
    21       Q. Okay.                                         21   sure these things were -- what's the right
    22       A. -- otherwise in thumbnail.                    22   word, whatever the right terminology -- not in
    23       Q. I'm happy to do that.                         23   conflict.
    24       A. Thanks.                                       24       Q. All right. I'm assuming, because
    25       Q. It's good practice anyway.                    25   you're sitting here today, that you got the
                                                    Page 27                                                  Page 29
     1            So we may get back to the identity           1   all-clear on the conflict?
     2   of the lawyer if it matters; it may not.              2       A. Yeah. I don't think it was -- it
     3            So I take it, though, in that                3   wasn't -- there is not -- I don't think there
     4   conversation approximately a year ago, somehow        4   is an official conflict. I don't think there
     5   it was communicated to you in that conversation       5   is an official conflict, but I -- I had done
     6   by that unidentified plaintiff's lawyer that          6   the work in the MDL.
     7   the MDL plaintiffs were looking to work with          7            And I -- while I stopped when I
     8   you further?                                          8   went into government service and I said, hey, I
     9       A. Not exactly.                                   9   mean, is there -- where are we. They said we
    10       Q. Okay. So how does that                        10   want to engage you, engage you again, whatever
    11   conversation relate to being reengaged in the        11   the right word is. And I said sure. And I
    12   MDL?                                                 12   just -- I tend not to want to do -- again, I
    13       A. I believe I raised the issue that I           13   don't want to bind myself exactly, but I don't
    14   had done a report in the MDL, and I just -- I        14   want to do one work for MDL and one work for
    15   wanted to -- I wanted to make sure these things      15   the State for the same issues. I want those
    16   were -- I apologize -- for lack of a better          16   things to be coordinated.
    17   word, synched or whatever. I didn't want to do       17            In essence, anything that I say or
    18   anything that was conflicted, et cetera.             18   opinions, they should be good for all, you
    19       Q. Right.                                        19   know, I mean, all coordinated. I just wanted
    20       A. So that was how -- so I don't want            20   them coordinated. That was what my goal was.
    21   to use the word I "initiated," but I asked the       21       Q. So the coordination happens to your
    22   question then, I mean, if I proceed in this          22   satisfaction.
    23   other matter, how does that affect the MDL;          23            And approximately when do you start
    24   where is the MDL. I was not paying attention         24   working in earnest again on this matter?
    25   at all, so I asked a question, I think is the        25       A. It's -- I mean, I've got to work
                                                                                                8 (Pages 26 - 29)
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                                                    Page 30                                                   Page 32
     1   backwards from November. My guess is it is            1   cosmetic manufacturers and the FDA as well as
     2   spring that it picks up, that it starts on the        2   industry standards," and it goes on to say, "I
     3   MDL.                                                  3   have been asked to address the duties and
     4       Q. Are you talking, again, like                   4   conduct of defendant cosmetic companies in the
     5   April-May time?                                       5   face of a potential health hazard."
     6       A. Yeah. Again, I would have to look              6            What defendant cosmetic companies
     7   at my calendar. It could have been May, June,         7   are you opining on in this case?
     8   something like that. But it was certainly of          8       A. I believe that the defending
     9   that, my sense it was that order. You know,           9   companies are in paragraph 17, sir, of the
    10   again, I don't know when the actual bankruptcy,      10   report. I leave -- I'm aware that a number of
    11   et cetera. So that's why I just -- I                 11   them are in bankruptcy. So, you know, I leave
    12   apologize. I just don't know.                        12   it to the lawyers, you know, which ones are at
    13       Q. No need to apologize. I                       13   issue and which ones are not.
    14   understand.                                          14       Q. All right. And for purposes of
    15           So what did you understand -- when           15   your report and your opinions, do you
    16   you started working again in earnest on this         16   distinguish between, say, Johnson & Johnson and
    17   matter after leaving government service in           17   IMERYS?
    18   January 2023, what did you understand the scope      18       A. So I have this statement in my
    19   of your work to be?                                  19   report, I believe, somewhere where I say if I
    20       A. I think probably -- if I can, I'm             20   referenced the defendant, it applies to the
    21   happy to give it to you -- but I think there's       21   defendants as a whole; but I'm not sure if that
    22   a paragraph I wrote in paragraph 22; is that         22   is the most helpful to you.
    23   right?                                               23       Q. Right.
    24       Q. Yes.                                          24       A. So there's that general statement.
    25       A. I think that gives you the scope,             25   You will see, I mean, in the record that, you
                                                    Page 31                                                   Page 33
     1   sir, you know. There was a scope in the          1 know, I had available to me, a discovery record
     2   opening report back in, what, 2018, right, in a  2 there's obviously documents that are J&J,
     3   paragraph, I think, if my memory serves,         3 IMERYS, the old CTFA; so there are different
     4   paragraph 18. But I think -- again, it is        4 documents.
     5   the -- to look at the, you know, the             5         And throughout the report, the
     6   responsibilities of the defending cosmetic       6 report will cite, you know -- I mean, that
     7   companies, you know, to -- from a regulatory     7 document probably in the name of, you know,
     8   perspective, based on my experience, and         8 what the institution was that, you know, that
     9   looking at the food and drug statutes,           9 that document was from. But I think the -- the
    10   regulations, you know, industry, the guidances, 10 major defendant here is J&J. I think we all
    11   standards, and compliance thereof.              11 know that. And I think the others are in
    12       Q. All right.                               12 bankruptcy, as far as I understand.
    13            MR. EWALD: While we're here on         13     Q. Well, from a perspective of -- we
    14       paragraph 22 -- let's go ahead and mark as 14 can get into more detail, but would you agree
    15       Exhibit 2 Dr. Kessler's amended expert      15 with me that amongst the documents you reviewed
    16       report in this matter, which is dated       16 in connection with this litigation, there were
    17       November 15, 2023.                          17 some that were internal Luzenac/IMERYS
    18            (Whereupon, Exhibit 2, Amended         18 documents?
    19       expert report of David A. Kessler, M.D.,    19     A. There was some documents that were
    20       dated November 15, 2023, was marked for 20 Luzenac/IMERYS documents; is that the question?
    21       identification.)                            21     Q. But that are internal documents,
    22   BY MR. EWALD:                                   22 internal memos, internal e-mails that no
    23       Q. And, Doctor, sticking with               23 outside parties that were reflected on a paper
    24   paragraph 22, it states, as you referenced,     24 document.
    25   "Focusing on the regulatory interface between 25           Do you agree that you reviewed such

                                                                                                 9 (Pages 30 - 33)
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                                                    Page 34                                                 Page 36
     1   documents?                                            1   opinions you're offering in this case?
     2      A. I'm not sure of the full scope of               2       A. That's a general statement. I
     3   who saw what documents. I don't want to               3   don't want to make any blanket statement about
     4   represent whether J&J was cc'd, was a party.          4   any assumptions. Let's talk about a specific
     5   Sometimes they have multiple parties on those         5   opinion, and we can look. I don't want to make
     6   documents. We would have to look document by          6   a forever statement that there's no assumptions
     7   document.                                             7   on any opinion. And, you know, there's always
     8      Q. So I guess my question is: Are you              8   some in some thought process, you know. I
     9   making any assumptions or your opinions in this       9   mean, there are judgments that are made.
    10   case that J&J was on notice of any                   10       Q. Understood. So is it your
    11   IMERYS/Luzenac document?                             11   testimony, though, that, as you sit here today,
    12            MS. O'DELL: Object to the form.             12   you're not aware of any assumptions that you
    13            THE WITNESS: Yeah. I think your             13   are making with respect to the opinions in this
    14      statement is -- you know, let's take --           14   case?
    15      first of all, let me -- my job is not -- I        15            MS. O'DELL: Object to the form.
    16      don't want to make any assumptions, you           16            THE WITNESS: I would have to think
    17      understand. I mean, the facts are what            17       about the answer to that question.
    18      the facts are.                                    18            I didn't offer or make any
    19            There are J&J documents. There are          19       assumptions. We all, in any thought
    20      IMERYS documents. Sometimes those                 20       process, connect dots and make inferences.
    21      documents are the same documents just with        21       I don't know whether those are assumptions
    22      different Bates numbers, right. I mean,           22       or inferences. I would have to -- it's
    23      I've seen the same document, you know,            23       just too abstract a statement for me to
    24      both. It's an IMERYS document and a J&J           24       make. But I didn't offer it or make any
    25      just with different Bates numbers.                25       assumptions going in.
                                                    Page 35                                                 Page 37
     1          So I mean, there's no way to sort              1   BY MR. EWALD:
     2     out by a specific document, unless we               2       Q. Did plaintiff's counsel ask you to
     3     looked at it and really track whose files           3   make any assumptions in connection with your
     4     they were in.                                       4   opinions in this case?
     5          I'm making a general assumption                5       A. Absolutely not.
     6     that when -- well, "assumption" may be the          6       Q. On the Luzenac/IMERYS document
     7     wrong word -- but a general view that J&J           7   issue, I want to give you a hypothetical.
     8     is a sophisticated, very, you know, expert          8            The hypothetical is that it's, on
     9     company. And it has general                         9   the face of the document, an internal Luzenac
    10     responsibilities over its suppliers and,           10   document, only Luzenac employees are, you know,
    11     you know, its contractors in general, so           11   on the to or cc line; no indication on that
    12     in the manufacture of its product.                 12   document that it was viewed externally from
    13          So if -- with regard to the product           13   IMERYS/Luzenac.
    14     that's Johns- -- we're talking about baby          14            Are you with me so far?
    15     powder and the production thereof. I               15       A. I think I understand those two
    16     guess it's fair to say it filters up to            16   parts of your hypothetical.
    17     J&J. They are the supplier -- if it has            17       Q. If that -- if you look at a
    18     their suppliers. But I don't want to make          18   document like that with no other evidence about
    19     any specific assumptions.                          19   where the document went or who had knowledge of
    20   BY MR. EWALD:                                        20   it, are you assuming that J&J is aware of that
    21     Q. Well, we will go back to that in a              21   document?
    22   moment.                                              22            MS. O'DELL: Object to the form.
    23          But you said that -- am I                     23       Incomplete hypothetical.
    24   understanding you correctly that you're not          24            THE WITNESS: So I hate to give
    25   making any assumptions in connection with            25       this answer. It depends on context.

                                                                                               10 (Pages 34 - 37)
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                                                   Page 38                                                 Page 40
     1   BY MR. EWALD:                                        1   arise in our discussion or, you know,
     2       Q. Okay. What's the context?                     2   regulatory context, I'm happy to discuss; but I
     3       A. Well, so is this -- it depends on             3   don't think my opinions go toward that.
     4   what the other facts are. Is this a -- are we        4           But there's always -- you know, in
     5   talking about -- are there other documents that      5   any regulatory matter, if you look at the FDA,
     6   reference the facts in that document?                6   statutes may render the, you know, article
     7           Is that a document that stands               7   injurious. There's obviously some hazard
     8   alone on the subject matter that was never           8   analysis that goes into any regulatory
     9   within the purview of other documents?               9   analysis. I'm just staying away from causation
    10           Were there audits done?                     10   as a legal matter. Again, I'm not wanting to
    11           Is this a subject matter that a             11   play lawyer here.
    12   reasonable and responsible company who has its      12       Q. I appreciate here.
    13   supplier working on something would be involved     13           So when you say -- how would you
    14   in?                                                 14   characterize the hazard analysis that you have
    15           There are a lot of issues that go           15   undertaken with respect to the question of
    16   into the answer to that question.                   16   whether or not talc exposure can cause ovarian
    17       Q. Let's go back to paragraph 22 in             17   cancer?
    18   your amended report. You state, "I have not         18       A. Well, I have not done any
    19   been asked to opine on causation issues."           19   independent hazard analysis. I mean, I have
    20           What do you mean by that?                   20   cited the -- I mean, in this document, what the
    21       A. Exactly what I say there. I use              21   federal agencies and others as a -- you know, I
    22   the word caus- -- well, I used the word             22   mean, as it came up over the years, for
    23   there -- again, I don't want to play lawyer;        23   example, I have cited that asbestos is a
    24   but in any liability case, I mean, there's --       24   carcinogen. I have not done an independent
    25   there are issues of causation, both general and     25   analysis of that. I have not done an
                                                   Page 39                                                 Page 41
     1   specific.                                        1       independent hazard analysis of that, but that
     2            Here, as I understand it, it's          2       does -- you know, my report does state that, I
     3   talcum baby powder and ovarian cancer; and the 3         believe.
     4   issues of general causation, you know, the       4            Q. So when you talk about -- well,
     5   Bradford Hill issues and also in the specific    5       before we go to that, you also state, I believe
     6   plaintiff matter was the plaintiff's cancer      6       it's Footnote 31 -- I mean, it's page 31 --
     7   cause -- or contributed to by the baby powder.   7       Footnote 31 and page 31.
     8            As far as those matters, while I'm      8            A. Thanks.
     9   a professor of epidemiology, I am happy to       9            Q. In your report you say, "As I have
    10   discuss Bradford Hill, you know, for the        10       stated previously" --
    11   entire -- you know, as long as you'd like. I'm 11             A. Wait a second. Yes.
    12   not -- there are other experts that are         12            Q. The bottom of page 31, Footnote --
    13   well-qualified that are handling -- that are    13       page 31, "As I have stated previously, I am not
    14   dealing with those issues. And I have not       14       offering any causation opinions regarding the
    15   studied -- I have not delved into, certainly,   15       health effects of cleavage requirements."
    16   any specific causation matters. I have not      16               And that is an accurate statement
    17   looked at any medical records in this matter.   17       of your position in this matter?
    18   So I just wanted to upfront put that in.        18            A. Yeah, I think that's fair.
    19       Q. Sure. And so am I correct that           19       Understanding causation is defined as we've
    20   you're not going to be offering any opinions in 20       been discussing it, sure.
    21   this case about whether exposure to talc can    21            Q. Okay. And you have not undertaken
    22   cause ovarian cancer?                           22       any independent hazard analysis of whether or
    23       A. If those issues go toward causation      23       not cleavage fragments can cause health
    24   and those elements of the tort, I will not do   24       effects?
    25   that. If there is something -- if those issues  25            A. I mean, I've looked -- I have
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     1   reviewed literature on that issue, but I have    1     exposure to talc?
     2   not done an independent hazard analysis, I       2         A. I mean, hopefully, we can all agree
     3   mean, as you would testify on a hazard analysis 3      that asbestos has been determined to be a human
     4   on cleavage fragments.                           4     carcinogen, that there is -- that that is
     5       Q. Okay. And you say you reviewed            5     accepted, that is, exposure to asbestos,
     6   literature on whether or not cleavage fragments 6      asbestiform and other fibrous materials.
     7   can cause health effects.                        7              And the question is: Does talc
     8            Are you going to be offering any        8     present those risks.
     9   opinions about the health effects that can be    9         Q. Okay. And so when you're looking
    10   caused by exposure to cleavage requirements? 10        at -- well, withdrawn.
    11       A. I don't think in that, as you've         11              So you identify -- you have stated
    12   stated it, no, I don't intend to do anything    12     that you have not done an independent hazard
    13   with regard to causation of whether cleavage    13     analysis as it relates to causation issues.
    14   fragments -- I'm not aware of causation --      14              Are you relying on the regulatory
    15   things that go to causation on cleavage.        15     statements over time for the basis of there
    16            In the clinical sense, I am aware      16     being a potential health hazard relating to
    17   of certainly, you know, some pre-clinical, you 17      cosmetic talc exposure?
    18   know, in vitro kind of work. I'm happy to talk 18               MS. O'DELL: Object to the form.
    19   about cleavage fragments in the regulatory      19              THE WITNESS: I just need to -- if
    20   context.                                        20         you can pull up the question. Am I
    21       Q. All right. There's going to be a         21         relying on the regulatory statements over
    22   fair amount of flipping back and forth. I       22         time for the basis of there being a
    23   apologize, Doctor. But if you go back to        23         potential -- I think I'm relying on the
    24   paragraph 22 in your report.                    24         scientific literature that the statement
    25       A. I'm happy to do that, sir.               25         by regulatory agencies, the general
                                                 Page 43                                                  Page 45
     1        Q. All right. And so when we have             1      consensus, my 40, 50 years of medical
     2   that sentence that follows, "I have been asked     2      experience, my experience as FDA
     3   to address the duties and conduct of defendant     3      commissioner, you know, et cetera, that,
     4   cosmetic companies in the face of a potential      4      you know, asbestos is a human carcinogen.
     5   health hazard," when you're referring to their     5      Again, I hope we don't have to spend a lot
     6   duties in that sentence, what duties are you       6      of time on that point.
     7   referring to?                                      7   BY MR. EWALD:
     8        A. I mean, I think it -- I think I go         8      Q. All right. So I want to go back to
     9   back to the -- I make reference to the second      9   your preparation of the first report, and we
    10   line -- third line there. It's really the         10   are going to mark that as Exhibit 3. And that
    11   interface between those manufacturers and the     11   one is dated -- it was really helpful on your
    12   FDA and the industry standards that pertain       12   amended report that it had the date on the
    13   thereto. So it's anything that derives from       13   front page.
    14   the Federal Food, Drug, and Cosmetic Act and      14           Here we go, Exhibit 3, November 16,
    15   the guidances, regulations, and industry          15   2018, first report.
    16   standards. So it's duties that flow there,        16           (Whereupon, Exhibit 3, Expert
    17   sir.                                              17      report of David A. Kessler, M.D., dated
    18        Q. Then at the end of that sentence,         18      November 16, 2018, was marked for
    19   it talks about "in the face of a potential        19      identification.)
    20   health hazard."                                   20   BY MR. EWALD:
    21            Do you see that?                         21      Q. Do you have a recollection of
    22        A. Sure.                                     22   approximately when you were retained in
    23        Q. And so my question is: What are           23   connection with that first report in this case?
    24   you relying on for the proposition that there     24      A. If you change that question, take
    25   is a potential health hazard relating to          25   out the word "retained," and when I was first
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     1   contacted -- and I don't have the definition of  1      A. Again, these are all my words.
     2   the word "retained," but I can tell you my       2   This is my report. So I dictated it. I
     3   recollection that it was probably 2016 when I    3   don't -- I did not type it.
     4   was first approached and first conversations.    4      Q. Okay. Apart from assistance that
     5            I assume I was -- those were            5   you received from counsel in connection with
     6   covered -- you know, there was an attorney work 6    the preparation of your report, did anyone else
     7   product to that. I don't want to use the word    7   assist in the preparation of either report in
     8   "retained." You know, I don't think I agreed     8   this matter?
     9   to do a report or anything of that nature, you   9      A. No.
    10   know, instantaneous; but my recollection, it    10            MR. EWALD: I'm going to mark as
    11   was 2016, sir.                                  11      Exhibit 4 the invoice that we received
    12      Q. All right. And so when did you            12      from counsel. So the record is clear,
    13   begin to work in earnest on the work that would 13      it's dated December 1, 2018.
    14   result in your November 2018 report?            14            (Whereupon, Exhibit 4, Invoice,
    15      A. My guess is it was within the prior       15      dated December 1, 2018, was marked for
    16   12 months to the submission of the report.      16      identification.)
    17      Q. Okay. So approximately November           17            MS. O'DELL: John, could we ask you
    18   2017 or so is when you began to really work on 18       to put that in the chat, please, so
    19   the report?                                     19      Dr. Kessler could put it on a larger
    20      A. That's my -- let me just look at          20      screen?
    21   the signature line here.                        21            MR. EWALD: Sure.
    22            So, again, my guess it was probably    22            THE WITNESS: By that means, she
    23   2018 where most of the work was done. There 23          means -- she's testing my ability to
    24   was some -- but there was some initial          24      navigate the computer screens in front of
    25   conversations maybe in 2016, in 2017. But my 25         me. Watch, I will disconnect the
                                                 Page 47                                               Page 49
     1   sense is much of the work was done in 2018, but 1       entire -- can I ask counsel to just come
     2   I don't have a firm recollection, sir.           2      and show me where the chat button is?
     3       Q. Did you draft the entire first            3           I'm good at Zoom. Can I go to Zoom
     4   report?                                          4      here?
     5       A. I dictated it, yes.                       5           MS. O'DELL: John, I'm going to
     6       Q. Okay. And that applies to the             6      help Dr. Kessler here for a second.
     7   whole report?                                    7           MR. EWALD: Sure.
     8       A. No. I think that there is a -- I          8           THE WITNESS: Thank you.
     9   think, as mentioned, there are schedules that I  9           MR. EWALD: Let me know if you have
    10   had assistance done under my guidance. But      10      any problems dropping it in.
    11   hopefully. The schedules are just objective     11           MR. KEESTER: This is Jake jumping
    12   facts that I have directed, put together. But   12      in. To drop something into the chat, is
    13   certainly, the report -- the report is my       13      there a privacy setting I need to undo
    14   report.                                         14      here?
    15       Q. What about the materials considered 15                It's not letting me copy and paste.
    16   list for your first report, who created that?   16           (Discussion held off the record.)
    17       A. The materials considered list are        17           MR. EWALD: If it's not for this
    18   done certainly with my assistance, but that is  18      document, then it will be for something
    19   done with the assistance of counsel. And        19      else; so let's just figure it out.
    20   that's true on both reports.                    20           How about this, we have been going
    21       Q. So just while we're covering it --       21      almost an hour, a little bit shorter, why
    22   you brought it up -- is it true that, apart     22      don't we go off the record.
    23   from the schedules and the materials considered 23           THE WITNESS: I'm happy to keep on
    24   list, that you drafted the entirety of your     24      going. Keep on going. I don't want to
    25   amended report in this matter?                  25      break before -- maybe we will break -- I
                                                                                          13 (Pages 46 - 49)
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                                                 Page 50                                                 Page 52
     1       don't know what time the eclipse is         1    the first report from my first contact with the
     2       hitting your area, but we can take five     2    parties. It probably was over an extended --
     3       minutes there. Let's save it for the        3    more extended six to seven months. But, again,
     4       eclipse break.                              4    I don't have a recollection of that, what went
     5            MR. EWALD: Jake, are you having        5    into that invoice exactly.
     6       any luck?                                   6        Q. All right. And so then --
     7            MR. KEESTER: I think I might in a      7        A. But you can assume that everything
     8       second. Hold on. Let me try this.           8    that pertained to the -- those -- that MDL or
     9   BY MR. EWALD:                                   9    whenever things got wrapped into that MDL,
    10       Q. While Jake is doing that, I'm going     10    everything was -- everything from the beginning
    11   to put it back up; and we'll see what we can   11    through the time of that invoice got wrapped
    12   accomplish.                                    12    into that invoice.
    13       A. Just scroll down so I can see.          13             So you could interpret it as over
    14   Thanks, sir.                                   14    two years or -- I mean, I don't know. I don't
    15       Q. And so, at least on this one, it's      15    want to misspeak here, but you get the drift.
    16   a one-pager. And do you see here -- as I       16        Q. I do. And so how do you keep track
    17   mentioned, the date December 1st, 2018. And it 17    of the time spent on this matter before you
    18   is for a total amount of $101,364.91.          18    actually issue the invoice?
    19            Do you see that, sir?                 19        A. I just tend to write down, scribble
    20       A. I do, sir.                              20    on a personal sheet of paper what -- the number
    21       Q. And you explained that the total        21    of hours that I spent. So it's just a number
    22   arises from 101 hours at $1,000 per hour and   22    that is scribbled.
    23   expenses and then totals up to $364.91,        23        Q. All right. And so then you -- who
    24   correct?                                       24    is responsible for issuing invoices?
    25       A. Correct.                                25        A. I turn it over to counsel, that
                                                 Page 51                                                 Page 53
     1      Q. And fair to say that the invoice           1   counsel being my spouse.
     2   that we are looking at here from December 1st, 2        Q. And you hand her all the different
     3   2018, reflects the work through the preparation 3    individual pieces of paper with your scribbles
     4   of your November 2018 report?                    4   on it?
     5      A. Well said, sir.                            5      A. Yeah. I hand her the paper. And I
     6      Q. Have you issued any invoices on            6   tend to -- she -- if you don't mind, just, if
     7   work that was conducted after you reengaged in 7     you want to keep it up, I'd love to see it. I
     8   the spring of last year?                         8   mean, if you don't mind.
     9      A. I have not.                                9      Q. Sure.
    10      Q. All right. And do you have a              10      A. Thanks. She tends to ask me to do
    11   standard practice on when you issue invoices in 11   the math and just give her the total number of
    12   your expert litigation work?                    12   hours.
    13      A. My standard practice is not going         13      Q. Okay.
    14   to be -- maybe a little vague. It is usually    14      A. And she knows the rate. She will
    15   when I'm done. But in litigation when you're 15      put the invoice together.
    16   done is -- you know, has different meanings.    16      Q. What is your current rate, Doctor?
    17   You know, whenever there's a segment of work 17         A. $1,250.
    18   that is done, I tend not -- I do not invoice    18      Q. And what would be your estimate on
    19   along the way. I tend to invoice after certain  19   how many hours you spent in connection with the
    20   segments of litigation.                         20   work on this matter after being reengaged in
    21      Q. So, for example, the December 1st,        21   the spring of last year?
    22   2018, invoice would cover approximately six, 22         A. So I think that -- let me just
    23   seven months of work?                           23   break it up into -- again, I have not added it
    24      A. Probably -- again, let's assume           24   up specifically. There's no final tabulation.
    25   that that was the entirety of the work through  25   But now that you asked me that question, I

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     1   looked at it. I think it's fair to say through  1          A. Yeah, I think that -- yeah, of
     2   the report I would say in the mid-500 hours.    2      course.
     3   And it's from November for the last six months. 3          Q. But just to clarify, in connection
     4   Let's just round it off to about probably 300   4      with the preparation of your report --
     5   hours. That would give you a good sense of the 5       withdrawn.
     6   number of hours. But, again, I don't have an    6               In connection with both reports
     7   exact, but it should be in that ballpark.       7      that you have issued in this matter, did you
     8       Q. All right. And so understanding          8      consult with anybody else other than counsel?
     9   it's an estimate, as you sit here today, a      9          A. Not to my knowledge. Nothing that
    10   reasonable estimate, based on your review,     10      I remember, sir.
    11   would be 850 hours spent from spring of last   11          Q. And just to make sure the question
    12   year until today?                              12      is clear, when I say "consult," I don't want
    13       A. It may not be quite that high.          13      there to be some kind of specific term.
    14   Again, yes, as I understand it, you will -- as 14               Did you communicate with anyone
    15   soon as I do the invoices, you will get the    15      other than counsel in preparation of your two
    16   invoices. I leave that to counsel. So you      16      reports in this case about any substantive
    17   will get it exact. But, yeah, I think -- let's 17      issue?
    18   work from 800. It's around that, I think,      18          A. Not that I recall, no. I mean, I
    19   would be fair.                                 19      did not talk to other experts in this matter.
    20       Q. All right. And that is the way it       20      I don't want to say that the word "talc" never
    21   works. But unless you want to come back and 21         arose over the last six years in any other
    22   see me again, this is my only time to ask you  22      conversation, whatever, not that I recall; but,
    23   questions. So I'm trying to get an estimate.   23      you know, I mean, this is the work of me, you
    24   And I appreciate you having done some work to 24       know, with the record in front of me as a
    25   try to get that estimate.                      25      relatively solitary worker -- or solitary
                                                 Page 55                                                   Page 57
     1       A. You sound like my dentist.                  1   worker. I don't mean to add an adjective in
     2       Q. So the -- if you had to say what            2   front of me. This is me and my computer
     3   went into that approximately 550 hours up to       3   screen.
     4   the report November 2023, different buckets,       4       Q. Okay. The 300 hours approximately
     5   what would you say would be the different          5   from November until today, if you would break
     6   buckets?                                           6   that down into how you spent that 300 hours,
     7       A. What went into -- I'm sorry? What           7   what would you say?
     8   did I do?                                          8       A. Again, I mean, obviously, there was
     9       Q. Yes. Let's say different                    9   some -- everything is in preparation for you,
    10   categories of stuff that you did that went        10   right. You know, there's no fine line. I knew
    11   into, ultimately, the preparation of the          11   we were going to have this opportunity to talk.
    12   report?                                           12   But there were questions that I was still
    13       A. I mean, it's research and writing,         13   interested in studying and trying to learn the
    14   right. I mean, it's research and writing.         14   answers to even after my report was done. So I
    15   It's research, thinking, writing. Obviously,      15   continued to learn and to study.
    16   there's conversations I'm dictating. But          16       Q. Okay. And as you sit here today,
    17   there's -- I'm doing research. I'm reading.       17   what were those questions that you continued to
    18   I'm thinking. I'm doing more research. I'm        18   learn more about after the issuance of your
    19   writing. There's conversations, as you know,      19   report November 2023?
    20   along the way; and I'm dictating.                 20       A. There was one question that just
    21       Q. All right. I'm not interested in           21   kept on puzzling me. And there was some subset
    22   the content of the conversations.                 22   questions that I -- you know, these weren't new
    23            When you're referring to                 23   questions, but they were questions that I was
    24   conversations, are you referring to               24   still trying to learn.
    25   conversations with counsel?                       25            And still to this day, sir -- let

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     1   me just put on the record -- still trying to          1   question -- that question plagued me for a
     2   learn, you know, the full answers. You know, I        2   considerable time, and I wanted to get the
     3   think my report -- let me just say -- digress         3   answer to that question.
     4   for a second and get back to your question.           4      Q. And so how did you then -- what I'm
     5           My opinions in the report, the last           5   wondering, then, is, what additional -- well,
     6   report, are my opinions. I don't have new             6   withdrawn.
     7   opinions. But one always learns more in               7            Are the additional materials that
     8   things, you know, expand upon or give more            8   you reviewed in connection with that puzzling
     9   substance.                                            9   question, as you put it, reflected in your
    10           The question was -- the sort of              10   second amended materials considered list?
    11   central question -- that in 1976 J&J, CTFA, I        11      A. Yeah. I mean, again -- I mean, I
    12   mean, the cosmetic industry, the suppliers,          12   had access -- the answer is yes, but let me
    13   basically said to the agency and to the public       13   just -- so I had access, and I insisted upon
    14   we're putting into this existence this               14   access. One, thank you, meaning the company.
    15   laboratory test method, this J4-1, that would        15   You put on the -- in public health something
    16   assure that talcum powder would be asbestos          16   called Facts About Talc, which had thousands of
    17   free.                                                17   documents of evidence that you saw as relevant.
    18           And that statement you can see               18   So I had that database. But I had the
    19   cited that that date is the agency -- everyone       19   discovery database.
    20   said, okay, good. We now have this quality           20            And, you know, there were documents
    21   control method in place in 1976. And then we         21   that I had probably seen before doing that
    22   can, you know, be rest assured there's               22   report that I went back to, but I continued to
    23   assurances that the product can be used safely.      23   search that record to get the answers to that
    24           What puzzled me from -- again, I             24   question.
    25   don't know exactly when the question dawned on       25            And, again, the answers, you
                                                    Page 59                                                 Page 61
     1   me, but it was how could you have a quality      1        know -- my opinions on the answer to those
     2   system, right, in a J4-1 method and a testing    2        questions are well laid out, I mean, in the
     3   method that assures, okay, we are going to make 3         report; but I continued to research it, you
     4   sure that there's no asbestos that gets in       4        know, and to get to the basic -- I mean, as my
     5   there?                                           5        report says, I think, you know, throughout the
     6           How can you never have a positive        6        manufacturing process J&J, its suppliers, its
     7   result after?                                    7        contractors, the trade association, masked the
     8           There was never a quality control        8        presence of asbestos in talc throughout that
     9   rejected sample. And how could that be, right? 9          process. And I think my report deals with that
    10           And then there was sort of -- this      10        in great detail.
    11   sort of adjacent or, you know, associated       11                But that masking -- how that -- how
    12   questions, you know, just in light of the known 12        the -- how that got masked and that -- I mean,
    13   geology, how could J&J and its suppliers, its   13        I think that's the essential, you know --
    14   contractors, sort of be confident that there    14        that's my essential takeaway of what the last
    15   was no asbestos in its mined product.           15        50 years has been about.
    16           I saw that, you know, at various        16            Q. And when you say the masking of the
    17   times J&J and its suppliers put in place, you   17        presence of asbestos, are you referring to the
    18   know, a fiber management program, you know, 18            industry's use of J4-1 method?
    19   that included, you know, sort of selective      19            A. Let me give you what I think went
    20   mining, et cetera. That program is              20        into that, the answer to that question.
    21   well-documented in the record.                  21                So I think at first it was the ways
    22           You know, there's a fiber               22        that asbestos and the fibers were masked. I
    23   management program. You're managing fibers, 23            think the grinding and crushing and the milling
    24   but J&J kept on saying there's no asbestos;     24        process. If you look at the Raymond roller, if
    25   we've never found asbestos. So that             25        you look at -- if you know about the sieve, you
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     1   know, what that grinds to. If you know that      1       materials that Dr. Kessler has in front of
     2   the product specs for certainly of Grade 25      2       him, send them to my e-mail address or to
     3   talc, certainly that is the latest talc that     3       Suzanne, and she can forward them along,
     4   I'm aware of, of the raw material, that -- you   4       that would be great.
     5   know, that grinding and processing -- let me     5            MS. O'DELL: John, I will be happy
     6   expand.                                          6       to do that.
     7            So I think it's the grinding and        7            We will take five minutes.
     8   crushing and the milling process down to that    8            MR. EWALD: That's fine for me.
     9   micron size of that particle distribution -- I   9            (Whereupon, a break was taken.)
    10   guess the median is, what, 10.9 from -- don't   10   BY MR. EWALD:
    11   hold me to it -- with a range of 7 to 14. Once 11        Q. All right. Doctor, a couple of
    12   you grind it and you crush to that, the fact    12   things I wanted to clear up, and then we'll go
    13   the sample needs to be passed through this      13   in a different direction.
    14   minus 325 mesh prior to testing at further      14            First, let's mark as Exhibit 5 a
    15   impacts, you know, particle dimensions, the     15   picture that counsel provided over the break
    16   extremely low sensitivity.                      16   that reflects the materials that you have --
    17            If you look at the how it was          17   some of the materials you have.
    18   validated of the test leading to a false        18            Are the materials in front of you
    19   negative, the numerous requirements that had to 19   or behind you?
    20   be met to report a positive finding, the        20       A. I have materials in front of me, to
    21   practice of retesting a positive result that    21   the side of me, and behind me.
    22   sort of -- the head scratcher, that J4-1 was    22            (Whereupon, Exhibit 5, Photograph
    23   never set out. There was no adequate method to 23        of materials the witness has, was marked
    24   detect chrysotile from the beginning.           24       for identification.)
    25            The fact that improved sensitivity     25
                                                 Page 63                                               Page 65
     1   methods were never utilized. The fact that       1   BY MR. EWALD:
     2   testing was not reliable and companies knew      2       Q. Understood. But the large paper
     3   about it from laboratory to laboratory. The      3   sheets with papers on them, is that actually in
     4   fact that other methods were known to be more 4      front of you right now?
     5   sensitive, but were not used for many years. I   5       A. I have papers in front of me and to
     6   mean, you put all the totality together, you     6   the side of me. I don't think any are behind
     7   know.                                            7   me. I have them to the front of me and to the
     8            Back in 1973 you look at the            8   side of me is my understanding.
     9   Federal Register. FDA says or the government 9           Q. And so at least from the picture,
    10   says it recognizes that asbestos -- it's        10   it appears that these are things, like your
    11   reasonable to expect asbestos is going to be in 11   report, there's a clamped set of documents with
    12   talc. And put in method J4-1, and it's always   12   an orange label on the front saying,
    13   no asbestos is ever found, right. Asbestos has 13    "Processing Windsor Mill," right?
    14   always been there. It's just been masked in my 14        A. That's the -- again, I apologize.
    15   opinion.                                        15   I have not seen the pictures. Counsel took the
    16       Q. Okay. Thank you.                         16   pictures. It's not shared with me. But,
    17            And how about this -- it's not as      17   processing, yes, that's to the side of me.
    18   much for you, Dr. Kessler, as much for Suzanne,18    There are pictures of -- those are folders to
    19   the court reporter, to get a short break.       19   the side of me, yes, sir.
    20            And how about this: Let's go off       20       Q. Okay. And so I don't want to get
    21   the record. And I saw you a couple of times     21   too bogged down on this.
    22   looking down, which is totally fine, at what    22           But the clipped sets of documents
    23   was in front of you.                            23   with orange titles on the front, those are
    24            MR. EWALD: So, Leigh, if during        24   located to your right?
    25       the break you can take pictures of the      25       A. That's correct.
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                                                   Page 66                                                 Page 68
     1            I'm going ask to counsel just a             1           MR. EWALD: I understand. I guess
     2   quick question.                                      2      I only received -- maybe we can do this
     3            MS. O'DELL: John, one thing would           3      off the record.
     4       be helpful is if you're describing it, if        4           THE COURT REPORTER: Would you like
     5       you put up the picture so he sees what           5      to go off the record?
     6       you're seeing, because I did not show            6           MS. O'DELL: No.
     7       those to Dr. Kessler.                            7           MR. EWALD: Okay. I got one
     8            MR. EWALD: Sure.                            8      picture. Over the break we'll figure this
     9            MS. O'DELL: John, if you want               9      out.
    10       someone to have a more detailed look at         10   BY MR. EWALD:
    11       these, you're welcome to send someone           11      Q. Anyway, the orange piles with --
    12       over. Obviously, Johnson & Johnson is           12      A. Yes, sir.
    13       quite close; and they can look at these         13      Q. -- or the piles with the orange
    14       materials.                                      14   label in front, who put those documents
    15            MR. EWALD: I appreciate that. And          15   together?
    16       I do think that after the deposition, I         16      A. They were done with me, and I had
    17       would ask on the record that they be kept       17   two -- I apologize for the term -- two task
    18       where they are in the deposition. And we        18   rabbits that sometimes come to the house and
    19       will have somebody either copy them or          19   helped me paste papers on paper over the
    20       take a look at them.                            20   weekend.
    21   BY MR. EWALD:                                       21      Q. Okay. On the preparation for
    22       Q. But right now what I'm just trying           22   today's deposition, how many times did you meet
    23   to figure out is what, if anything, do you have     23   with counsel to prepare for today's deposition?
    24   in front of you right now, Dr. Kessler?             24      A. I don't mean to be -- you know, I
    25       A. So I have a pad that has about --            25   don't mean to parse your question. I mean,
                                                   Page 67                                                 Page 69
     1   don't hold it to me -- maybe it's 20 pages,          1   I've been preparing for the deposition for a
     2   okay. It's clipped with one clip, and there '        2   long time. So I think what you mean,
     3   a page in front of me that says, "Folders."          3   Ms. O'Dell came to the house yesterday, I think
     4            And all those orange things that            4   a little on Saturday; and Sunday Dr. Thompson
     5   are to the right of me have a name, and that         5   similarly arrived this weekend. But, you know,
     6   list of all those folders are there. So -- and       6   obviously, preparations over -- everything is
     7   then I have -- on the pad in front of me, I          7   preparation.
     8   have about 10, 15 pages of paper that have           8       Q. Okay. And did you meet with any
     9   various documents that are pasted on those           9   lawyers in preparation for today's deposition
    10   pieces of paper.                                    10   last week?
    11            And the first page is -- that goes         11       A. I'm sure there were calls on -- I'm
    12   to the -- what I think is the essential -- you      12   sure there were telephone calls last week.
    13   asked me about the question about what I have       13   Yes, I'm sure.
    14   been researching and studying, the ways             14       Q. But were there -- there were not
    15   asbestos in fibers were masked in front of me.      15   any in-person meetings with counsel in
    16            MR. EWALD: So we would request             16   preparation for today's deposition last week?
    17       over the next break pictures of the             17       A. No. Everything was -- my
    18       15 pages that are actually in front of          18   recollection was Saturday and Sunday.
    19       Dr. Kessler. The question --                    19       Q. All right. So before being
    20            MS. O'DELL: I would say, John, we          20   retained as an expert in this case, what did
    21       provided a picture of that. So I sent           21   you know about asbestos?
    22       three pictures, and I gave you a picture        22       A. I certainly knew about the asbestos
    23       of, not every page, but certainly what is       23   as a cause of mesothelioma.
    24       in front of him. And so just trying to          24       Q. Okay. What else?
    25       short circuit this.                             25       A. I certainly -- you know, I had
                                                                                              18 (Pages 66 - 69)
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                                                   Page 70                                                Page 72
     1   gone -- I had come out of a generation of -- I       1   in this case, were you aware that there were
     2   mean, my work -- my early work was in                2   different types of asbestos?
     3   laboratories of cancer research. So I was            3        A. Again, I don't have an exact sense
     4   certainly -- I mean, always certainly general        4   of -- you know, I do -- there were different
     5   aware of the theories of carcinogenicity.            5   minerals, et cetera, that were -- that could --
     6      Q. Did any of your lab research relate            6   they were classified in fiber form. And as
     7   to asbestos?                                         7   asbestos, I don't remember exactly what I knew
     8      A. Not the -- no. I mean, it was only             8   before or afterwards. It's somewhat of a blur,
     9   carcinogenicity and the mechanisms of                9   sir.
    10   carcinogenicity. And certainly, you know, I         10        Q. Do you -- before being retained as
    11   was involved in tobacco carcinogenicity.            11   an expert here, did you have an understanding
    12      Q. Before you were retained as an                12   that there were non-asbestiform amphiboles?
    13   expert in this case, did you ever hear the word     13        A. Probably not in any detail, I think
    14   "asbestiform"?                                      14   would be fair.
    15      A. I'm sure I've heard the word                  15        Q. Did you have an understanding of
    16   "asbestiform." I don't have a specific              16   what an amphibole was before being retained as
    17   recollection, but I'm sure I've heard the word      17   an expert here?
    18   "asbestiform."                                      18        A. No. There's some geology, but --
    19      Q. Did you have an understanding --              19   and, again, other than -- and I've done, you
    20      A. It --                                         20   know -- I was certainly schooled in organic
    21      Q. Go ahead.                                     21   chemistry, et cetera. So, again, I had some
    22      A. I apologize. I stepped on you.                22   basic -- you know, some basic fundamental
    23      Q. Did you have an understanding --              23   science knowledge, probably more than the
    24   that wasn't the best question by me.                24   average person; but I don't remember exactly
    25           Did you have an understanding,              25   what I knew.
                                                   Page 71                                                Page 73
     1   before being retained as an expert in the case   1           Q. Okay. Before being retained as an
     2   here, as to what "asbestiform" meant?            2       expert in this case, did you have any knowledge
     3      A. I don't remember exactly the               3       regarding laboratory testing methodology for
     4   gradations of knowledge. I couldn't answer       4       the presence of asbestos?
     5   that. I think the -- you know, other than        5                 MS. O'DELL: Object to the form.
     6   asbestos, it was a general understanding of      6                 THE WITNESS: Not -- only varied --
     7   that. I don't recall exactly the line before     7           only very generally. Not in any great
     8   2016 and after 2016.                             8           form. I'm certainly familiar with the
     9            I have done enough, you know, that      9           different methods before.
    10   I was in charge of the National Center For      10                 But, again, my answer is the same.
    11   Toxicological Research -- people don't realize 11            It's vague of exactly how my knowledge
    12   that -- at FDA. But I did a lot of              12           evolved by 2016. The general methods
    13   carcinogeneses research in fundamental          13           probably, but I did not spend a lot of
    14   mechanisms, biological inflammatory, chronic 14              time on methods; and it wasn't a prime
    15   inflammatory, the particle-induced. So I mean, 15            subject of my research.
    16   there was a general understanding, but not more 16       BY MR. EWALD:
    17   than that.                                      17           Q. When you say "a general
    18      Q. But to be clear, you're not aware         18       understanding of the different methods," what
    19   of doing any research relating to asbestos      19       general understanding did you have in 2016?
    20   specifically at the time you were at the        20           A. Well, I mean, I was trained in -- I
    21   National Center For Toxicological Research? 21           can -- you know, going back to the electron
    22      A. I wasn't -- I was in charge of            22       microscope, TEM, my undergraduate days,
    23   that, NCTR, right, in Arkansas. But I did not 23         et cetera, so I have general knowledge of
    24   involve myself in any asbestos research.        24       different kinds of methods and as they could
    25      Q. Before being retained as an expert        25       apply to different kinds of biological agents;
                                                                                             19 (Pages 70 - 73)
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                                                   Page 74                                                 Page 76
     1   but it was a general scientific sense.           1       right?
     2       Q. Okay. And so I take it --                 2           A. Well said.
     3       A. I had not studied -- I'm sorry.           3           Q. And you're not a microscopist?
     4   Let me stop there. I apologize.                  4           A. Well, so let's just be careful. I
     5       Q. I was going to say that the -- am I       5       am certainly -- you know, how do you want to
     6   correct that before being retained as an expert  6       define a "microscopist"?
     7   in this case, you were not aware of any testing  7                You have wonderful -- you and I am
     8   methods specifically as it relates to asbestos?  8       sure both have qualified experts in all these
     9            MS. O'DELL: Object to the form.         9       areas. I'm not -- let me see if I can be
    10            THE WITNESS: I don't -- I don't        10       helpful to you.
    11       recall what I knew exactly before.          11                I am not your geology, mineralogy,
    12   BY MR. EWALD:                                   12       microscopist expert, right. My reg -- I can be
    13       Q. Okay. Before being retained as an        13       hopefully helpful as the intersection of those
    14   expert in this case, did you know anything      14       areas with the regulatory world. But I mean,
    15   about the chemical and geological relationship 15        honest, pure geological question, while I had
    16   between talc and asbestos?                      16       in order to understand the regulations, as is
    17       A. Not in exquisite form. You know, I       17       always is the case, you have to have an
    18   had some general understanding of basic         18       understanding and study the geology.
    19   principles but not in specific form.            19                Certainly, other experts should
    20       Q. What basic principles did you            20       testify, I mean, on the geology, mineralogy,
    21   understand before 2016 about the chemical and 21         and microscopy aspects. I do not want to get
    22   geological relationship between talc and        22       involved.
    23   asbestos?                                       23                As it relates to regulatory
    24       A. Well, there was probably some, you       24       questions and the opinions I've given, I have
    25   know -- again, I apologize. I just don't have   25       to be comfortable in that intersection. But
                                                   Page 75                                                 Page 77
     1   a very clear demarcation in my knowledge. I          1   that's been my whole life, and that's been my
     2   mean, I was not -- the one thing -- I mean, I        2   whole training experience.
     3   had some general understanding of geology. You       3       Q. Okay. So are you -- I'm not clear.
     4   know, I come from a place that had a very            4            Are you suggesting that you are an
     5   strong geology history. But the -- there were        5   expert in microscopy?
     6   certainly gaps in my understanding prior to          6       A. Well, I certainly have an
     7   involvement in this matter.                          7   understanding of microscopy, a basic
     8       Q. When you say you "come from a place           8   understanding, right, more than the general
     9   with a great geology history," where are you         9   person. I mean, I've done microscopy. I've
    10   referring to?                                       10   done, right, but I will -- I'm not going to
    11       A. Well, my college. I mean, it has a           11   testify on microscopy.
    12   very strong -- some of the great geologists of      12            But obviously, if there's a lab
    13   the prior two centuries come from that place.       13   test that is regulated by the agency that
    14   You go up -- there was a very significant           14   involves microscopy, then I have to understand
    15   investment in geology as a fundamental science      15   enough to understand that intersection.
    16   it was involved in. But, again, I mean, I was       16       Q. When you say you have a basic
    17   on the biological side of that; and there were      17   understanding of microscopy, you've done
    18   gaps in my understanding.                           18   microscopy, what microscopy have you done?
    19       Q. Did you take any geology courses in          19       A. If you want to give me a urine
    20   college that you can remember?                      20   sample, I can look and see whether you have a
    21       A. Not that I -- I took inorganic               21   bacterial infection. I can do a basic gram
    22   chemical courses.                                   22   stain under a -- you know, under a microscope.
    23       Q. And you're not a geologist, right?           23   I can look at certain pathological fixated
    24       A. I'm not a geologist.                         24   slides stained with various chemicals. I have
    25       Q. And you're not a mineralogist,               25   done that.
                                                                                             20 (Pages 74 - 77)
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                                                    Page 78                                                  Page 80
     1            Again, sir, I do not want -- I am            1   clinically trained scientist, doctor about
     2   not going to be the microscopist, only to the         2   that. I don't think I had any more knowledge
     3   extent that you would expect a physician              3   of that, sir.
     4   scientist regulator, who is -- I mean, I spend        4       Q. Before the last break, you were
     5   my life regulating diagnostic and laboratory          5   talking about certain things with respect to
     6   tests; and microscopy is a part of that.              6   the grinding, crushing, and milling process of
     7            The science of microscopy, please            7   talc.
     8   have other experts. If it relates to FDA and          8            Before being retained as an expert
     9   diagnostic tests, I'm happy to discuss that.          9   in this case, what, if anything, did you know
    10       Q. Okay. But it's fair to say that               10   about the mining of talc?
    11   you have never personally used any testing           11       A. I had not spent time studying that
    12   method to attempt to detect the presence of          12   at all, so I mean, I did not study that. I
    13   asbestos in any media?                               13   could not tell you the particle size. I could
    14       A. That would be fair.                           14   not tell you the specifications. I could not
    15       Q. And it's fair to say that you've              15   tell you what the effects were of that process
    16   never witnessed someone else test media for the      16   before I -- before 2016.
    17   presence of asbestos using a microscopy method?      17       Q. All right. Are let's talk about
    18       A. I reviewed, you know, hundreds and            18   your process for the work in this case. And I
    19   hundreds of documents that, I mean, is part of       19   want to start with the more recent work you did
    20   the record that involved that. But the answer        20   from approximately spring 2023 until today.
    21   to your question is no. I mean, I have not.          21   And I guess the question to you is, you were
    22            But I have -- I mean, I am                  22   asked -- well, let me pause for a moment.
    23   certainly comfortable in reading reports that        23            If you go to paragraph 25 of your
    24   result from tests where, the microscopy TEM. I       24   report please.
    25   mean, that's what I do.                              25       A. Yes, sir.
                                                    Page 79                                                  Page 81
     1       Q. What, if anything, did you know           1            Q. All right. So you say in
     2   about the -- let's put it this way: Before       2        paragraph 25 that "after leaving government
     3   being retained as an expert in 2016, what, if    3        service in January 2023, I have had the
     4   anything, did you know about talc?               4        opportunity to review more documents discussed
     5       A. I had a very basic knowledge of           5        above." Right?
     6   talc. It was just general knowledge of talc.     6            A. Yes, sir.
     7       Q. What did you generally understand         7            Q. And is that in part at least
     8   about talc?                                      8        considered -- referring to paragraphs 12 and 13
     9       A. I had some general background             9        in the preceding pages?
    10   knowledge, and I can't quite remember it. I     10            A. I would have to look, sir. I
    11   mean, I certainly was aware that there was some 11        don't --
    12   controversy around talc. I don't think I ever   12            Q. Sure.
    13   dealt with that or studied that controversy.    13            A. Sure, sir.
    14            But I think that I, you know -- I      14            Q. Okay. And so in paragraph 12 it
    15   mean, I'll tell you that I lived -- you know,   15        talks about what was available to you,
    16   again, it's very hard to know exactly in 2016   16        including the MDL discovery repository,
    17   what I knew when. My brain just doesn't         17        deposition transcripts and exhibits, trial
    18   compartmentalize that. But generally, I mean, 18          testimony and exhibits, all the documents
    19   I thought there was a world of asbestos and     19        available on Johnson & Johnson's website Review
    20   there was a world of talc; and I didn't connect 20        the Evidence page, it talks about talc, and
    21   them. I never studied the relationship to have 21         FDA's website, correct?
    22   any real deep appreciation of that.             22            A. Yes, sir.
    23       Q. All right.                               23            Q. All right. And then you talk about
    24       A. I think I had the general view of,       24        the documents you considered are listed in
    25   you know, the average doc, the average          25        Appendix C. What I'm going to do is -- my

                                                                                               21 (Pages 78 - 81)
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     1   understanding is that there was a materials      1   think, pretty extensively with the frame- --
     2   considered list that was included as an          2   with the regulatory framework of cosmetics,
     3   appendix in your November 2023 report, right? 3      right. So let's put that -- I mean, I start
     4      A. Correct.                                   4   with that.
     5           MR. EWALD: We'll mark that one as        5       Q. Okay.
     6      Exhibit 6.                                    6       A. I start with the basic Food and
     7           (Whereupon, Exhibit 6, Reliance          7   Drug Regulatory framework, right. And
     8      List Initial Report, was marked for           8   certainly reviewed that again as I reentered
     9      identification.)                              9   here, right. So I wanted to see where I left
    10   BY MR. EWALD:                                   10   off.
    11      Q. And then there was a First Amended 11                  As you can tell -- again, let me
    12   Appendix C For Materials Considered after that, 12   just digress a little. The opening report
    13   correct?                                        13   dealt with a few -- besides the statutory
    14      A. Correct.                                  14   framework and what were the general
    15           MR. EWALD: We'll mark that as           15   requirements, it dealt with a few of the key --
    16      Exhibit 7.                                   16   if my recollection is right, I mean, it based
    17           (Whereupon, Exhibit 7, First            17   my -- I based the report off some key -- what's
    18      Amended Appendix C Materials Considered, 18       the right word -- key sentinel states of
    19      was marked for identification.)              19   pronouncement from the federal government to
    20           MR. EWALD: And then there was a         20   other agencies.
    21      Second Amended Appendix C Materials          21           So, for example, if my memory is
    22      Considered dated April 1st, 2024. We'll      22   right, you know, I dealt with -- I looked at
    23      mark that as Exhibit 8.                      23   the FDA's response in 2014. I looked at IARC.
    24                                                   24   And so there was a general let's look at the
    25                                                   25   record that FDA put in that report. I think I
                                                 Page 83                                               Page 85
     1            (Whereupon, Exhibit 8, First            1   updated it from 2014 to be complete. But I
     2       Amended Appendix C Materials Considered, 2       didn't go beyond those, I mean, specific
     3       was marked for identification.)              3   sentinel events that were cited in that opening
     4   BY MR. EWALD:                                    4   report. I did that in the beginning in spring
     5       Q. Is that the most recent materials         5   of 2023.
     6   considered list that you have for this case,     6           You know, the first question for me
     7   sir?                                             7   was, well, what's the record here; how do I
     8       A. That all tracks with my                   8   make sure that I'm looking -- you know, I'm
     9   understanding, sir.                              9   basing opinions on a complete record,
    10       Q. All right. And the materials             10   recognizing there's no such thing as complete
    11   considered list -- unless I say anything        11   information.
    12   differently, we'll work off of Exhibit 8, which 12           I don't think anyone has complete
    13   is the second amended.                          13   information over a 50-year-history, you know.
    14            And that one is 84 pages long,         14   There is documents, and you only have what's
    15   correct?                                        15   produced and what people can find. So the
    16       A. I take your stipulation. Whatever        16   first question was: What's the evidentiary
    17   you stipulate, I'm happy to agree to.           17   base of which to look.
    18       Q. Okay. So given your knowledge            18           The thing that I sort of -- what is
    19   level of the topics that we discussed before    19   the right word -- stumbled upon or I saw was,
    20   talking about the materials considered, walk me 20   in asking the question what's the record to
    21   through your process in how you researched the 21    answer these questions, I found this, you know.
    22   questions that were posed to you in connection 22            In the Facts About Talc there is --
    23   with your November 2023 report?                 23   if you put it up -- I think there's a section
    24       A. So I have a number of -- I mean,         24   there called "The Evidence" or something like
    25   you start with my -- opening report dealt, I    25   that where someone for the Johnson & Johnson
                                                                                         22 (Pages 82 - 85)
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     1   says here is the evidence, go make up your own 1          it was exactly that.
     2   mind. And there are a lot of documents. Most 2                    In fact, there were about five or
     3   of those are trial exhibits, but, again, put    3         six different sets. You can tell they were
     4   together by the defendants.                     4         D documents or P -- I mean, I'd have to go
     5            And I think then there were a          5         look. They were marked different ways. So
     6   series of Daubert hearings or whatever. I       6         you've got to -- it was clear that they came
     7   focused primarily on the underlying documents 7           from a number of different sources.
     8   that were put on by the -- by Johnson &         8             Q. Okay. And so did you conduct any
     9   Johnson. So that was the first bucket, as I     9         searches in that initial phase of looking at
    10   put in that footnote.                          10         Facts About Talc?
    11            And then I asked for access to the    11             A. My first effort that I recall was
    12   entire discovery database. And in that it      12         to go through those documents.
    13   included all the materials produced as well as 13             Q. When you say "go through those
    14   there were -- you know, there are many         14         documents," you reviewed every document that
    15   depositions and a lot of other documents that  15         talks about talc?
    16   went into that discovery database. So I        16             A. I attempted to, yes. I attempted
    17   reviewed the Facts About Talc. I reviewed      17         to look at every -- that's why my numbers and
    18   those documents.                               18         my hours are relatively high here. I actually
    19            And then I did -- a majority of the   19         wanted to look at -- I mean, I don't want to
    20   time would probably be -- you would say would 20          represent that I studied in detail every
    21   be -- the best way to characterize it is spent 21         document, but my goal was to at least scan
    22   searching a database for over the months, that 22         every document to the extent that my technology
    23   discovery database.                            23         allowed me to do that and my -- the numbers of
    24       Q. Okay. So it's your testimony that       24         hours that I had. But I don't want to
    25   the first thing you started researching was    25         represent, again, that I studied every
                                                    Page 87                                               Page 89
     1   going to J&J's Facts About Talc website?              1   document, but I attempted to do that.
     2       A. I'm not sure first. That was                   2      Q. Okay. And walk me through your
     3   certainly right up there. I asked -- I wanted         3   process when you're looking at these documents.
     4   to make sure I had access to, you know, all,          4            Are you taking notes along the way?
     5   you know, what people considered to be the            5      A. You know, thanks to Apple and
     6   record in this case. I mean, there's no -- so         6   whatever, we have iPads now; and there's a
     7   I'm not saying, you know, the records are a           7   swipe feature. And my recollection is that I
     8   vast, you know, concept here; but that seemed         8   did mark documents.
     9   to be a good -- again, I don't want to say --         9            I don't want to get too much into
    10   maybe I looked at the discovery database before      10   the -- I don't want to cross the line -- let me
    11   I looked at the Facts About Talc. I can't tell       11   look at counsel -- of what's processed in
    12   you exactly the order.                               12   preparation of reports, et cetera.
    13            But very early on from the                  13            MS. O'DELL: We will take the
    14   beginning, I wanted to see, all right, what is       14      position, John, anything that are his
    15   the evidence that the defendants are putting         15      notes that ultimately became part of the
    16   forward in this matter; and it was all there.        16      report would be work product and be
    17   I mean, it wasn't all there, but there was a         17      protected as part of drafts of the report.
    18   lot there.                                           18      That is my position on that.
    19       Q. Well, is it your understanding that           19            MR. EWALD: And I, at this point,
    20   Facts About Talc includes exhibits admitted at       20      am not pushing for any of that. I'm
    21   trial by both parties?                               21      trying to understand what exists.
    22       A. Yes, sir, exactly. I thought that             22   BY MR. EWALD:
    23   that was a good place to start, right. The           23      Q. And so without getting into the
    24   fact -- that was the assertion. Here's               24   content of that, you say you marked different
    25   something, go make up your own mind, right. So       25   documents as you flipped through your iPad.
                                                                                             23 (Pages 86 - 89)
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     1            Are you saying you marked -- let me    1 with respect to the MDL document discovery
     2   put it this way: What did you mean when you     2 database, how did you navigate your way through
     3   said you marked the documents on your iPad?     3 that?
     4      A. Exactly that. I mean, I used a            4    A. There's a search bar.
     5   stylist, and I would circle -- I mean, it's     5    Q. Okay.
     6   possible I -- you know, I mean, I actually      6    A. Right. And, you know, 40 years of
     7   scribbled, right, something on a number of      7 experience of searching documents, you know,
     8   those -- on those pages as I was going through 8 I'm very comfortable, you know. I sometimes
     9   them. I actually marked those documents --      9 have a hard time printing those documents. I
    10   marked certain documents.                      10 get stumped from those grainy PDFs. But,
    11      Q. All right. So before actually            11 otherwise, I'm comfortable searching terms.
    12   going into the discovery database or the Facts 12    Q. What sort of search terms do you
    13   About Talc website, did you review any, for    13 remember entering?
    14   lack of a better word, background documents on 14    A. I have probably entered over at
    15   the topic?                                     15 times hundreds and hundreds of different search
    16      A. My opening report.                       16 terms. If there's a subject matter in my
    17      Q. Okay. And so before going into the       17 report, you can look at any page; and I can
    18   Facts About Talc or the document discovery     18 probably tell you in my report, you know,
    19   database, you didn't receive sort of a starter 19 generally. These are -- the stuff in my report
    20   pack of materials from plaintiff's counsel     20 are the stuff that I searched. You can assume
    21   about the asbestos controversy?                21 that key words from these areas are the words
    22      A. I can tell you I didn't want any         22 that I searched.
    23   starter materials.                             23    Q. Do you have an understanding of
    24      Q. Okay.                                    24 approximately how many documents are in the MDL
    25      A. I mean, I resisted. Now, there may       25 discovery database?
                                                 Page 91                                             Page 93
     1   have been -- going back to 2016, you know, I     1       A. Not as many as I would have
     2   may have asked -- you know, in the opening       2   expected.
     3   report it may have been a little different. I    3       Q. Okay. Well, that means you have a
     4   may have asked for this CIR ingredient review. 4     sense of how many are in there.
     5   I may have asked for the citizens' petitions.    5            How many do you think are in there?
     6            I think I asked for all -- if my        6       A. I can only tell you what's not when
     7   recollection is right, I asked for all the       7   you're looking for stuff. I mean, this is
     8   documents that were cited in the 2016 FDA        8   50 years, right. I mean, this is 50 years. So
     9   response. So there I did ask counsel, but        9   I respect that.
    10   not -- I mean, for this -- for the -- for this  10            But I'm -- you know, I assume that
    11   report that you have in front of you. It was    11   there are millions of documents in that MDL.
    12   me and the databases.                           12   But there are also areas that I couldn't find
    13       Q. So -- go ahead.                          13   stuff in the discovery database, but I assume
    14       A. Please.                                  14   there's millions. I never actually looked at
    15       Q. When you went to the database, how 15         the total count.
    16   did you navigate your way through there to look 16       Q. In connection with your searching
    17   for documents?                                  17   of the MDL and discovery database, at any point
    18       A. Well, again, there's multiple            18   in time -- I don't want to know the
    19   databases, right. So Facts About Talc, Facts    19   specifics -- but at any point in time, did you
    20   About Talc -- I'm scrolling through these PDFs 20    ask counsel for help on, you know, what to look
    21   ultimately or some kind of image, and I'm       21   for?
    22   marking them; and I'm swiping.                  22       A. What to look for?
    23       Q. And, I'm sorry. I should have been       23       Q. Yes.
    24   clearer. I understand the Facts About Talc.     24       A. Yeah.
    25            What I unartfully meant to ask is,     25       Q. Okay.
                                                                                        24 (Pages 90 - 93)
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                                                  Page 94                                                Page 96
     1       A. I may have asked counsel if I             1         conversations, but I was literally
     2   couldn't print the document or give them a       2         dictating to counsel or to legal staff
     3   Bates number. I had some problems at some        3         what documents I had -- at that period of
     4   point getting PDF imaging. There's always        4         time, had looked at; and I wanted to make
     5   natives that you get back and sometimes -- so I 5          sure it was on the list. So I would tell
     6   would ask them to print off documents. Let me 6            staff those.
     7   just -- I mean, I gave counsel documents.        7              And at one point I -- again, I
     8       Q. Okay. Let's look at your Second           8         don't want to waive anything -- I said,
     9   Amended Appendix C, that's Exhibit 8. Let me 9             hey, just make sure to the other side,
    10   know when you have it in front of you.          10         they know -- I don't want them to have to
    11       A. Thanks, sir. I do.                       11         go through the whole list and have to go
    12       Q. And if you turn to the first page,       12         search for everything again. So I mean,
    13   my understanding from communications with 13               that was the import of that.
    14   counsel is that the highlighted materials are   14      BY MR. EWALD:
    15   some of the newer materials that were added to 15          Q. If you also flip through this,
    16   your list.                                      16      leaving aside the yellow highlighting, there
    17            Do you have any understanding of       17      are some materials that are bolded.
    18   that?                                           18              Do you know anything about that,
    19       A. I do not know exactly the -- what's      19      why they are bolded?
    20   been communicated. I leave it to counsel to     20         A. No, I have no idea. Again, I did
    21   represent exactly what was done here. I can     21      not -- not at all. Well, I have no idea how --
    22   tell you what I did.                            22      certainly, nothing from my perspective has any
    23       Q. First of all, do you -- have you         23      significance.
    24   seen a version of this where certain entries    24         Q. If we look at page 2 -- this isn't
    25   are highlighted in yellow?                      25      the only place that you identify it -- but
                                                  Page 95                                                Page 97
     1       A. I see that. But, again, I leave              1   there are a number of depositions listed there.
     2   this -- the whole production of the considered      2           Do you see that?
     3   list to counsel. I do see it, and I'm aware of      3      A. Correct.
     4   it. And certainly, my goal --                       4      Q. We talked about the Facts About
     5       Q. Do you have -- I'm sorry.                    5   Talc website. We talked about the document
     6            Do you have an understanding of            6   discovery database.
     7   the --                                              7           How did you go about identifying
     8            MS. O'DELL: I think he wasn't              8   deposition and exhibits to review?
     9       finished.                                       9      A. So there are, if I'm correct -- I
    10   BY MR. EWALD:                                      10   have to double check this -- the discovery -- I
    11       Q. Sorry.                                      11   have to go back and double check this and see
    12       A. So my -- I'm sorry. I apologize.            12   which database. I believe the discovery
    13   Let me just answer your question.                  13   database has depositions in there and exhibits,
    14       Q. Sure.                                       14   but I'd have to go back and double check that.
    15       A. Just ask, again, your question.             15           So there were clearly -- so these
    16       Q. My question was: Do you have an             16   were searched, I mean, at different points in
    17   understanding of what the yellow highlighting      17   time. And if I'm correct, I did amass
    18   is intending to represent?                         18   depositions in some kind of folder and just
    19            MS. O'DELL: I will just represent         19   searched them generally as I searched the whole
    20       that by counsel that there was an effort       20   documents. So if I was searching a term, I
    21       to identify newly added materials so it        21   would want to search the depositions too.
    22       would be apparent to you and others for        22           Certain depositions I read, you
    23       the defense.                                   23   understand. But the majority of the time I'm
    24            THE WITNESS: So I can add -- and,         24   searching, I'm searching these documents.
    25       again, I don't want to get into                25      Q. And you mentioned the -- I believe
                                                                                            25 (Pages 94 - 97)
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                                                 Page 98                                                Page 100
     1   that there was a folder that was amassed with a 1    exhibits"?
     2   number of these deposition transcripts.          2       A. Yes.
     3            How was that folder -- how were the     3       Q. Who is Matt Sanchez?
     4   depositions collected into that folder?          4       A. So Sanchez, I believe, is the one
     5       A. They're downloaded and put in and         5   of the principals I think, if I'm right, at
     6   moved in. And I kept -- I mean, I would          6   RJ Lee.
     7   sometimes save documents and download them. 7            Q. Okay. And how did you decide to
     8   And there were occasional times where I asked 8      review all of his deposition and trial
     9   counsel could you send me in one place all the 9     testimony exhibits?
    10   exhibits to a deposition.                       10            MS. O'DELL: Object to the form.
    11       Q. So --                                    11            THE WITNESS: I was probably
    12       A. I mean, I would have the                 12       reading some kind of trial transcript and
    13   deposition, but I could -- but as I'm reading   13       some testimony in trying to understand
    14   the deposition, I said could you send me the    14       testing. And I wanted to understand -- I
    15   bucket of all the exhibits that were attached   15       wanted to understand everything he was
    16   to that.                                        16       saying.
    17       Q. As you sit here today, can you           17   BY MR. EWALD:
    18   recall any instance in which you asked counsel 18        Q. Okay. Did you -- in your review of
    19   for help on identifying depositions for you to  19   trial transcripts, did you review any attorney
    20   review?                                         20   opening or closing statements?
    21            MS. O'DELL: I object to that           21       A. Possibly. Possibly. I think, you
    22       question. You're asking for the content     22   know -- I mean, I have to go back. I have some
    23       of his conversations with counsel. I        23   recollection at some point of Ms. Brown
    24       think that's beyond what's appropriate.     24   maybe -- I mean, I think -- I forget exactly,
    25            MR. EWALD: Well, to the extent         25   but I was interested in seeing what defense was
                                                 Page 99                                                Page 101
     1       that you're -- you, as counsel, are          1   saying.
     2       providing materials to your expert, I        2       Q. All right. And when you say in
     3       believe that's clearly within the bounds     3   your materials considered "All Matthew Sanchez
     4       of Rule 26. And so I guess maybe I will      4   depositions and trial testimony exhibits," does
     5       slightly rephrase and see if you like this   5   that mean "all"?
     6       one.                                         6       A. No. Nothing in life means "all,"
     7   BY MR. EWALD:                                    7   right. I mean, I -- I tried to, you know -- I
     8       Q. Dr. Kessler, did counsel provide          8   certainly wouldn't want to represent that I
     9   you with any of the deposition transcripts that  9   have every deposition and every testimony, but
    10   you reviewed?                                   10   it was -- I mean, I asked counsel specifically
    11       A. I may have asked for certain             11   on Sanchez can I have all the exhibits and can
    12   volumes. I mean, I -- one thing I am not good 12     I have the various testimonies.
    13   at, I get very confused. I mean, I remember     13            And, again, my recollection is
    14   was -- you know, how many days was this         14   that -- I mean, I was getting confused what
    15   deposition, and I get all the days of this      15   gets -- what is this testimony here. Is it
    16   deposition, et cetera.                          16   getting played in here? So I'm not sorting
    17            So, yes, counsel did provide me        17   that out.
    18   with depositions because, I mean, I would see a 18            I just wanted to -- I wanted to
    19   deposition or whatever. But there was --        19   understand what Dr. Sanchez was saying. So I
    20   sometimes there are multiple depositions, and I 20   mean, that was important to me.
    21   got confused. Yes, counsel provided me with 21           Q. Okay. And so you did receive some
    22   depositions.                                    22   testimony from plaintiff's counsel?
    23       Q. What about on the page 3, the next       23       A. I certainly -- my recollection is I
    24   page over, do you see where it says, "All       24   know I asked for it. My tendency -- what's on
    25   Matthew Sanchez deposition and trial testimony 25    the top of my head is I asked for exhibits. I

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                                                  Page 102                                                  Page 104
     1   rarely -- I wanted the exhibits in one place.        1             THE WITNESS: Could I just ask you
     2   If I had a deposition or a trial testimony, I        2       for my sheet?
     3   wanted the exhibits to be able to review             3             I think there's a sheet with that
     4   simultaneously, right.                               4       report. I can pull up exactly. I think
     5            It's -- also, I'm sure, you know,           5       it is a referred to as the Third Amended
     6   for convenience, I said can I get, you know,         6       Report. I don't have the date in my head.
     7   all of Dr. Sanchez's testimony, all days of          7   BY MR. EWALD:
     8   that. I don't remember exactly what I said           8       Q. That's fine.
     9   along the way.                                       9       A. Actually, I do have it. Thank you.
    10       Q. Just above that a couple of lines,           10   I do. It's dated November 17, 2023.
    11   it says, "All expert reports filed in this          11       Q. All right. So you said -- I don't
    12   matter on November 15, 2023."                       12   mean to put words in your mouth.
    13            Do you see that?                           13             Is that what you reviewed recently?
    14       A. Yes.                                         14       A. It is certainly something that I
    15       Q. And did you review all of the                15   asked for after my report.
    16   expert reports filed in this matter on              16       Q. And what do you understand -- well,
    17   November 15, 2023?                                  17   first of all, what, if at all, do you rely on
    18       A. I had them made available to me, I           18   Longo 3 for in connection with your opinions in
    19   believe, in a folder. And, again, I mean, the       19   this case?
    20   reports that were done prior to -- let me be        20       A. So the only thing that I -- in
    21   exact here.                                         21   Longo 3, I don't rely on anything in Longo 3.
    22            There were reports that were not           22       Q. Okay. Why is that?
    23   available to me that were submitted                 23       A. Because my report was dated before
    24   simultaneously with my report, right. You           24   I read Longo 3.
    25   asked -- we are now looking at the Second           25       Q. So there's nothing that you
                                                  Page 103                                                  Page 105
     1   Amended Complaint, right. My report goes in          1   reviewed after issuance of your report that you
     2   end of last year. And I did ask for -- and I         2   are relying on for your opinions in this case?
     3   have the -- the expert reports in a folder --        3           MS. O'DELL: Object to the form.
     4   can you let me download so if there's anything       4           THE WITNESS: From Dr. Longo that
     5   I want to look at. And that was -- that was          5      I'm relying on? I mean --
     6   after my report.                                     6   BY MR. EWALD:
     7       Q. And so what did you look at amongst           7      Q. No. I'm asking more generally. I
     8   expert reports?                                      8   asked you why you're not relying on Longo 3.
     9       A. I can't tell you. I don't have a              9   You said it was issued after your November 2023
    10   recollection of every -- I mean, for example --     10   report, correct?
    11   I mean, I did look at Longo 3 after my report       11      A. Yeah. There's nothing that --
    12   was done. That's one that I remember looking        12   there's none of my opinions that I'm relying on
    13   at.                                                 13   Dr. Longo. There is nothing inconsistent here,
    14            But, again, you know, I remember           14   I mean, with Dr. Longo; but there's nothing,
    15   studying -- is it Laura Webb? I can't tell you      15   right.
    16   when I looked at what of hers along the way,        16           And I do cite -- I mean, you know,
    17   but I was very interested in what she had said.     17   I am generally aware and, you know, he's a
    18       Q. Okay. When you say "Longo 3," is             18   world-class expert and will testify. And
    19   that -- you're talking about -- what are you        19   there's nothing I'm saying that I don't think
    20   talking about when you say "Longo 3"?               20   anything inconsistent, but I am not relying on
    21       A. So I mean, I believe there was -- I          21   him. He is an expert; I am an expert.
    22   mean, he has a third report. And I have it          22      Q. What is your basis for you saying
    23   pasted on -- I forget the date. I mean, I           23   he is a world-class expert?
    24   think that was probably the report that got --      24      A. Well, I think that there is, you
    25   I don't want to guess.                              25   know, I mean, a career dedicated to studying in

                                                                                            27 (Pages 102 - 105)
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                                                 Page 106                                                 Page 108
     1   depth these matters. I went back, you know --       1      those are distractions.
     2   I think, if I'm correct -- I mean, he goes back     2           If you want me to -- if you are
     3   to the -- I think he goes -- if you pull up his     3      pulling me in, I'm happy to be responsive.
     4   CV -- I would have to have it in front of me --     4   BY MR. EWALD:
     5   but it's a relatively distinguished CV.             5      Q. But are you referring to the
     6            I have no disagreements, no                6   Region 9 discussions --
     7   certainly -- but I am not relying on him, sir.      7      A. That is one thing that is cited.
     8   He is an expert. And I am just -- again, I'm        8   But, again, I think -- you know, again, I think
     9   just an expert. I tend to -- there are              9   that's noise in the system. I am trying not to
    10   occasional times in my -- when I testify where     10   pay attention to it.
    11   I will rely on an expert, just to be clear so      11      Q. I appreciate that. And more
    12   you understand, where my opinion is                12   broadly, though, do you have the expertise to
    13   necessitated or based on certain facts of          13   make a conclusion that you think that
    14   another expert, right; or I will make              14   Dr. Longo's conclusions are correct on testing
    15   assumptions based on another expert. I am not      15   and mineralogy and Sanchez's are wrong?
    16   making any assumption based on Dr. Longo or        16      A. I think you have to -- again, I
    17   anything like that.                                17   didn't say that. Those are your words,
    18            He is not -- you know, he is not          18   correct.
    19   necessary for any of my opinions. Again,           19      Q. I didn't say you said that. I
    20   please full respect, full -- you know, no          20   didn't say you said that. It's a question.
    21   disagreement. Don't read that I have any           21      A. Do I have the expertise?
    22   distance or anything like that. That is not        22           So it is, again, what's very
    23   the case. I'm just not relying on him as I am      23   important here, what I think is -- what is
    24   using that word.                                   24   central here is the context of this, right.
    25       Q. Do you consider Dr. Sanchez, Matt           25   The repeated statements over 50 years that no
                                                 Page 107                                                 Page 109
     1   Sanchez, a world-class expert?                      1   asbestos was ever found in any sample is just
     2      A. You know, I'm sure -- again, I have           2   not credible in my view.
     3   not studied his CV or looked at it. I have          3           And if you look at what happened
     4   nothing to -- again, I think there is a             4   here, you would expect that certain samples
     5   complicated history with RJ Lee. I don't want       5   would have evidence of asbestos. Longo is
     6   to get into it here.                                6   consistent with that.
     7           So let me just not -- unless you            7           And I am happy to go through in
     8   want me to get into that, you know, I have no       8   detail what I think, you know; and I think it's
     9   opinions. I don't think it's important to this      9   the central aspect, right. You don't take talc
    10   matter. I was very interested in the facts         10   from Vermont, right, and process it with that
    11   that he -- you know, what he was saying.           11   kind of knowledge about the basic geology,
    12      Q. Okay. And so what I'm hearing you            12   subject it to Raymond rollers and forces and
    13   say is that you do think Dr. Longo is a            13   not have the effect on the type of fibers that
    14   world-class expert, but not Dr. Sanchez; is        14   you would expect -- that should be expected
    15   that what you're saying?                           15   there.
    16           MS. O'DELL: Object to the form.            16           That and what Dr. Longo did, right,
    17      Misstates his testimony.                        17   despite 50 years of what I think are statements
    18           THE WITNESS: Yeah. I -- my -- if           18   that are troublesome in light of the evidence,
    19      you want to get into it, I'm happy to --        19   I mean, he persisted as, you know, I mean,
    20      there were issues, very strong                  20   others before him, right, in trying to
    21      disagreements between certain government        21   understand, right, what the public health risk
    22      agencies and RJ Lee. I don't want to            22   was. And I think that was -- in the face of
    23      implicate Mr. Sanchez in them. There is         23   50 years of absolute denial, it was not
    24      references to the RJ Lee. Again, I'd like       24   credible. I think this is one of the most
    25      to stay away from that. I think that            25   important public health stories. I mean, I
                                                                                          28 (Pages 106 - 109)
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                                                   Page 110                                               Page 112
     1   think it's right up there.                       1        do that today.
     2       Q. Okay. And so you do realize that          2                 But make no mistake. I am very
     3   during the entire time that Dr. Longo was doing 3         confident, right, of my ability. And, again,
     4   what you described was being paid as a           4        I'm only as good as what the records show.
     5   plaintiff expert, correct?                       5                 But when you look at that record
     6       A. I'm being paid as a plaintiff's           6        and you apply some basic scientific regulatory
     7   expert, sir. I think I can actually do your      7        principles and you just look at the document,
     8   company and your client -- to be honest, all I   8        to go in in 1972 or '73 and tell FDA no
     9   can do is tell you what I see. And that's all    9        asbestos when you have Dr. Hutchinson,
    10   Dr. Longo can tell you, what he sees, right.    10        et cetera, saying there is TEM and not playing
    11   But I can tell -- let me -- let me finish the   11        the agency straight, that is something that
    12   answer to my question -- to your question.      12        should not have been done. And that is
    13       Q. Yes, sir.                                13        specifically within my expertise.
    14       A. Okay. What -- what I see is in the       14                 I know a misleading statement when
    15   face of documents, right, that evidence of      15        I see it, right, based on the evidence.
    16   fibers, asbestos fibers, asbestiform fibers,    16            Q. All right. So we have been going
    17   were in talc. And in the face of processes      17        for about an hour and 15. It is also here on
    18   that any -- if you think about it, you know,    18        the east coast almost noon. I am willing to do
    19   grind this up to 10 microns, right, put it      19        whatever on the timing wise and lunch break and
    20   through meshes of minus 325, send it -- if you 20         everything else, Doctor. I'm also sensitive,
    21   get a positive, send it to a different          21        again, to the court reporter's needs to make
    22   laboratory, the variability between -- the lack 22        sure she gets a good record.
    23   of reliability between these laboratories, the  23                 So with that, let's go off the
    24   sensitivity, I calculate at 14 percent.         24        record. And we can talk about what we are
    25            And to be able to have -- to state     25        going to do next.
                                                   Page 111                                               Page 113
     1   no asbestos ever in front of the agency both in       1            (Whereupon, a break was taken.)
     2   1976 and in 2016, over 50 years, that's just          2   BY MR. EWALD:
     3   not credible.                                         3       Q. Doctor, can you make sure you have
     4       Q. What expertise do you have to reach            4   your amended report in front of you?
     5   the conclusion that in 50 years of no asbestos        5       A. Yes.
     6   was not credible?                                     6       Q. Okay. And if you could go to
     7            What specific expertise in your              7   paragraph 67 on page 18.
     8   background, beyond reviewing documents in this        8       A. I'm there.
     9   litigation, do you have to reach that                 9       Q. Okay.
    10   conclusion, sir?                                     10       A. 67?
    11       A. I have led some of the most                   11       Q. Yes, sir. In that paragraph you
    12   important investigations on scientific               12   state, "In my opinion, once JNJ had evidence of
    13   regulatory matters in this country. Your             13   a) the presence of asbestos because of its
    14   company knows that, okay. And I have done            14   known carcinogenicity and absence of a
    15   that. I have done that. That is what I am            15   threshold dose; or b) the presence of
    16   good at.                                             16   non-asbestiform amphiboles or fibrous talc, the
    17            I can sit here if you'd like -- and         17   safety of their product was not established."
    18   I'm prepared to tell you, your company, your         18            Did I read that correctly?
    19   board, what I see, right. But it's not               19       A. Yes.
    20   credible, right, to say that there's never been      20       Q. Okay. And so is it your -- are you
    21   asbestos here over 50 years. And I am happy to       21   offering the opinion that J&J talc products
    22   show you the steps, right, that I put together.      22   historically contained asbestos?
    23   I'm only as good as what the evidence shows.         23       A. There is no doubt in my mind that
    24   And I'm happy to do that in detail with you.         24   J&J products, based on the record, contained
    25   That's what my report does. And I'm happy to         25   asbestos.
                                                                                           29 (Pages 110 - 113)
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                                                   Page 114                                                 Page 116
     1       Q. Okay. And when you talk about                  1   strongly in '72, but I'm not saying it doesn't
     2   under b) "the presence of non-asbestiform             2   exist earlier.
     3   amphiboles," is that the -- does that mean that       3       Q. All right. Is it your opinion that
     4   non-asbestiform amphiboles of any size and            4   the presence of non-asbestiform amphiboles in
     5   shape?                                                5   Johnson & Johnson talc powders render them
     6       A. I don't draw a distinction.                    6   misbranded?
     7       Q. Okay. And is it your opinion                   7       A. Let me just look at my report.
     8   that -- well, do you have on the first one a)         8   Certainly J&J did not substantiate the safety.
     9   about the presence of asbestos, I take it under       9   I mean, there is a lot of controversy
    10   that opinion you also believe that J&J's talc        10   surrounding non-asbestiform amphiboles, and J&J
    11   products have been misbranded?                       11   did not substantiate the safety of their -- of
    12       A. I don't want to -- I don't want to            12   that product. I am certainly saying that in
    13   give a legal opinion, okay. I just want to be        13   this paragraph.
    14   careful that I'm not giving a legal opinion.         14       Q. Okay. But is it your testimony
    15   Because you have not substantiated -- I think        15   that the presence of non-asbestiform amphiboles
    16   the answer was because you have not                  16   in Johnson & Johnson talc is an adulterant?
    17   substantiated safety and didn't have that            17       A. I would want to -- I just would
    18   statutory warning, that safety was not               18   want to search for -- do me a favor. If you
    19   established. That would probably be a                19   would be so kind -- I can search for it -- go
    20   misbranding charge.                                  20   to that paragraph. I want to be precise.
    21       Q. Okay. And so I'm trying to                    21           Can someone point me to the
    22   understand as to how you're framing it in your       22   paragraph where I use the word "adulterated"?
    23   mind, that you feel it is -- is it appropriate       23           I want to be precise on what I have
    24   to -- you feel it is not appropriate to offer        24   concluded. I can do it. I want to be exactly
    25   an opinion on whether certain parts of               25   precise on that because you're asking me.
                                                   Page 115                                                 Page 117
     1   21 CFR §740.10 have been complied with but not        1           Just for the record, I'm searching
     2   necessarily whether or not 21 USC §361 has            2   the report. I just want to see the paragraph
     3   been?                                                 3   that you're referring to.
     4       A. No. I'm not drawing that                       4      Q. I appreciate you telling us that's
     5   distinction. I just want to be careful, you           5   what you're doing.
     6   know, what's a legal opinion and what's not. I        6      A. So I mean, I state exactly the way
     7   don't think it is the ultimate legal opinions         7   139 is phrased. I don't want to -- I base it
     8   in this case. I mean, I think that I made it          8   on the totality of the evidence. I don't
     9   very clear if this product contains asbestos,         9   believe I -- I say it is specifically
    10   it would be adulterated and the lack of the          10   non-asbestiform amphiboles, the totality of the
    11   warning would make it misbranded.                    11   evidence.
    12       Q. What about -- well, do you have a             12      Q. Okay. So if I ask you do you have
    13   particular time, a particular year in which you      13   an opinion whether or not J&J's talc products
    14   say that this is when J&J talc products began        14   were misbranded because they contain -- well,
    15   being misbranded?                                    15   withdrawn.
    16       A. I think that there is evidence                16           Do you have an opinion as to
    17   certainly beginning in 1972. I mean, I don't         17   whether or not J&J's talc products were
    18   give a -- I don't have a formal opinion. I           18   adulterated because of the presence of
    19   have not ascribed a time period to this. I           19   non-asbestiform amphiboles?
    20   think that certainly there is evidence               20           Your answer is you don't have one?
    21   beginning in 1972, if not before, where there        21           MS. O'DELL: Object to the form.
    22   is strong evidence of the existence of               22      Mischaracterizes the testimony.
    23   chrysotile in Vermont talc that would make the       23           THE WITNESS: I apologize. 139
    24   product adulterated and, therefore, misbranded.      24      goes to adulteration, and let me just
    25            So I see that, you know, pretty             25      find -- let me do this again.
                                                                                             30 (Pages 114 - 117)
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                                                Page 118                                             Page 120
     1           You're asking me now on -- and,         1        MR. EWALD: Okay.
     2      again, I think my opinion on adulteration    2        MS. O'DELL: So I am not on camera
     3      is based on the totality of the evidence     3   because I am choosing not to be. I am not
     4      that I think the product is adulterated.     4   on camera because my camera is broken.
     5           Let me just see where I conclude in     5        THE WITNESS: I'm --
     6      a paragraph -- if anyone has it, I will      6        MR. EWALD: Hold on. I'm not
     7      find it -- where it has any conclusion on    7   suggesting anything improper --
     8      misbranded in the report. For some reason    8        MS. O'DELL: Excuse me. Let me be
     9      I am not pulling it up.                      9   clear. You know well enough, having been
    10           Let me just go further. I have to      10   in depositions with me before, I've always
    11      go -- again, if you can point me to where   11   been on camera. So this is a technical
    12      my opinion that I'm saying it is            12   problem. It is not a choice.
    13      misbranded, I just want to -- I would       13        THE WITNESS: And I was --
    14      appreciate it.                              14        MR. EWALD: I'm sorry.
    15   BY MR. EWALD:                                  15   Dr. Kessler, one other thing, and then you
    16      Q. And my last question, which was          16   can respond.
    17   related to adulterated -- I think I understand 17        I was noting -- again, I will make
    18   your position. We may get back to misbranded. 18    the record very clear. I am not
    19           Let's turn to page 22 paragraph 78?    19   suggesting any ill intent as to
    20      A. Yes. Thank you, sir. Give me a           20   Ms. O'Dell. It is purely that any -- my
    21   second. Thank you, sir.                        21   concern I have would be alleviated. And
    22      Q. Okay. And so we have here a              22   now I see your face, and so all is well.
    23   definition of asbestos, and you give a         23 BY MR. EWALD:
    24   definition of asbestos.                        24   Q. And, Dr. Kessler, if you have
    25           Is that your definition of asbestos    25 something you want to say, you are welcome to
                                                Page 119                                             Page 121
     1   that you are using when you use the term in      1   say it too.
     2   this report?                                     2       A. Just so you understand the
     3       A. I can pull up a -- I have a sheet         3   geography of the room, I have -- I am
     4   here that probably has maybe 50 different        4   distracted -- I have five screens in front of
     5   definitions of asbestos. I am happy to go        5   me, okay. I have an iPad with the realtime. I
     6   through all of them. This is not my definition   6   have three monitors. I have -- so my eyes are
     7   of asbestos. I think I am comfortable with       7   right and left.
     8   J&J's definition in paragraph 79, which is what 8              Anyway, Ms. O'Dell, if she wanted
     9   I've been generally using is 79.                 9   to send me a signal, she would probably kick me
    10       Q. Okay. I am going to ask some more        10   under the table. That was a joke, for the
    11   questions, and I'm not suggesting anything at   11   record.
    12   all improper; but there's been a number of      12             But it's just -- my eyes are being
    13   times where Dr. Kessler has looked to his left, 13   distracted because I have the realtime right
    14   which is where Ms. O'Dell is --                 14   here. So I'm looking at that. If I'm looking
    15       A. I'm sorry --                             15   to my left, that's between Ms. O'Dell and me.
    16       Q. Let me make my record.                   16             MS. O'DELL: Let me say, for the
    17            I can't see Ms. O'Dell's face. I'm     17       record, I have a camera on top of my
    18   not suggesting that anything improper is going 18        laptop. And if it falls, I have not
    19   on, but it would be a heck of a lot better if I 19       fallen, it's just the camera. So I am
    20   can see Ms. O'Dell's face.                      20       just problem solving here.
    21            MS. O'DELL: John, as I mentioned,      21             MR. EWALD: I appreciate it. I
    22       my camera wasn't working. And so I've had 22         don't think there is any actual thing
    23       somebody bring an external camera to me in 23        going on. I just wanted to make sure of
    24       the last few minutes. And I'm trying to     24       that. So I appreciate people working with
    25       problem solve that right now.               25       that.
                                                                                      31 (Pages 118 - 121)
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                                                Page 122                                                Page 124
     1   BY MR. EWALD:                                    1             I am happy to discuss -- let me
     2       Q. Now back to the questions.                2       look at this whole list.
     3            Doctor, when we had the                 3             I'm sure it probably comes -- so I
     4   discussion we just had, you had talked about a   4       am happy to show you Figures 18 through 27
     5   list in front of you of 50 different             5       definitions of asbestos in regulatory over
     6   definitions of asbestos; is that what you said?  6       the years; and I don't know whether I took
     7       A. No. I have a list to my right.            7       it from this list, but it was, you know, a
     8   And I am happy to pull all the -- you know,      8       respected government agency. And I took
     9   there's a glossary -- I think it was done by     9       the defendants -- I think you can pick
    10   the National Geological Service -- of different 10       many different -- I think it's a credible
    11   definitions over the decades of asbestos to the 11       definition early on.
    12   point where you asked me what is my definition 12              I don't give it any more import
    13   of asbestos.                                    13       than anything else. I am very comfortable
    14       Q. Okay. And so what I want to know         14       with J&J's definition.
    15   is: When you use the term "asbestos" in the     15   BY MR. EWALD:
    16   report without any citation to a specific       16       Q. You also cite in your report to
    17   source, what definition of asbestos are you     17   IARC 2010, correct?
    18   using?                                          18       A. Well, there -- there are decisions
    19       A. Again, you have to be a little           19   in IARC. I could do 2010 and 2012, I believe;
    20   careful, again, because sometimes the word      20   both talc not containing asbestos, asbestiform
    21   "asbestos" is used in a document, I mean, you 21     fibers, and then talc with. So I cite to a
    22   have to look at what the person who wrote the 22     number of IARC documents.
    23   document is referring to.                       23             THE WITNESS: Could I have my IARC
    24            But I think we can -- I mean, I am     24       sheets, please?
    25   comfortable with 79.1 as a definition.          25             Thank you.
                                                Page 123                                                Page 125
     1       Q. Okay. And let's start, though,            1   BY MR. EWALD:
     2   with when you gave the definition of asbestos, 2         Q. Okay. And so can you explain to me
     3   you used IARC 1973, correct?                     3   why you chose a 50-year-old definition of
     4       A. No, I don't think I did. I used           4   asbestos for IARC when you had one from 2010,
     5   the word "defined" -- the first time I used the  5   for example, from IARC?
     6   definition -- well, I did definition -- I list   6       A. I don't see any -- I see it -- to
     7   IARC, but I give J&J's use of the word they      7   be honest, I see 78 and 79 as very consistent.
     8   defined. There is a general discussion what      8   So I mean, there is no specific rationale.
     9   they designate it.                               9           If you look at -- and, in fact, if
    10           But then I used J&J -- I've always      10   you look at the 2012 definition, I think that
    11   used the J&J that was on J&J's specs,           11   '73 definition, 2012 definition -- we can go
    12   et cetera, and I've always used that. That's    12   look at it -- I think is cited in 2012.
    13   what I mean, I think.                           13       Q. What about this, do you have --
    14       Q. Okay. So are you suggesting that         14       A. IARC cites -- in IARC's 2012, you
    15   what occurs in paragraph 78 is not a definition 15   know, that covers both, you know, asbestiform
    16   that you include of asbestos in your report?    16   talc, asbestos talc without -- it uses -- in
    17       A. No. Of course it's there. I don't        17   the sentence there, it says, "Asbestos is the
    18   think there's anything very controversial about 18   generic commercial designation for a group of
    19   that. But I'm telling you a very succinct       19   naturally occurring mineral silicate fibers of
    20   definition is in 79.1.                          20   the serpentine and amphophile series. These
    21       Q. And why, though, in 78 did you           21   include the serpentine mineral chrysotile also
    22   choose 1973 IARC for the asbestos definition? 22     known as" -- I guess they added "white asbestos
    23       A. I was searching for --                   23   and the five amphophile minerals actinolite,"
    24           THE WITNESS: Do me a favor. Can I 24         blah, blah, "and tremolite."
    25       get my list of asbestos definitions?        25           And then they cite, open

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                                                  Page 126                                                  Page 128
     1   parentheses, "(IARC 1973 USGS 2001)." So             1   one that matches, IARC '73, IARC 2012, J&J for
     2   IARC -- this is -- that is the definition that       2   50 years has a definition; and that was the one
     3   IARC was using for over 50 years; and used it        3   that I felt most comfortable with. I am happy
     4   again in 2012, as I see it.                          4   to discuss the merits of the 2010 one. I
     5      Q. Let's look at IARC 2010, which is              5   didn't -- I used the one that was in place for
     6   on -- it's mentioned in your report, correct?        6   50 years.
     7   And if we go to --                                   7       Q. Are you comfortable discussing the
     8            MS. O'DELL: John, would you put             8   merits of IARC 2010 and whether or not it is an
     9      that in the chat, please.                         9   appropriate definition of asbestos?
    10            MR. EWALD: Yes.                            10       A. If you want to spend the next two
    11            Jake, please put it in chat.               11   hours, we can spend, you know, the -- discuss
    12            THE WITNESS: Could someone else            12   the merits of using the terminology and the
    13      hand me the full document from 2010, the         13   semantics and the complexities of using
    14      full document?                                   14   something like asbestiform. I am happy to do
    15            MR. KEESTER: Just checking. It is          15   that.
    16      D-280, right, John?                              16       Q. My question, going line by line,
    17            MR. EWALD: Yeah.                           17   sir -- I think your answer is -- you don't have
    18            MR. KEESTER: Okay. Sending.                18   an opinion one way or another about whether or
    19   BY MR. EWALD:                                       19   not the first sentence I read to you is
    20      Q. Okay. Doctor, I'm looking at the              20   correct: "Asbestos is a commercial term that
    21   Talc Not Containing Asbestiform Fibres Exposure     21   describes six minerals that occur in the
    22   Data Introduction. It's page 277.                   22   asbestiform habit: actinolite, anthophyllite,
    23      A. Got it.                                       23   chrysotile, grunerite, riebeckite and
    24      Q. IARC 280. And there at the bottom.            24   tremolite."
    25   Hold on.                                            25             Do you agree with that, sir?
                                                  Page 127                                                  Page 129
     1           Do you see where it starts with         1                 MS. O'DELL: Object to the form.
     2   asbestos?                                       2                 THE WITNESS: I think I have
     3      A. Yes, sir.                                 3            answered the question. The definition
     4      Q. Okay. "Asbestos is a commercial           4            that I am using is the IARC definition
     5   term that describes six minerals that occur in  5            that is cited in 2012, and it was cited in
     6   the asbestiform habit: actinolite,              6            1973. That's the definition that I am
     7   anthophyllite, chrysotile, grunerite,           7            most comfortable using.
     8   riebeckite and tremolite (IARC, 1977)."         8        BY MR. EWALD:
     9           Do you agree with that statement,       9            Q. Why is that, sir?
    10   Doctor?                                        10                 What is the scientific basis for
    11      A. I agree that you read that               11        that, sir?
    12   correctly. I don't have an opinion on whether 12             A. It's the -- the scientific basis of
    13   I agree with that statement. IARC uses a       13        that is, you know, you're asking me -- the word
    14   different statement in 2012 that I do cite in  14        asbestiform is close to Vicastinion [sic]
    15   '73. So the '73 matches the 2012.              15        concept as far as semantics. I mean, the
    16           I am happy to spend -- I don't have    16        scientific basis is scientifically, you know,
    17   an opinion specifically on that statement.     17        the word "fibrous I" could understand.
    18      Q. Well, you don't have an opinion as       18                 Asbestiform has, obviously, a long
    19   to which is the appropriate definition of      19        condition; but I certainly -- J&J's definition
    20   asbestos?                                      20        is fibrous, serpentine, chrysotile, and fibrous
    21      A. I'm not -- again, as I said, there       21        forms of the amphophile I think have great
    22   are 50 different definitions that are recorded 22        scientific merit. And that's been in place for
    23   by the National Geological Survey. I am happy 23         50 years. And that, again, I'm very
    24   to put those in the record.                    24        comfortable aligning myself with J&J's
    25           The one that I am very comfortable,    25        definition and IARC's '73 and 2012.
                                                                                            33 (Pages 126 - 129)
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                                                   Page 130                                                 Page 132
     1            Obviously, IARC must have had some           1   without being asbestiform."
     2   reason for changing -- to use different               2            Do you agree with that?
     3   terminology between 2010 and 2012. But the '73        3            MR. O'DELL: Object to the form.
     4   that I cite is what IARC does in 2012, and I am       4       Asked and answered.
     5   comfortable with that.                                5            THE WITNESS: I could not have been
     6       Q. Okay. By the way, in talking about             6       more explicit on what my definition is.
     7   whether asbestiform is a scientific merit as a        7       There should be no complexity on what
     8   term, you have reached this opinion after not         8       definition I am using.
     9   even knowing what it was before being retained        9   BY MR. EWALD:
    10   as an expert in this case?                           10       Q. How does your definition differ
    11       A. I don't think -- let me just look             11   from this one, sir?
    12   at your statement. If you go back, tell me           12       A. I don't see that as a definition.
    13   where I said I didn't know about asbestiform.        13   It doesn't say define. J&J's definition in
    14            MS. O'DELL: Excuse me.                      14   79.1 gives you a definition. It says,
    15            Suzanne, I had objected to the              15   "Asbestos is defined."
    16       question. I don't know if you heard me,          16            I don't read your sentence that you
    17       but I want to make sure that my objection        17   read as asbestiform is defined as -- the
    18       is noted for the record.                         18   sentence you just read, that is just a general
    19            MR. EWALD: The record will reflect          19   statement. I don't see the word "definition"
    20       what the record reflects here.                   20   in that sentence at all.
    21   BY MR. EWALD:                                        21            Where is that definition?
    22       Q. So let's go to the second sentence,           22       Q. Let's take that definition.
    23   "Similarly to talc, these six minerals occur         23            Do you agree with the statement
    24   more commonly in a non-asbestiform habit, and        24   that "Similarly to talc, these six minerals
    25   may also be elongated without being                  25   occur more commonly in a non-asbestiform habit,
                                                   Page 131                                                 Page 133
     1   asbestiform."                                         1   and may also be elongated without being
     2           Do you agree with that sentence?              2   asbestiform"?
     3           MS. O'DELL: Okay. Do you have                 3           Do you agree with that, whether it
     4      that in front of you, Dr. Kessler?                 4   is a definition or not?
     5           Can you see it.                               5       A. I certainly agree that the first, I
     6           THE WITNESS: I actually have my               6   think, is a very factual question, right. You
     7      own copy of this. So just -- I mean, I             7   would have to give me what the writer's
     8      was able to pull that. I mean, I would             8   definition of asbestiform that is used by IARC
     9      appreciate the whole report, if someone            9   in order for me to tell you whether I agree
    10      could get me the whole document so we can         10   with that or not.
    11      make sure I'm looking at the whole                11       Q. Well, what is the definition of
    12      document.                                         12   "asbestiform" that you use?
    13           I think that's a complicated                 13       A. There again, I -- I define my terms
    14      sentence. I think there's a lot of                14   asbestos. I don't believe I set out an
    15      complexity to that sentence. Again, I'm           15   asbestiform definition. I think that is more
    16      happy to discuss or happy to look at what         16   appropriately discussed by the geologist and
    17      the geologist and mineralogist discuss.           17   mineralogist, and I think that's part of the
    18   BY MR. EWALD:                                        18   semantic -- semantics over the last 50 years.
    19      Q. Well, you are the one who is using             19       Q. Okay. So it's your view that it is
    20   the term "asbestos" throughout the report, and       20   appropriate for you to define what asbestos is,
    21   I want to know what you mean when you use it.        21   but asbestiform is something that's outside of
    22   And so I want to know whether or not you agree       22   your area of expertise?
    23   with IARC 2010 that, "Similarly to talc, these       23           MS. O'DELL: Object to the form.
    24   six minerals occur more commonly in a                24       Misstates his testimony.
    25   non-asbestiform habit and may also be elongated      25           THE WITNESS: You're way off, sir.
                                                                                             34 (Pages 130 - 133)
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                                                 Page 134                                                Page 136
     1       And please don't characterize me like           1       A. I certainly have read documents
     2       that. Okay?                                     2   that have used the word asbestiform.
     3   BY MR. EWALD:                                       3       Q. And so what -- when you read that
     4       Q. I'm trying to understand what your           4   word, what meaning do you ascribe to it?
     5   testimony is. Your testimony, you said --           5       A. It depends what the writer meant by
     6       A. Well --                                      6   it. If you go back and look at -- and I'm
     7       Q. Hold on, sir. The question is not            7   happy to provide you with a cite. The National
     8   pending yet. I will tell you what the question      8   Geological Service has a glossary, a couple
     9   is. And you said I think that it is more            9   of -- all where it has probably 20 pages of
    10   appropriate that the asbestiform, that             10   definitions of asbestiform used by different
    11   definition is something that is dealt with by      11   people over time that have been defined in
    12   the mineralogist and geologist; and that is a      12   different characteristics by different
    13   semantic argument.                                 13   definitions.
    14            That's what you said, sir, right?         14            So you've got to tell me who -- it
    15       A. I responded to your question when           15   has to be read in context. You have to know
    16   you asked me what the definition was of            16   who's writing it, what definition they're using
    17   asbestos, okay. You're asking me for the           17   over the 50 years. There's been many
    18   definition of asbestos, was your question. I       18   definitions. I refer to that National
    19   gave you the definition of asbestos.               19   Geological Survey glossary.
    20            You wanted me to use this sentence        20       Q. Well, when you are going through a
    21   as the definition of asbestos, and I resisted      21   document and it says asbestiform and it doesn't
    22   because I didn't think it was either meant by      22   define it, how do you decide what the writer
    23   IARC -- I think you are twisting those words,      23   meant?
    24   right. And -- and I am using -- the definition     24       A. You try to look at context, sir.
    25   couldn't be more clear.                            25       Q. Okay. And what kind of context do
                                                 Page 135                                                Page 137
     1           I mean -- I mean, if you're the          1      you look for?
     2   chrysotile or you're the fibrous, one of those   2         A. You try to look at the rest of the
     3   five minerals, that's, in my view, asbestos.     3      paper. You try to look at the era that it's
     4      Q. Okay. And so I will have more              4      written in. You try to look at the other words
     5   questions about asbestos definitions, but for    5      just as you try to ascribe meaning to any word.
     6   now I want to know what your definition of       6         Q. Okay. So tell me how does the era
     7   asbestiform is.                                  7      depend on what asbestiform means?
     8           And am I correct you don't have          8               MS. O'DELL: John, would you mind
     9   one?                                             9         repeating the question please?
    10           MS. O'DELL: Object to the form.         10               I didn't catch the first part.
    11      Misstates his testimony.                     11               MR. EWALD: What I understood from
    12           THE WITNESS: I don't believe in         12         Dr. Kessler is that one of the areas of
    13      my -- I don't believe that I offer the       13         context is era.
    14      definition of asbestiform in my testimony. 14        BY MR. EWALD:
    15      I would have to double check --              15         Q. So what I want to know: How does
    16   BY MR. EWALD:                                   16      the era help impact the context of what
    17      Q. So --                                     17      asbestiform means?
    18      A. -- with my --                             18         A. If you look at the National
    19      Q. Go ahead.                                 19      Geological Survey glossary, you will see by
    20           Without -- so, sir, when you            20      different categories, different dates, right,
    21   read -- well, withdrawn.                        21      there are different definitions of asbestiform,
    22           Am I correct that you have read         22      right, that have been utilized, that different
    23   documents, over the 830 hours that you've spent 23      people have used; and meaning was ascribed at
    24   on this second report, that have used the word 24       different times.
    25   asbestiform?                                    25               Again, I am not going to sit here
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     1   as an expert on the historical use of the word       1      A. I mean, there are -- there are
     2   asbestiform. I don't represent myself as that.       2   certainly statements from that.
     3      Q. But you are an expert on                       3      Q. Okay. And these --
     4   understanding the historical use of asbestos?        4           MR. EWALD: Can I have the IWG --
     5           MS. O'DELL: Object to the form.              5      my IWG page, please?
     6           THE WITNESS: I am an expert on               6           Let's see here.
     7      when it comes to the regulatory interface         7           Thank you very much.
     8      of carcinogens, potential carcinogens, in         8   BY MR. EWALD:
     9      products that are used under the                  9      Q. Okay. I want to put up here on the
    10      jurisdiction of the Federal Food Drug and        10   screen -- and this is a cite to this December
    11      Cosmetic Act.                                    11   2021 white paper from the Interagency Working
    12   BY MR. EWALD:                                       12   Group on asbestos throughout your report,
    13      Q. I believe you said that use of the            13   right?
    14   term "asbestiform" is semantics; is that right?     14      A. Put that in the chat.
    15           MS. O'DELL: Object to the form.             15           MS. O'DELL: Yeah. You read my
    16      That's not what his testimony was.               16      mind.
    17           THE WITNESS: Every word has a               17           John, are you marking this as an
    18      semantic derivation.                             18      exhibit?
    19   BY MR. EWALD:                                       19           And if so, I suppose this is
    20      Q. What do you mean by that?                     20      Exhibit 9. And then put it in the chat.
    21      A. Well, I mean, there -- there --               21           MR. EWALD: We'll mark it as nine.
    22   there's meaning to describe -- can I get -- if      22      Thank you.
    23   you have -- I don't have it with me -- the          23
    24   NGS Glossary, right.                                24
    25           I mean, by definition, language and         25
                                                  Page 139                                             Page 141
     1   the -- how -- I mean, the fact that the word         1          (Whereupon, Exhibit 9, White Paper:
     2   asbestiform can have different definitions           2     IWGACP Scientific Opinions on Testing
     3   among the gee -- in that history and in that         3     Methods For Asbestos in Cosmetic Products
     4   glossary by definition is a -- is in the field       4     Containing Talca Bates labeled P-2318
     5   of semantics and have meaning.                       5     through P-2318_030, was marked for
     6        Q. And so is it your opinion, then,             6     identification.)
     7   that it is -- it's not important to you to           7          MR. EWALD: And this one, Jake, is
     8   understand what semantics means because it's --      8     P-2318.
     9   it's changed in your view over time?                 9          MR. KEESTER: I just put it in.
    10            MS. O'DELL: Object to the form.            10          MR. EWALD: Yes.
    11            THE WITNESS: No. I --                      11          MR. KEESTER: And, John, really
    12            MS. O'DELL: Excuse me.                     12     quick, did we mark D-280 as an exhibit?
    13            Misstates his testimony.                   13          MR. EWALD: No. It's okay. I
    14            THE WITNESS: No, not at all.               14     don't want -- oh, we'll mark it. Why not?
    15   BY MR. EWALD:                                       15          We'll mark D-280 IARC 2010, if the
    16        Q. Okay. So let's look at -- you               16     court reporter doesn't mind, we'll mark
    17   spent a lot of time in your report quoting          17     that as 9, and apologies.
    18   from -- well, a lot of time -- you spend a          18          And then we'll do Exhibit 10 the
    19   number a paragraphs quoting from the FDA white      19     IWGACP 2021 document.
    20   paper 2021, right?                                  20
    21        A. There -- there are a lot of                 21
    22   different portions of that. There's a 2020.         22
    23   There's the appendices, the white paper. Yes,       23
    24   I do do that.                                       24
    25        Q. Okay.                                       25
                                                                                         36 (Pages 138 - 141)
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                                                 Page 142                                                  Page 144
     1           (Whereupon, Exhibit 10, World               1   didn't bring 24 with me.
     2      Health Organization International Agency         2           MS. O'DELL: Okay.
     3      for Research on Cancer, IARC Monographs on       3           THE WITNESS: You can just show 24,
     4      the Evaluation of Carcinogenic Risks to          4      Mr. Ewald. That's fine.
     5      Humans, Volume 93, Carbon Black, Titanium        5   BY MR. EWALD:
     6      Dioxide, and Talc, was marked for                6      Q. Well, I'm happy you can see that
     7      identification.)                                 7   what we have on the other pages is more
     8   BY MR. EWALD:                                       8   definitions. I'm asking you about the
     9      Q. Okay.                                         9   definition of asbestiform, which states, "A
    10      A. What you put in front of me                  10   specific variety of a mineral or a type of
    11   includes the appendices?                           11   mineral fibrosity associated with a unique
    12           I just want to make sure.                  12   fibrous habit of crystal growth, in which the
    13      Q. I can get there, yeah. But right             13   fibers are long and thin, that possess high
    14   now I'm going to show you the body of it.          14   tensile strength and flexibility. This unique
    15      A. Yeah.                                        15   habit of growth is observed in fibrous
    16      Q. You reviewed the appendices, right?          16   serpentine chrysotile and certain fibrous
    17      A. And -- and the appendices and the            17   amphophile minerals."
    18   2020 document, yeah.                               18           Do you agree with that definition
    19      Q. Okay.                                        19   of asbestiform, sir, by the FDA?
    20           MS. O'DELL: Doctor, are you okay           20           MS. O'DELL: Object to the form.
    21      with that, or do we need to put it on the       21           THE WITNESS: So -- so let's be
    22      big screen?                                     22      clear. IWGACP is not FDA. Right. I
    23           THE WITNESS: No. I -- yeah. I --           23      mean, I think can we agree on that. Those
    24      I won't -- I'm fine. Thank you, ma'am.          24      are individuals in their individual
    25           I have these documents in front of         25      capacity. But it was not a recognized FDA
                                                 Page 143                                                  Page 145
     1       me. I -- I -- I brought them.                   1       document. I think it's so cited, right.
     2   BY MR. EWALD:                                       2           So you want to ask the question
     3       Q. All right. So we're here in the              3       again?
     4   glossary of terms section, page 25 of the main      4   BY MR. EWALD:
     5   document. I want you to look at the                 5       Q. Sure. I'm more than happy, if
     6   Interagency Working Group definition of             6   you're consistent with that one.
     7   asbestiform there --                                7           So are -- you agree with the
     8       A. I -- I don't -- I don't have that.           8   Interagency Working Group white paper
     9            Can I get that, and can I get a            9   definition of asbestiform that I just read to
    10   hard copy of that, please?                         10   you and that appears on page 25 of the December
    11            MS. O'DELL: Yes. I will -- we             11   2021 white paper we have marked as Exhibit 10?
    12       will get --                                    12       A. I -- I think that is, again, one
    13            THE WITNESS: Yeah. I -- I have            13   definition that is advanced here that cites
    14       the white paper I have in front of me,         14   Campbell. I am not sure. That's how they
    15       through 23; and I have the appendices.         15   define, so they're entitled to define it any
    16            But could you show me what page           16   way they want, and that's what I mean by
    17       you're -- you're -- where you are?             17   "semantics."
    18            You're in the glossary at terms --        18           But it's not that I agree or
    19   BY MR. EWALD:                                      19   disagree with the definition. That's their
    20       Q. Yeah. Glossary of terms --                  20   definition. That's how they're using the term.
    21       A. Just so you can show me the index,          21   Again, if you -- if you refer to -- you know,
    22   send me the table of contents so I can see         22   if you refer to the National Geological Survey,
    23   where 16 is in the contents, what page.            23   there are other definitions of this asbestos
    24            You're -- now, I stopped printing         24   that are used. I don't find anything -- you
    25   at 23. So I apologize. I didn't bring -- I         25   know, I'm not going to object to this --

                                                                                           37 (Pages 142 - 145)
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                                                Page 146                                            Page 148
     1   there's nothing that I'm going to say is wrong   1    the problems that we've encountered over
     2   or I'm going to jump up and down; but I'm        2    the last 50 years, right.
     3   defining it. That's their definition.            3         So I don't see -- I mean, as far as
     4       Q. What expertise do you have to make        4    whether asbestos -- asbestiform is meant
     5   a determination as to whether or not one         5    to imply that it has health hazards,
     6   definition of asbestiform is better than         6    right, that should be ceded to the
     7   another?                                         7    mineralogists and geologists alone.
     8       A. I -- what I can do is, again, in          8 BY MR. EWALD:
     9   the regulatory context, okay, of reaching a      9    Q. Yeah. I'm not sure exactly I
    10   decision what -- how a substance should be      10 understand what you were saying, but --
    11   regulated under the act, right, the question is 11    A. I'm happy to explain it again.
    12   to be able to bring basic, you know, scientific 12    Q. No. What I -- what I -- what I
    13   and medical knowledge and what is -- you know,13 want to --
    14   how it gets applied in that framework.          14         MS. O'DELL: I'm sorry, John. I'm
    15           I'm -- I'm not sure, you know --        15    not sure if he was finished with his
    16   I'm not sure when you say how do you have       16    answer. Excuse me.
    17   scientific expertise, they define it like that. 17         MR. EWALD: He was -- he was
    18   That's how they're using the word -- again,     18    finished with his answer, and then he said
    19   welcome to the -- you know, there's a whole     19    he'd explain it again; and I said no, he
    20   field of philosophy that deals with the         20    doesn't need to explain it again. So --
    21   question of how you decide what definition      21         MS. O'DELL: Let's pause just for a
    22   applies to what word here.                      22    moment.
    23       Q. Well, I -- my question was: What         23         Dr. Kessler, were you finished with
    24   expertise do you have and you agree with me 24        your answer?
    25   that mineralogists and geologists have          25         If so, that's fine. If you are
                                                Page 147                                            Page 149
     1 expertise to offer an opinion as to whether or       1   not, then please continue.
     2 not the definition of asbestiform is an              2        THE WITNESS: I think Mr. Ewald
     3 accurate one; do you agree with that?                3   understands the -- the point that I was
     4         MR. O'DELL: Object to the form.              4   making.
     5         THE WITNESS: Bingo. I think                  5        The -- if asbestiform is in that
     6    you've just put your -- your finger on an         6   terminology meant to have any -- to be
     7    essential point, right.                           7   informative in a regulatory sense of
     8         That is what mineralogists and               8   whether it is hazardous or potential --
     9    geologists don't have is the ability to           9   whether it presents a risk, right, that
    10    decide if you are going to link that term,       10   definition, then, is not under -- should
    11    asbestiform, right, with a health hazard,        11   not be under the purview of people who
    12    right, or how it should be regulated under       12   don't have the expertise on the public
    13    the act, right, that's the key here,             13   health side of your question.
    14    right.                                           14        It can't be set by the
    15         I mean, if you look at the                  15   mineralogists and geologists alone.
    16    definitions that were used and what              16   That's fine if they're living in a world
    17    happened here is you see certain                 17   of just geology. But if, ultimately, in
    18    epidemiological studies that link asbestos       18   the regulatory context, right, you're --
    19    in -- with hazards, right; and then you          19   you're asking the issue of whether there's
    20    have certain groups of individuals, right,       20   potential human health implications,
    21    looking and redefining things not in the         21   right, that goes broader than just the
    22    context of the broader expertise, right,         22   mineralogists and geologists. That's the
    23    and being able -- linking it to what that        23   problem with terms that were defined as --
    24    ultimate health hazard is.                       24   by the mineralogists and geologists and
    25         And I think that's one of the --            25   used in ways that increase the specificity
                                                                                     38 (Pages 146 - 149)
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                                                   Page 150                                                Page 152
     1      but decrease the sensitivity of the                1   this language, right, elongated -- elongate
     2      analysis that have -- in the laboratory            2   particles, I mean, are -- had the biological
     3      tests that have implications for human             3   activity. And we've been caught up in language
     4      health and FDA regulation.                         4   in semantics for, in essence, for 50 years; and
     5   BY MR. EWALD:                                         5   they're trying to clarify what has biological
     6      Q. Okay. So I want to make sure I                  6   activity. And I applaud that.
     7   understand.                                           7       Q. Okay.
     8           You are suggesting that the -- the            8            MS. O'DELL: John, are you frozen?
     9   white paper, the Interagency Working Group that       9            MR. EWALD: Nope.
    10   defines asbestiform and defines asbestos is not      10            MS. O'DELL: Okay. Sorry.
    11   the appropriate one to use in the regulatory         11            MR. EWALD: No. No worries.
    12   context but is, in fact, should be used the          12            MS. O'DELL: We've had some blips
    13   definition of an internal J&J document?              13       on the internet today. I thought there
    14           MS. O'DELL: Objection. Misstates             14       was a problem.
    15      his testimony.                                    15            MR. EWALD: No problem at all. I
    16           THE WITNESS: Yeah. Yeah. So                  16       was deciding where to go next.
    17      you're -- you're missing this entirely.           17            Let's -- okay. Let's mark as
    18   BY MR. EWALD:                                        18       Exhibit 11 -- Jake, it's going to be
    19      Q. I'm sure I am.                                 19       Exhibit 8179. If you can drop it in the
    20      A. What I'm saying, and I apologize if            20       chat, please, this relates to -- the
    21   I'm not clear.                                       21       highlighting -- it's not mine, but it's
    22           I actually applaud the Interagency           22       reflected as highlighting on the document.
    23   Working Group where people with diverse              23   BY MR. EWALD:
    24   backgrounds and expertise that's -- and that's       24       Q. And, Doctor, you --
    25   what FDA does and FDA brings together those          25            MS. O'DELL: Hey, John, give us
                                                   Page 151                                                Page 153
     1   people in the various subject matter experts of  1          just a moment here. Excuse me for
     2   various government agencies to be able to deal 2            interrupting.
     3   with these complex questions.                    3                Could you put it in the chat
     4            What I am objecting to -- and I         4          where -- Dr. Kessler has it on the screen.
     5   think they -- they certainly have good faith     5          It's quite small. So we want to put it on
     6   and came up with a definition that they can,     6          a larger screen so he can see it.
     7   you know -- they've listed it in their           7                MR. EWALD: Sure. Jake, will get
     8   glossary.                                        8          it in there in a second.
     9            I don't think mineralogists and         9                MS. O'DELL: Give us a moment to
    10   geologists -- they certainly can define the     10          download it and put it on the screen.
    11   terms in their -- their field. What they can't  11                (Whereupon, Exhibit 11, Johnson &
    12   do is set the terms to have any meaning when it 12          Johnson Consumer Products, Inc.,
    13   comes to implications for public health, right. 13          Authorization for Interim Specification,
    14            So if there's fibers that are meant    14          Bates labeled JNJMX68_000000438 through
    15   to be asbestiform or not asbestiform or we're   15          JNJMX68_000000441, was marked for
    16   going to define these as asbestiform and these 16           identification.)
    17   as non-asbestiform, and they make those         17                MS. O'DELL: Okay. So Dr. Kessler,
    18   definitions based on geological and             18          do you mind if I -- you can click on it
    19   mineralogical principles, right, and            19          and see if it will open it up for you.
    20   morphological and microscopic characteristics, 20           You may need to download it onto your
    21   those have to be correlated and validated on    21          desktop, and then you'll need to go back
    22   the human health risk side.                     22          to your desktop and open it.
    23            And I think that was the -- the        23                THE WITNESS: It's not -- it's not
    24   great effort of the Interagency Working Group 24            fresh --
    25   tried to do and basically said get rid of all   25                (Discussion held off the record.)

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                                                  Page 154                                                Page 156
     1          MS. O'DELL: John, I'm going to                1      Vague.
     2    help him a little bit here.                         2            THE WITNESS: Yeah. And I think
     3          MR. EWALD: Of course.                         3      that word "vague" is also probably
     4          (Discussion held off the record.)             4      applicable to my answer.
     5          THE WITNESS: I didn't save it.                5            Can I have my testing folder, my --
     6    It's not on my -- it's saved in documents.          6      my testing sheets?
     7    I want to switch it to desktop, and then I          7            I think -- let me tell you what --
     8    have to --                                          8      it's -- it's well-summarized I think --
     9          MS. O'DELL: Okay.                             9      actually, if you have something called Rio
    10          THE WITNESS: Where is that                   10      Tinto -- my Rio Tinto slides, there's an
    11    document?                                          11      excellent -- well, I mean, there's a slide
    12          Thank you. Thank you.                        12      by Rio Tinto that summarizes the use of
    13          MS. O'DELL: Do you want it over              13      various testing. Let me get it. Give me
    14    there?                                             14      a second.
    15          THE WITNESS: Yeah. Over there                15            There's -- there's something that
    16    would be perfect. Thank you so much.               16      says TEM. Margaret -- just give me a
    17          I'm looking to my left now.                  17      second please. There's a TEM. I
    18          MS. O'DELL: Okay. You're in                  18      apologize. Let me just get it here.
    19    control, and you have your mouse.                  19            It gives a chronology of what was
    20          THE WITNESS: Thank you so much.              20      in place when -- I have a slide -- again,
    21          MS. O'DELL: All right.                       21      just give me a second -- that has exactly
    22          THE WITNESS: Thank you.                      22      when was -- when what was used and when
    23 BY MR. EWALD:                                         23      TEM really was -- started to come in
    24    Q. All right. Doctor, in that same                 24      place.
    25 page of your report, 79.1, you're referring to        25            It may be here. Could you just
                                                  Page 155                                                Page 157
     1   what you call J&J's definition of asbestos.          1       fold this for a second?
     2            And what I'm showing you, for the           2             I apologize I can't seem to find
     3   record, we'll mark as Exhibit 11. This is --         3       that. It should be -- you know, there's a
     4   it has a Bates Number JNJMX68_000000439 as --        4       Rio Tinto slide deck. It gives a very
     5   it is the Authorization for Interim                  5       good chronology. I'll get it in a second,
     6   Specification.                                       6       Mr. Ewald.
     7       A. Got it.                                       7             But when TEM really entered into
     8       Q. "Subject: Cyprus Windsor Minerals             8       the picture, I found it to be pretty
     9   Corporation Grade 66 Talc."                          9       informative because it was -- it's -- it's
    10            Do you see that?                           10       a little complex exactly what was used by
    11       A. I know this, yes.                            11       J&J at what points in time. There's a --
    12       Q. All right. And under Material                12       there's a good summary of it, and it's in
    13   Specification, "Properties & Requirements, 2.1      13       one of the Rio Tinto presentations if
    14   Asbestos (CTFA/J4-1 and TM7024)."                   14       somebody will pull up for me once I get
    15            Do you see that, sir?                      15       it.
    16       A. I do.                                        16   BY MR. EWALD:
    17       Q. Okay. We know J4-1.                          17       Q. All right. Well, we'll get back to
    18            What is TM7024 refer to?                   18   that part.
    19       A. I believe that there's a -- there            19             My question -- so I have some more
    20   was another policy that had to do with              20   questions on J&J testing.
    21   transmission microscopy also in place.              21             But suffice it to say, sitting here
    22       Q. Okay. Well, what do you know, sir,           22   right now, you can't tell me what TM7024 is?
    23   about J&J's testing methods for the presence of     23       A. No. And again, I mean, it was a --
    24   talc over time?                                     24   it was a -- it was a protocol for transmission
    25            MS. O'DELL: Object to the form.            25   electron microscopy.
                                                                                           40 (Pages 154 - 157)
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                                                   Page 158                                                 Page 160
     1       Q. So under --                                    1      Q. Okay. So does this look familiar
     2       A. What's not clear to me exactly from            2   to you, CTFA method, J4-1, asbestiform,
     3   the record exactly when J&J used it. Okay. I          3   amphibole minerals, and cosmetic talc?
     4   mean, it was not in use. I mean, certainly for        4      A. Yeah. Can we just put it -- is
     5   the -- well, 50 years of this. The use became         5   there a date on this?
     6   more common in the late '80s and '90s and was         6            I mean, it has not been -- just
     7   not -- was not consistently used from what I          7   scroll -- scroll back up for a second. Please.
     8   can deduce certainly over the 50-year period.         8      Q. Issued 10/7/76.
     9           It's also not clear to me exactly             9      A. Yeah. That's the date I -- that's
    10   what was done by J&J and J&J inside versus what      10   the date I was just looking for. Yeah.
    11   J&J contracted out, I mean, over the 50 years        11      Q. All right.
    12   as far as transmission electron microscopy.          12            MR. EWALD: We'll mark this as
    13       Q. Do you have an understanding                  13      Exhibit 12.
    14   through your research as to which external labs      14            (Whereupon, Exhibit 12, Document
    15   were considered amongst the best labs for the        15      entitled, "Asbestiform Amphibole Minerals
    16   analysis by microscope of materials for the          16      in Cosmetic Talc, Bates labeled
    17   presence of asbestos?                                17      JNJ 000405219 through JNJ 000405228, was
    18       A. I -- I don't -- I have no opinion             18      marked for identification.)
    19   on what is the best laboratory that J&J used         19            MS. O'DELL: Could you kindly put
    20   over time. You know, we certainly see three          20      it in the chat for us again, please.
    21   laboratories involved I believe in the               21            MR. EWALD: Sure. Let me know when
    22   2018-2019. I have no opinion on what the best        22      you have it.
    23   laboratory was.                                      23            MS. O'DELL: Okay.
    24       Q. Okay. So going back to this --                24            THE WITNESS: I've got it. I'm
    25       A. There are --                                  25      sorry to make you jump up.
                                                   Page 159                                                 Page 161
     1       Q. Excuse me. What?                               1             MS. O'DELL: You've already
     2       A. I have no -- no opinion of what --             2       clicked, so if you do save -- yeah. And
     3   what -- to rank the J&J contractors.                  3       then open up the -- it should be in the
     4       Q. All right. So Exhibit 11, we're                4       folder over there. Yeah. Right there.
     5   back to that. And next to asbestos (CTFA J4-1)        5             THE WITNESS: It's opening up.
     6   (TM7024). You have, "Nondetected. Asbestos is         6       Thank you, sir. Give me a second. I have
     7   defined to be the fibrous                             7       it in front of me. Let me enlarge, if I
     8   serpentine, chrysotile and the fibrous forms of       8       may, zoom, edit, zoom, view plus.
     9   the amphibole group as represented by amosite,        9             I'm almost there, sir. It's just
    10   anthophyllite, crocidolite, tremolite and            10       going to a different -- I just have to
    11   actinolite."                                         11       make it a little larger. Is there a plus
    12           Did I read that correctly?                   12       sign?
    13       A. You did, sir.                                 13             Zoom to -- hold on a second -- to
    14       Q. And that is the part -- it's                  14       page -- let's go to 100 percent,
    15   something similar you quote in 79.1, correct?        15       125 percent.
    16       A. Yes, sir. And that definition, if             16             Thank you, sir. Thanks for letting
    17   you go back, I actually remember searching that      17       me see it.
    18   definition. I mean, that -- that paragraph is        18   BY MR. EWALD:
    19   used over decades by J&J in -- in documents          19       Q. Sure.
    20   like this.                                           20       A. I have it in front of me, and
    21       Q. Now, one of the tests procedures              21   that's a little too big; but that's okay.
    22   that was identified there is J4-1.                   22       Q. All right. There's not much to ask
    23           Have you ever looked at the J4-1             23   of this one other than you would agree with me,
    24   testing procedure?                                   24   Dr. Kessler, that the title of the method is
    25       A. In detail, sir.                               25   "Asbestiform Amphibole Minerals in Cosmetic
                                                                                             41 (Pages 158 - 161)
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                                                 Page 162                                                  Page 164
     1   Talc," correct?                                     1            I mean, a test at 14 percent -- a
     2      A. You know how to read.                         2   sensitivity of 14 percent, you increase the
     3      Q. Okay. And if you go to --                     3   specificity here with great individual
     4      A. The specifications? Yep.                      4   variability, right.
     5      Q. And examine the ample -- the sample           5            And, again, as you pointed out, and
     6   for asbestiform fibrous amphibole minerals,         6   it was good to import to convince FDA this was
     7   right?                                              7   the test for the safety of asbestos when you
     8            It doesn't just say, examine the           8   leave out this whole world the chrysotile,
     9   sample for fibrous amphibole minerals, right?       9   right. Sort of this -- that is the biggest
    10      A. No. Let me just get mine to the              10   head-scratcher, right.
    11   right size. Give me a second. I expanded it        11            How do you convince FDA or the
    12   so it's more than a hundred percent. So let's      12   world to go along with a test that doesn't even
    13   get it.                                            13   test for chrysotile and yet you're putting in
    14            No. I think it's a more -- I think        14   place a test that has sensitivity that is 14 --
    15   that -- the way you phrased it, I would ask you    15   I mean, 14 percent by the one validation test
    16   to clarify -- I mean, to be a little more          16   that I saw.
    17   specific.                                          17       Q. And what validation -- 14 percent,
    18            What page are we on?                      18   I don't -- I don't see that in your report.
    19      Q. Well, we're on page 9 out of 10.             19   Maybe I missed it.
    20      A. Hold on a second. Let me get                 20            Is it in your report?
    21   there. I'm getting there.                          21       A. Yeah. I mean, it's right there. I
    22            My -- my point exactly here. There        22   mean, it's -- you know, it's -- I mean, I
    23   could not be a better example of what we've        23   taught it last -- you know, I -- I teach this
    24   been talking about over -- since the break.        24   sensitivity and specificity. Just look at the
    25      Q. Okay. My question was: The title             25   round-robin in '77. I think that was done on
                                                 Page 163                                                  Page 165
     1   for this section is example -- "Examine the         1   J4-T when they spiked it, and you had one --
     2   Sample for Asbestiform Fibrous Amphibole            2   one lab identify it; and six did not. And just
     3   Minerals," correct?                                 3   do the math, and you'll see that in the
     4      A. Correct.                                      4   definition of laboratory tests, when six miss
     5      Q. And it doesn't just say, examine              5   it and one gets it in the spike sample, that's
     6   the sample for fibrous amphibole minerals; it       6   a sensitivity of 14 percent. The test is
     7   doesn't say that, correct?                          7   useless.
     8      A. You're missing what the import of             8       Q. Can you tell me again what
     9   this section is. You're focusing on a word,         9   expertise you have to render an opinion that a
    10   right; but you're given instructions on            10   microscopy test for the presence of asbestos is
    11   five character- -- you can ask your question,      11   not reliable?
    12   but here is the point.                             12       A. Sir, I'm a professor of
    13            They are adding certain specific          13   epidemiology and biostat. I mean, basics in
    14   characteristics to meet a definition of            14   there -- as I taught medical students a lot
    15   asbestiform, right. So these are five things       15   about sensitivity and specificity of different
    16   you have to look at to meet their                  16   kinds of tests, right.
    17   characteristics of a positive test, right.         17            When -- when you look at a
    18            So they are -- by doing this, the         18   validation study as you do in that '77
    19   geologists and others are increasing the           19   round-robin and you see how many positives and
    20   specificity of the test, right. And this is        20   negatives you get, it's very easy to do, very
    21   why you, in part, right, not the only reason,      21   simple math, right. One out of seven that got
    22   but why you ended up with a sensitivity when       22   it is 14 percent, and a 14-percent sensitivity,
    23   you tested it ultimately the year after of         23   right, no one's going to rely on that; yet, we
    24   14 percent. This was absolutely useless,           24   ended up relying on that for decades.
    25   right.                                             25            I mean, this was all a way -- how

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                                                  Page 166                                                Page 168
     1   could you rely on a test that has a sensitivity  1 BY MR. EWALD:
     2   of 14 percent to protect the American public?    2    Q. Okay. I agree with that. Two
     3            How could you rely on a test,           3 things, though.
     4   right --                                         4         MR. EWALD: If counsel can please
     5      Q. There's no question pending.               5    tell me what Bates number it is so I can
     6      A. But --                                     6    have what you're looking at when we come
     7      Q. There's no question pending.               7    back from the break.
     8            MS. O'DELL: He's not finished.          8         It's also a good time for Suzanne,
     9            THE WITNESS: How do you rely on a 9          I think, to at least get a glimpse of the
    10      test, right, that doesn't test for           10    eclipse, right? Suzanne, no?
    11      chrysotile, right?                           11         THE COURT REPORTER: It will be in,
    12            How do you -- how do you -- how do     12    like, another half hour.
    13      you even convince an agency, right, that     13         (Discussion held off the record.)
    14      you're giving -- you're giving the           14         THE WITNESS: Do you want to go to
    15      American publish assurance with this J4-1 15       another subject.
    16      that doesn't test for chrysotile when you    16         MS. O'DELL: That's fine. And then
    17      know there's chrysotile in your product;     17    we'll have the document in just a moment,
    18      and yet, you say that chrysotile is not an   18    and then I'll be happy to give you the
    19      issue.                                       19    Bates number.
    20   BY MR. EWALD:                                   20         THE WITNESS: You will put in the
    21      Q. Are you done, Doctor?                     21    chat.
    22      A. I am -- no. I -- what you're              22         MS. O'DELL: Yeah. We'll put it in
    23   hearing from me, right, is -- you want to put   23    the chat as well.
    24   up J4-1?                                        24         MR. EWALD: Perfect.
    25            You should know the limitations of     25
                                                  Page 167                                                Page 169
     1   J4-1, right, and you should know what the            1   BY MR. EWALD:
     2   sensitivity is; and you should know that it did      2       Q. Let's talk about geology. And
     3   not protect the American public. I am not            3   actually, is the -- if you go to paragraph 80.
     4   done.                                                4       A. Yes.
     5      Q. Okay. Let's look -- so there's                 5       Q. Is that the Rio Tinto one you're
     6   some discussion that you feel like, you know,        6   referring to or something else?
     7   maybe there's some J&J TM work in the late           7       A. No. There's a -- there's a lot of
     8   '80s, '90. You're not really sure.                   8   Rio Tinto. There are a number of different
     9            And so I'm going to show you some           9   versions of that. In fact, I think there's a
    10   documents. Maybe you've seen them before.           10   number of Julie Pier slide decks. So we have
    11      A. That's not -- that's not what I               11   to find exactly.
    12   said.                                               12       Q. Right.
    13            MS. O'DELL: Object to the form.            13       A. But the one at TEM is from a Julie
    14            THE WITNESS: Okay. That's not              14   Tinto [sic] -- I apologize -- Julie Pier Rio
    15      what I said.                                     15   Tinto slides. You are correct.
    16            What -- what's represented by your         16       Q. So on geology you cite a number of
    17      companies and its contractors, if you look       17   pages of what goes in and then a variety of the
    18      at the testing history, okay, and there          18   other sources.
    19      are documents; and you can just see, there       19           How did you go about reviewing the
    20      are -- Rio Tinto, if I can just get that.        20   geological issues associated with talc and
    21      It's printing.                                   21   asbestos?
    22            Why don't we just take a break for         22       A. So there were a number of meetings,
    23      a second, and let me just get this               23   including the IWGACP. There were other
    24      document in front of me so the record can        24   meetings that FDA held where they had
    25      be clear so I have it in front of us.            25   geologists come and present.
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                                                Page 170                                              Page 172
     1            I mean, this is the, you know, the      1   it's the starting place of what to expect, I
     2   unique thing about FDA. FDA finds itself         2   mean, in the -- in this material. Again, I
     3   regulating substances that intersect with        3   think that there is very little data if you
     4   environmental, geological, mineralogical         4   look at the -- the record here that the Vermont
     5   substances all the time. You know, whether       5   mines -- again, I think probably what's being
     6   it's lead, I mean, other -- other issues in      6   printed -- we have that -- we'll show the
     7   their products.                                  7   possibility of serpentine materials certainly
     8            So the FDA would bring in the           8   in those mines were to be anticipated.
     9   geologists that there were a number of           9            And my only point is that the
    10   geologists that I cite that were from FDA       10   safety, you know, that there's some debate
    11   presentations. So I looked at that.             11   here, and I go in to it; but, you know, it's
    12            I also went -- I wanted to see -- I    12   not been established. So there's uncertainty,
    13   pulled the Laura Webb, who I believe is the     13   and I recognize that; and I'm trying to
    14   defendant expert witness. I went to see -- to   14   recognize the complexities that are associated
    15   read her comments in response to the IWGACP 15       when you start with the geology and then
    16   working group. She filed comments. I went to 16      translate that into the mineralogy and then
    17   read her expert report in part.                 17   into the epidemiology. And no one has anyway
    18            So I was interested in looking at      18   cleared the non-asbestiform fibers to
    19   this the way FDA would look at this and have to 19   substantiate the safety in my opinion.
    20   educate themselves from a geological point of 20          Q. So in 83.15 you're -- are you
    21   view. Again, not substituting myself for the    21   suggesting that Dr. Van Gosen disagrees with
    22   geology experts; but again, on that interface   22   Dr. Webb, that one must, in fact, understand
    23   when, as FDA did in this matter, to bring in    23   the details of the local and regional geology
    24   the geologists to understand the interface      24   of any given mine, including the potential for
    25   between it's regulated products and the         25   complex distribution of rocks at different
                                                Page 171                                              Page 173
     1   potentially hazardous products that are         1    metamorphic grades resulting from complex
     2   geologically or mineralogically derived.        2    tectonic history?
     3       Q. Okay. So for example, with your          3             MS. O'DELL: Object to the form.
     4   discussion of Laura Webb, 83.15, page 26. Let 4               THE WITNESS: That's not
     5   me know when you're there.                      5       Dr. Van Gosen. That's Dr. Webb if I'm
     6       A. Hold on a second 83 point --             6       correct.
     7       Q. 15.                                      7    BY MR. EWALD:
     8       A. Right.                                   8       Q. Do you think that -- is it your
     9       Q. Are you there?                           9    opinion that Dr. Webb disagrees with -- sorry.
    10       A. I am, sir.                              10             Is it your opinion that
    11       Q. Okay. I couldn't understand what        11    Dr. Van Gosen disagrees with that quote from
    12   you said. So what is -- what does Laura Webb's 12    Dr. Webb?
    13   opinions that you're excerpting there impact   13       A. I'm not saying she does -- he does.
    14   have on your opinions here?                    14    I'm not -- I'm not saying there is a
    15       A. Yeah. So this is all under the          15    disagreement there. I mean, I -- I put it in
    16   conclusion here. I mean, if you go to the --   16    there because I think, one -- I mean, I think
    17   to the section of this, I mean, as you know,   17    that is the view of the geologists. I think
    18   Dr. Van Gosen came to an FDA public meeting; 18      that one has to take that into account.
    19   and he took -- he took -- he took FDA through 19              And I mean, there are
    20   the interrelationship that drives from the     20    certain things -- there -- you know, there are
    21   geological environment of talc. And, for       21    certain categories that geologists, they -- the
    22   example, he did it on the anthophyllite forms  22    people who are involved for 50 years expected
    23   and how those were related. Dr. Webb agrees in 23    certain type of geological formations gave
    24   part, disagrees in part with Dr. Van Gosen.    24    potential for certain risks. But knowing the
    25           And what you can see is, again,        25    local characteristics, I mean, is certainly
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                                                  Page 174                                                 Page 176
     1   something that was for important for the             1           So for example, there's a pie chart
     2   totality of evidence here.                           2   of Rio Tinto mineral slide deck talc deposit
     3       Q. Well, you have on your materials              3   mineralization by world production, and they
     4   considered list an expert report, MDL from           4   divide this up by world production; and they
     5   Dr. Mary Poulton.                                    5   employ the same pathway formation of talc. And
     6            Did you review that expert report?          6   they do 20 percent of the world production is
     7       A. I would have to -- I would want to            7   Serpentine Host Rock and RTM Vermont, and it
     8   review -- I'd want to review that and pull that      8   says potential for serpentine asbestos. And
     9   in front of me.                                      9   there are certain versions of this pie chart
    10       Q. Have you -- sitting here today, do           10   that have a footnote that say that the --
    11   you recall reviewing the report of Dr. Mary         11   exactly what's in that quote, that you should
    12   Poulton?                                            12   suspect the possibility based on local
    13       A. I'd have to go back. I'm drawing a           13   characteristics.
    14   blank for the moment.                               14           So I mean --
    15       Q. What are you relying on, if                  15           MS. O'DELL: John, just for
    16   anything, for your understanding of J&J's           16      verification purposes, this is an IMERYS
    17   mining practices over the years?                    17      PowerPoint. It's analytical capabilities
    18       A. So there is -- I mean, there's a             18      to test methods dated June 2009, and I'll
    19   rich history of Bill Ashton. There is a -- I        19      give the Bates number to you shortly.
    20   mean, there are documents that -- let me --         20           THE WITNESS: And then there is
    21            THE WITNESS: Do you have my pie            21      also -- I owe Mr. Ewald a discussion of
    22       chart?                                          22      the history of TEM, and there is that
    23            I just -- I need my pie chart.             23      slide too. If you can just help me find
    24            (Discussion held off the record.)          24      this slide deck. There's a -- it's one of
    25            THE WITNESS: I'm still told it's           25      the Rio Tinto slides.
                                                  Page 175                                                 Page 177
     1       being printed. This is the famous                1         Yeah. It's -- there's a Julie --
     2       document that's being printed.                   2    exactly.
     3            I just need -- there's a pie chart          3         Sorry, Mr. Ewald. We'll get those
     4       here, and there's a TEM chart. And,              4    to you.
     5       again, I apologize. As soon as that's --         5 BY MR. EWALD:
     6       I'm just looking to look for it.                 6    Q. All right. So -- so let's, while
     7   BY MR. EWALD:                                        7 we're waiting for -- I'm not sure we're waiting
     8       Q. While you're looking for --                   8 anymore.
     9       A. I mean, there's -- there's -- do              9         MR. EWALD: Jake, can you please
    10   you want to -- can I just give you the --           10    drop in the Mary Poulton report. I'll pop
    11   thanks. I just want to pull that in front of        11    it on the screen.
    12   me.                                                 12         THE WITNESS: I do have the
    13       Q. I'm sorry. What are you doing now,           13    footnotes here. Here is one footnote
    14   sir?                                                14    where on -- there's a slide deck,
    15       A. I'm just looking at the materials            15    analytical capabilities and test methods
    16   in front of me for -- here we go. And there's       16    June 2009 is talc deposit mineralization
    17   another version of this. There are two              17    by world production.
    18   versions of this. There's two versions of           18         There's a note that says, "All talc
    19   this. Yeah. Can you just pull up -- let's           19    deposits have risk of localized asbestos
    20   start with the pie chart there. Just give me        20    if isolated metamorphic events occur in or
    21   one second.                                         21    near the deposit.
    22            And there's some different                 22         MS. O'DELL: And I will --
    23   footnotes on these different pages, and there       23    Dr. Kessler, is this the one you would
    24   is another pie chart. Yeah. There's a               24    like to put it in chat.
    25   different pie chart.                                25         THE WITNESS: Yeah. I mean, I hope
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                                                 Page 178                                                Page 180
     1       that's the -- it's this slide, Mr. Ewald,       1      others. I think that the notion of
     2       please. Just make it has the footnote.          2      quality control in China is a very big
     3       Some of them don't have the footnote            3      complex issue, right.
     4       that -- I think that footnote                   4            She -- I mean, she's talking about
     5       characterizes it pretty well.                   5      I am sure -- you know, I have no opinions
     6            MS. O'DELL: Okay.                          6      on -- between her and cook. I mean, there
     7   BY MR. EWALD:                                       7      are other -- on -- you know, they can
     8       Q. Okay. While we're putting that in            8      discuss the Vermont mines.
     9   the chat, I put it in -- Jake put in the report     9            I think where -- I think we would
    10   of Mary Poulton. I am not going to ask about       10      all agree that complex -- the quality
    11   it in depth, but I do want you to have a chance    11      control in China -- and I -- I've tried to
    12   to take a look at it just to see if it's           12      look at those documents. You know,
    13   something that you ended up reviewing.             13      anything about quality control in China, I
    14            MS. O'DELL: Just click it out of          14      think I -- I would -- I see she doesn't
    15       the chat.                                      15      get into that in any real significant way
    16            THE WITNESS: This is 2019-02. Is          16      if I remember because I was looking for
    17       that the document I'm doing?                   17      that.
    18   BY MR. EWALD:                                      18            You see there's one paragraph on
    19       Q. Yes.                                        19      China, right. But to say -- to talk about
    20       A. Thank you very much.                        20      the quality control and selective mining,
    21            General causation -- one second.          21      you know, I don't think anyone is -- and I
    22   Yeah. This is a response, I guess, to Cook and     22      tried to go back and look at those audits
    23   Krekeler. I'm not going to pronounce it right.     23      and actual visits to China; and I think
    24   It's a response to them.                           24      there's -- there's great unknowns on the
    25            I don't have a -- I don't know            25      quality there.
                                                 Page 179                                                Page 181
     1   whether I -- I don't know -- I don't remember    1      BY MR. EWALD:
     2   studying it the same way that I studied Webb.    2         Q. When you say "great unknowns,"
     3      Q. Okay. And --                               3      you're talking about any experience you might
     4      A. This response to Cook, right?              4      have had in other areas relating to China, and
     5      Q. Right. And to the extent that              5      you haven't had any specific evidence about a
     6   Dr. Poulton makes certain opinions regarding     6      lock of quality control as it relates to China
     7   selective mining, the ability of J&J to avoid    7      top mines --
     8   areas that may contain asbestos, you don't have 8                MS. O'DELL: Object to the form.
     9   the expertise to disagree with her, correct?     9               THE WITNESS: Yeah. So I -- so I
    10           MS. O'DELL: Object to the form.         10         do have -- I mean, if you do look at the
    11           THE WITNESS: I'm -- I'm not going 11               amount of quality control data that is in
    12      to -- you know, I'm not being going to --    12         the administrative record on China, it
    13      just give me one second. Let me just --      13         is -- I mean, I -- I was not -- there --
    14      let me just study this a little please.      14         there is not a lot.
    15      Thank you.                                   15               If you look at the total number of
    16           Yeah. So she's focusing, if I'm         16         samples that were tested in China in the
    17      correct, how drill campaigns -- on drill     17         record over the years that J&J has put --
    18      campaigns, mine planning, and how            18         I mean, I think there's -- there's very
    19      effective the quality control is, right.     19         significant questions about the oversight
    20           You know, I do -- I do want to put      20         in China. And I -- and I see she cites
    21      on the -- well, let me just see something.   21         that stuff.
    22      Let me just look at this.                    22      BY MR. EWALD:
    23           Yeah. So let me just point out          23         Q. Right. On the -- if you could
    24      what -- I think -- I mean, I have studied    24      please turn --
    25      this issue a little. I leave it to           25         A. I just need one second to clean up
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                                               Page 182                                           Page 184
     1   here so I can --                              1   is in paragraph 114. Did you ask -- actually,
     2      Q. Sure.                                   2   115. Sorry.
     3      A. -- keep track of the documents.         3            Did you ask plaintiff's counsel,
     4   Thank you so much.                            4   hey, do you know if there are any other
     5      Q. Sure.                                   5   documents other than what I'm citing here
     6      A. And I still need that TEM document.     6   relating to that historical back-and-forth?
     7      Q. I'm not going there yet. We'll do       7       A. Yes.
     8   that on the break.                            8       Q. Okay.
     9      A. Thank you very much. Thanks for         9            THE WITNESS: Can I have my
    10   waiting.                                     10       Hutchinson binder please?
    11      Q. So turn, please, to the                11            That is a good example, and it's
    12   Subsection A that starts on page 46.         12       worth pointing out, yes. I was very
    13      A. Yes.                                   13       interested in that because that went to
    14      Q. All right. And you --                  14       the -- I -- I have a document. I
    15           THE WITNESS: Can I just trouble      15       specifically asked for that because I was
    16      you. Can you hand me my lab binders -- my 16       trying to sort out the Dr. Lewin issues.
    17      lab test binders, please?                 17   BY MR. EWALD:
    18           MS. O'DELL: Yep.                     18       Q. Okay. And so what was your
    19           THE WITNESS: Just one second. Let 19      thinking in setting out in your report that
    20      me just get my binder in front of me so I 20   discussion where you only discussed part of the
    21      don't have to jump up and down.           21   story in paragraph 115, fair?
    22           Thank you very much, sir. I'm        22       A. Which paragraph, sir?
    23      happy to discuss anything.                23       Q. 115.
    24   BY MR. EWALD:                                24            MS. O'DELL: Excuse me. Let me
    25      Q. Sure. You mentioned earlier in the     25       make sure my objection is noted.
                                               Page 183                                           Page 185
     1   day that, to the extent possible, it was         1         Object to the form of the question.
     2   important for you to get a complete story on     2         THE WITNESS: I'm -- you know,
     3   issues that you're talking about in the report,  3    again, as this is the life I learned --
     4   fair?                                            4    lead -- we all lead, right -- that I have
     5       A. That's a general -- general subject       5    when I'm writing books is how much do you
     6   of aspiration. I implored you, right. I try      6    put in and how much -- I can go into -- I
     7   to get as complete.                              7    can write a report, and I have a -- I have
     8       Q. And you talked a little bit about         8    a binder that, you know, assembled that
     9   the steps you took to do that. At any point in   9    has, you know, a reliance list.
    10   time did, when you were talking about some of 10           I must have -- I don't know -- 20
    11   the incidents discussed starting on, let's say, 11    documents or so that go into exquisite
    12   110, footnotes and ensuing paragraphs, asked 12       detail exactly when Hutchinson at the
    13   counsel if there were other documents that you 13     airport ends the reports the day before
    14   haven't identified that spoke to those          14    they go into FDA. And say there's no
    15   particular issues?                              15    chrysotile when he says there's
    16            MS. O'DELL: Object to the form.        16    chrysotile.
    17            THE WITNESS: So whether there were 17             I can go into that story in
    18       laboratory tests, we're talking about in    18    exquisite detail. The documents should be
    19       the sphere of testing; is that correct?     19    on my reliance list. The question is how
    20            I just want to get the scope if        20    much -- whatever you'd like to discuss. I
    21       that's this section.                        21    mean, I think -- I think it is an
    22   BY MR. EWALD:                                   22    important story.
    23       Q. Yeah. Right. For example, you --         23 BY MR. EWALD:
    24   let me give you an example. Sorry.              24    Q. Well, I guess one question is in
    25            You reference the Hutchinson, which    25 reviewing some of the documents that you
                                                                                   47 (Pages 182 - 185)
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                                                  Page 186                                                Page 188
     1   suggest that you have, does that impact your     1    Q. Well, do you have any expertise as
     2   assessment of the reliability of the results     2 to be able to decide whether, for example,
     3   that were initially reported and discussed       3 Dr. Hutchinson just got it wrong?
     4   on -- in paragraph 115?                          4         MS. O'DELL: Object to the form.
     5           MS. O'DELL: Objection. Vague.            5         THE WITNESS: I have every
     6           THE WITNESS: Let me just -- let me       6    expertise in the world to know the answer
     7      just read all of 115. Give me one second      7    to the question is: Do you have any shred
     8      to review 115, and then I will tell you       8    of evidence, right.
     9      the impacts. I just need a second to          9         And, I mean, I think most people
    10      review this.                                 10    would -- would agree that he may have --
    11           I mean, I've been focused on the...     11    you can decide, you know, exactly -- you
    12           This is Figure 17A and 18A. Yeah.       12    can be the arbitrator, who's right, who's
    13           So yeah. I see that paragraph.          13    wrong.
    14      Ask your question again, sir, please.        14         But the answer to the question,
    15   BY MR. EWALD:                                   15    okay, that -- let's just look -- if you
    16      Q. Well, so, for example, are you            16    look on at 11/1/72, right, there isn't a
    17   aware that McCrone tested the same sample by 17       shred of evidence, right, that there's
    18   TEM and did not find any chrysotile?            18    asbestos in Shower to Shower.
    19      A. Sir, I can tell you in -- let's --        19         When you have that Hutchinson
    20   give me one second. Give me one second.         20    come -- on, Mr. Ewald. You don't
    21           So I'm aware that there are a lot       21    disagree. You -- there's a shred --
    22   of people who testify -- there was Sperry Rand, 22    there's not only a shred of evidence.
    23   who did find -- I have a -- in this -- it       23    There was -- you could sit there, please,
    24   should be -- I have a handwritten chronology. 24      I mean --
    25   It must be -- did it fall out?                  25
                                                  Page 187                                                Page 189
     1            I have a handwritten chronology.            1   BY MR. EWALD:
     2   Sperry Rand did find it. And so, you know,           2       Q. Listen, I'm not -- I'm not going to
     3   again -- here it is. I'm sorry. Thank you.           3   tell you what you believe. Don't tell me what
     4            This is my notes. And so I can              4   I believe.
     5   tell you on -- on what date would you -- what        5       A. I'm not.
     6   date are you referring to of McCrone because I       6       Q. You just did.
     7   can -- we can look at those documents? I'm           7       A. I'm telling you --
     8   happy to pull those up for you or with you.          8       Q. You just did.
     9            We can look at what McCrone found.          9       A. But I'm telling you that -- I'm
    10   We can look at what Sperry Rand found. We can       10   telling you the history is not very good for
    11   look at what Dr. Hutchinson found.                  11   your client.
    12            But the fact is Hutchinson found           12       Q. Okay. And --
    13   this, right. Made sure J&J knew about this.         13            MS. O'DELL: John, excuse me.
    14   J&J walk in and say, no shred of evidence.          14       We're -- we're at 2:26. I think we agreed
    15            So it may be that McCrone found,           15       to take a break for Suzanne. I think she
    16   you know, McCrone found what, you know, what        16       was looking at being able to get up and
    17   McCrone found. But if you're going to tell FDA      17       outside by 2:30.
    18   that there's no shred of evidence and they had      18            So is this a good time for a break?
    19   in their possession what Hutchinson said is         19            MR. EWALD: Why not?
    20   incontrovertible evidence, right, of                20            MS. O'DELL: Okay. We are off the
    21   chrysotile, you know, you can draw whatever         21       record.
    22   conclusions you want. I don't get that. I           22            THE COURT REPORTER: Okay. We're
    23   don't get that, how that happens. I don't get       23       off the record.
    24   how the general would allow that to happen in       24            (Whereupon, a break was taken.)
    25   his company.                                        25

                                                                                           48 (Pages 186 - 189)
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                                                   Page 190                                                 Page 192
     1   BY MR. EWALD:                                         1            Which one are you -- when you're
     2       Q. All right. Doctor, off the top,                2   pointing out these paragraphs?
     3   we'll go back to the topic we left off later.         3       Q. I'm going by specific paragraph
     4   I want to talk about your Section 5, amongst          4   number. I started out by focusing on the FDA
     5   other things, which starts on page 58.                5   2014 petition response. In particular, I noted
     6       A. Yeah. Can I turn to my epi                     6   145 where the FDA responds -- or you quote from
     7   binders?                                              7   it where it notes that it is plausible that
     8           Yes, sir.                                     8   perineal talc has a particulate that reaches
     9       Q. And in particular, I want to start             9   the endometrial cavity, right?
    10   with your concluding paragraph on 154. It's          10       A. Yeah. That is -- that is -- that
    11   the end of that section on page 67.                  11   is part of the FDA response that acknowledges
    12       A. 157?                                          12   that there are -- there's some evidence to
    13       Q. 154 on page 67.                               13   suspect a question of safety of talc products.
    14       A. Thank you, sir. Give me a second.             14       Q. Okay.
    15       Q. Of course.                                    15       A. The FDA uses that. I mean, it's
    16       A. Yes, sir.                                     16   not that -- I mean, I am -- the reason I'm
    17       Q. Okay. And so in this concluding               17   being a little careful, I am not doing -- you
    18   paragraph, you identify three things that            18   know, under 154A, FDA is doing that analysis of
    19   supports your conclusion that plaintiffs failed      19   those mechanisms of action, correct?
    20   to substantiate the safety of its talcum powder      20       Q. Right.
    21   products.                                            21       A. I'm citing simply the fact that FDA
    22           First, is the FDA's 2014 petition            22   has said there are -- there's some evidence
    23   response acknowledging that there remains some       23   with respect to your question of safety, right,
    24   evidence to suspect or question the safety of        24   in that petition response. And they use that
    25   talcum powder products. And on that I will           25   as a basis to do that.
                                                   Page 191                                                 Page 193
     1   pause. There are a couple of different           1            Q. And then C on 154 refers to IARC's
     2   paragraphs, but you note in paragraph 145 the    2        classification as talc-based body powder as
     3   FDA's response noting the biological             3        possibly carcinogenic to humans, right?
     4   plausibility of talc reaching the endometrial    4            A. So can I just have my -- my art?
     5   cavity, fair?                                    5                 What you have is you have both a 2B
     6       A. Yes, I cite that; yes, sir.               6        classification, and you have a 1 classification
     7       Q. Okay. And then you cite to the            7        for both 2010 and 2012. So you have the 2B,
     8   totality of the medical literature. It says      8        and then you have the Group 1 classification of
     9   2014 that continues to raise safety questions;   9        all forms of asbestos, right, in 2012. I mean,
    10   and then within this section overall, you refer 10        it deals with asbestiform talc and talc with
    11   to a number of such studies, fair?              11        asbestos. So you've got Group 1 and 2B for
    12       A. Yeah. Tell me -- I'm a little            12        IARC.
    13   confused. So you -- we're going back on 2014. 13              Q. Right. And all of the evidence
    14   A is the FDA's petition itself acknowledges -- 14         that you talk about in Section 5 starting
    15       Q. Right.                                   15        around 58 and summarize in that paragraph 154
    16       A. -- that there -- there are some          16        conclusion ever since is publicly available
    17   evidence. So you're citing some of the          17        information, correct.
    18   evidence that they are citing some of the       18            A. Yeah.
    19   evidence, but their review is that there is     19            Q. Okay. And is it -- do you have a
    20   some unanswered questions, right, I mean, about20         view as to when there was enough evidence as to
    21   this. And you're picking out some of the        21        defendant's failing to substantiate the safety
    22   evidence in their response.                     22        of their talcum powder products?
    23            Are you under A, or are you under      23            A. Yeah.
    24   all -- everything in my 154? That's why -- I    24            Q. What date?
    25   apologize.                                      25            A. I think if you go back to the
                                                                                             49 (Pages 190 - 193)
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                                                 Page 194                                           Page 196
     1   original Tenovus finding of -- I mean, I'm not   1 147 concluding footnotes to 151, do you intend
     2   sure I -- well, I give an -- I don't think I     2 to offer any other opinions regarding that
     3   give an opinion specifically on that.            3 ovarian cancer epidemiology?
     4            But in response to your question, I     4         MS. O'DELL: Object to the form.
     5   think once you find needles in Tenovus deep in 5           THE WITNESS: So again, I think you
     6   the ovary and they have evidence that their      6    have -- I won't use any adjectives.
     7   product contained, quote, "the fibers," I think  7         You -- you have experts who will do
     8   there was -- there was not -- certainly there    8    the epidemiology, meaning who can talk
     9   was -- there was serious questions that were     9    about recall bias and never use and ever
    10   raised that could not substantiate the safety   10    use.
    11   of the product back in the '70s.                11         I'm happy to, again, as a professor
    12       Q. Do you think from an                     12    of epidemiology, if you want to ask me any
    13   epidemiological standpoint, that the Cramer     13    questions; but I leave it to those other
    14   1982 study was sufficient to raise enough       14    experts to talk about epidemiology
    15   questions on the safety of talc products?       15    certainly as it relates to causation,
    16            MS. O'DELL: Object --                  16    right. I told you I wasn't going to do
    17            THE WITNESS: I am not basing my        17    causation. I'm not going to do causation.
    18       last answer on any one epidemiological      18         Where this epidemiology comes into
    19       study. I think, though, that once you       19    play, right, I -- you -- you certainly
    20       have -- again, I mean, failing to -- the    20    have varying degree of biological
    21       obligation was for J&J to substantiate the  21    evidence, right. You have the animal
    22       safety, right.                              22    pathological. You have histological. You
    23            You don't have to prove that -- you    23    have epidemiological evidence. Again, is
    24       don't have to prove the -- you don't need   24    the interplay between that epidemiology
    25       epidemiological statistical significance    25    and responsibilities under the act.
                                                 Page 195                                           Page 197
     1       to raise questions about safety.                1        Again, the responsibility here is
     2            I think in the '70s you didn't             2   J&J, as I understand, it has to
     3       have -- you couldn't substantiate the           3   substantiate the safety of its product,
     4       safety. Once you have Tenovus and once          4   right.
     5       you have fibers, how can you substantiate       5        Where epidemiology -- the
     6       the safety? It raised enough questions to       6   epidemiology cannot be said to
     7       undermine any substance to say you can          7   substantiate the safety of this product.
     8       ensure the safety of the product.               8   In fact, the epidemiology, you know,
     9            That's not the same thing as, you          9   certainly today, I mean, raises questions
    10       know, ruling something in, right. I mean,      10   about it; and it has raised questions for
    11       is the epidemiological -- we now know that     11   several decades, right.
    12       there's a small statistically significant      12        So what I will stay with the
    13       increased risk, I mean; but that's not the     13   opinions that are specifically -- you
    14       same thing as failing to substantiate the      14   know, the heading is a good example. And
    15       safety.                                        15   in 154 this is to support the fact that
    16            You understand what I'm saying, I         16   they fail to substantiate the safety of
    17       hope.                                          17   their talcum products. I mean, I rely on
    18   BY MR. EWALD:                                      18   what FDA -- rely may be wrong, but I
    19       Q. I guess I'm unclear on the                  19   reference what FDA has said.
    20   epidemiology. You note in 146 that you leave       20        I look at the evidence myself, feel
    21   to other experts to discuss in detail the          21   very comfortable, you know, discussing
    22   strengths weaknesses and specifics of the          22   what -- what the epidemiology is and what
    23   scientific evidence.                               23   international bodies and agencies have
    24            What are you -- beyond what you           24   said.
    25   include in the report about epidemiology from      25        And I take that against the
                                                                                     50 (Pages 194 - 197)
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                                                 Page 198                                                Page 200
     1      regulatory question: Did they                    1            THE WITNESS: So this isn't --
     2      substantiate the safety of the talcum            2       yeah.
     3      product.                                         3   BY MR. EWALD:
     4           And in light of that, epidemiology          4       Q. Is it your -- I'm sorry. Go ahead.
     5      studies that still -- that show a small          5       A. I just want to -- I really
     6      significant -- significant increase.             6   appreciate the question. I just want to make
     7      Again, epidemiologists can spend their           7   sure I get it.
     8      careers discussing dispense and                  8            Has the FDA concluded that -- has
     9      limitations and exactly what all that            9   FDA concluded that the companies have not
    10      means.                                          10   substantiated the safety?
    11           I think there's no doubt in my             11            Is that -- is that -- ever said the
    12      mind, in light of that record, the              12   companies have not substantiated the safety?
    13      defendants failed to substantiate the           13       Q. Well, that's one question. That's
    14      safety of the product.                          14   the first one. Go ahead.
    15           That's what I would offer.                 15       A. So I don't -- I mean, I think that
    16   BY MR. EWALD:                                      16   if you look at the response to the petitions,
    17      Q. And when you -- when you say that            17   FDA got side -- sidetracked are two things and
    18   epidemiology has raised questions going back       18   did not look at that essential question under
    19   several decades, how far back in your mind?        19   the statute, which they should have done.
    20      A. Well, so let me -- hold on one               20            I think they looked at, in response
    21   second.                                            21   to Sam Epstein's petition, the question was,
    22           So again, I'm not going to give an         22   you know, did they say whether there was
    23   exact, you know, I mean, opinion; but I think      23   definitive evidence to -- whether there was
    24   you have certainly studies, you know, as you       24   definitive evidence or evidence to definitively
    25   reference of Cramer in '82, Hartge in '83. You     25   say to require a warning.
                                                 Page 199                                                Page 201
     1   have a whole bunch of case control studies in       1            That's -- that was not the standard
     2   the '80s that certainly, you know, at the very      2   for cosmetics, but that was the standard in the
     3   least, even with their limitations, raise           3   petition; so they were answering the petition,
     4   questions about the safety.                         4   right. But the -- the real question, right, I
     5            But I think -- I think you have            5   mean, in front of FDA is, you know, for
     6   that -- again, once you find -- once you find       6   50 years your company said -- told this agency
     7   needles, I mean as Tenovus in the -- in the         7   there's not asbestos in this product, right.
     8   deep tissue, I think, you know, you don't need      8            And I think that has -- that's
     9   epidemiology if you find the needle and you         9   been -- that's shaped everything, and the --
    10   have that pathology to raise questions.            10   the agency, you know, gives great -- put great
    11   Causation is a different mass.                     11   reliance in what the company said for 50 years
    12      Q. Is it your opinion that at any               12   that there was no asbestos.
    13   point in time, the FDA has concluded that          13            So I mean, if there's no asbestos,
    14   cosmetic talc manufacturers like J&J have          14   then there's no issue of substantiating the
    15   misbranded labels for not having a warning         15   safety. The FDA was completely misled here.
    16   substantiated?                                     16       Q. Okay. So your -- it's your opinion
    17            MS. O'DELL: Could you repeat the          17   that if there is no asbestos determination,
    18      question?                                       18   that the safety has been substantiated for
    19            MR. EWALD: Yeah.                          19   talcum powder products?
    20            THE WITNESS: I want to -- I want          20       A. No.
    21      to study that question.                         21            MS. O'DELL: Object to the form.
    22   BY MR. EWALD:                                      22            THE WITNESS: You almost got it
    23      Q. Sir --                                       23       right. If there is -- if there is no
    24            MS. O'DELL: He's just reviewing           24       asbestos -- there's going to be two
    25      the question on realtime.                       25       negatives -- too many negatives in this.
                                                                                          51 (Pages 198 - 201)
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                                                 Page 202                                               Page 204
     1        But if there's no question about       1    A. No.
     2   asbestos -- if you say to the FDA, no --    2         MS. O'DELL: Object to the form.
     3   we've taken care of the risk, right,        3         THE WITNESS: They --
     4   you're worried about asbestos. Asbestos     4         MS. O'DELL: You may answer.
     5   is a human carcinogen. We've taken care     5         THE WITNESS: They missed it.
     6   of the risk. There's no asbestos. We've     6    Okay.
     7   closed down mines. We -- we have a -- we 7            Let's -- I mean, if you look at
     8   have this under control. We've never        8    their response -- let's just pull up --
     9   found it. No asbestos. No asbestos. No      9    and if I'm correct, they said in response
    10   asbestos, right.                           10    that there is not definitive evidence,
    11        You basically put FDA's mind at       11    right. The science is not definitive.
    12   ease, right, that they don't have to lose  12         Let me get exactly the words. Give
    13   sleep that this product is causing harm.   13    me one second. I just want to pull it up.
    14        That is different, right, than        14         Do you mind -- if someone could
    15   whether your company has substantiated the 15    look for the word, whether FDA actually
    16   safety. I just believe your company --     16    said and the word definitive.
    17   that there was no asbestos here. That was  17         They're responding -- what they
    18   the mistake.                               18    have in front of them is a request from --
    19        So when Sam Epstein comes in and      19    oh, I'm frozen now.
    20   says it requires a definitive warning,     20 BY MR. EWALD:
    21   FDA's going, uh, there's no asbestos here, 21    Q. I'm sorry. Before you go
    22   we can rest assured. What's the big deal?  22 further...
    23        That's what your company is saying.   23         MR. EWALD: Jake, can you tell me
    24 BY MR. EWALD:                                24    which number? I'm having trouble
    25   Q. Okay. So I want you to leave aside      25    finding -- never mind. I found it. Never
                                                 Page 203                                               Page 205
     1   the asbestos point for a moment because, at         1       mind.
     2   least as I understand it, the epidemiology          2            (Whereupon, Exhibit 13, Cancer
     3   points that you're making in Section 5 of your      3       Prevention Coalition Citizen Petition
     4   report are not dependant on whether or not          4       Seeking Carcinogenic Labeling on all
     5   there's asbestos in Johnson & Johnson talc,         5       Cosmetic Talc Products, dated November 17,
     6   correct?                                            6       1994, was marked for identification.)
     7           MS. O'DELL: Object to the form.             7   BY MR. EWALD:
     8           THE WITNESS: I -- I would have to           8       Q. Go ahead, Doctor.
     9      go back. I mean, the epidemiology                9       A. Yeah. So here is -- FDA didn't --
    10      independently raises questions, such as         10   I mean, we can all -- I don't want to be
    11      how the epidemiology negates your ability       11   critical of my former agency. But if you look
    12      to substantiate the safety in my view.          12   at Steven Musser's response, Dr. Musser's
    13           You can't say this product -- I            13   response, I mean, the growing body of evidence
    14      mean, in light of that epidemiology and         14   to support a possible association between
    15      the totality of that evidence, right,           15   genital talc exposure and serious -- serous
    16      you've not -- you've not cleared this           16   ovarian cancer is difficult to dismiss. The
    17      product. You can't say this product --          17   evidence is insufficient for FDA to require as
    18      you can't assure the safety of this             18   definitive a warning as you are seeking.
    19      product in light of that epidemiology.          19            That is a standard that FDA is
    20   BY MR. EWALD:                                      20   using. This -- so they are -- they are adding
    21      Q. And you're saying --                         21   the -- they are responding to the petition
    22      A. That's what Section 5 says.                  22   asking for a warning that was definitive.
    23      Q. And you're saying that the 2014 FDA          23   Okay. FDA say -- said it could not do that.
    24   response relied on the wrong standard; they        24            FDA did not respond to the question
    25   screwed up?                                        25   of whether J&J ever substantiated the safety of
                                                                                         52 (Pages 202 - 205)
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                                                 Page 206                                                 Page 208
     1   the product. And there's no need -- if -- if        1   can't even remember what --
     2   FDA believes what your company said for             2       A. So go to -- go to paragraph 144.
     3   50 years that there's no asbestos in their,         3       Q. No. Hold on.
     4   right, we can discuss the role of fibrous talc.     4       A. I'm sorry. Yeah. I thought you --
     5   Leave that aside for the moment. But FDA's          5   I thought were asking.
     6   basically reassured for 50 years that there is      6       Q. No.
     7   not a significant risk here because you don't       7       A. I was trying to be helpful. You
     8   have asbestos in it.                                8   said -- I'm sorry, sir. I apologize.
     9       Q. So you keep going back to asbestos.          9       Q. So I just want to note here you
    10            And I'm asking you in your                10   talked about the couple of sentences in this
    11   Section 5 of your report talking about             11   2014 paragraph that 2014 response from FDA does
    12   epidemiology, you agree with me that does not      12   also note that we are committed to the
    13   have anything to do with whether or not there      13   protection of the public health and share your
    14   is asbestos in J&J talc products, correct?         14   risk -- share your interest in reducing the
    15            MS. O'DELL: Object to the form.           15   risk of ovarian cancer.
    16            You may answer.                           16            Current regulations state that
    17            THE WITNESS: Yeah. No. I                  17   cosmetic products shall bear a warning
    18       apologize.                                     18   statement whenever necessary or appropriate to
    19            So I thought you took me out of           19   prevent a health hazard that may be associated
    20       direction. I thought we did five, and          20   with a product.
    21       then you took me outside of five, right,       21            Do you agree that at the time in
    22       to -- with regard to the questioning,          22   2014, this was an accurate statement of at
    23       right?                                         23   least one of the regulations that could apply
    24   BY MR. EWALD:                                      24   to the warning statement on the cosmetic
    25       Q. Right.                                      25   product?
                                                 Page 207                                                 Page 209
     1        A. So you are right. Five just says            1       A. I'd have to go back and just --
     2   in light of the -- in light of the                  2   you'd have to give me a couple of minutes to
     3   epidemiology, there are serious questions that      3   compare that to the statute. You know, again,
     4   question the safety of this product. You            4   there's -- as you just correctly said, there is
     5   can't -- you've not assured the safety of the       5   this other sort of arcane requirement when you
     6   product. That's all I say in five, right.           6   don't substantiate, you have to say your
     7        Q. But --                                      7   product is un- -- safety has not been
     8        A. But the bigger question here -- I           8   substantiated. And that's what FDA is missing
     9   mean, again -- I'm sorry. Let me stop there,        9   here.
    10   sir.                                               10            So this is only part of this --
    11        Q. It's all right.                            11   part of the regulations as you eluded to in
    12        A. So the bigger question, right,             12   your question.
    13   is -- I mean, why is FDA -- you know, I mean,      13       Q. Okay. But do you agree that the
    14   is what we've been talking about, which is that    14   FDA --
    15   the risk of the product, I mean, is -- the         15       A. I -- I --
    16   major risk of this product is -- that FDA's        16       Q. I'm sorry. The FDA accurately
    17   concerned about is whether asbestos -- there's     17   stated some -- at least one -- one requirements
    18   no asbestos. There's no risk. That's an            18   in this letter and understood it?
    19   overstatement because there's fibrous talc, and    19       A. I'd have to go -- we'd have to --
    20   we have to consider that.                          20   you'd have to put up the statute and the regs
    21            But the reason FDA's been in its          21   for me to opine on that officially on what the
    22   seat for 50 years, right, is that there's no --    22   actual standard.
    23   you've been saying there's no asbestos in it,      23            I -- whenever necessary or
    24   and it believed you.                               24   appropriate to prevent a health hazard, we just
    25        Q. So in this 2014 response -- and I          25   have to look at the statute. If that
                                                                                          53 (Pages 206 - 209)
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                                                Page 210                                              Page 212
     1   matches -- if those words are exactly out of     1   citizens' petitions from Cancer Prevention
     2   the statute, then that's fine. I just -- I       2   Coalition, one dated November 17th, 1994, and
     3   don't have that committed to memory.             3   the other dated May 13th, 2008, right?
     4       Q. That's fine. After the publication        4       A. Yes, sir.
     5   of this response 2014, at any point in time did  5       Q. And in your report you state on two
     6   you communicate to anyone past or present at     6   occasions, in particular on page 59,
     7   FDA that felt like they misunderstood the        7   Footnote 55, that --
     8   standard?                                        8       A. Well, hold -- hold on. Let me get
     9       A. Did I communicate to anyone since         9   there. I apologize. Let me just get there.
    10   when -- since what -- since when?               10       Q. Sure.
    11       Q. Since the issuance of this letter        11       A. Thank you very much. 59,
    12   on April 1st, 2014.                             12   footnote --
    13       A. Well, I'm not aware of this letter       13       Q. 55.
    14   in 2014, I don't believe, okay. I'm not         14       A. Yes, sir. I'm there.
    15   involved.                                       15       Q. Okay. You state, "As I stated
    16       Q. Have you seen this letter before?        16   above, based on my recollection, I was not
    17       A. Have I seen it before?                   17   personally and substantially involved in talc
    18       Q. I thought you quoted it in your          18   matters while commissioner. There were certain
    19   report.                                         19   letters that were addressed to the commissioner
    20       A. I'm not -- I'm sorry. Maybe I'm          20   during that time period concerning talc."
    21   missing.                                        21            Did I read that correctly?
    22            What I simply was saying, I'm          22       A. Yes, sir.
    23   certainly aware of the FDA's response, okay, in 23       Q. Okay. And what, if anything, do
    24   2014. I'm not aware that I was aware of it on 24     you remember about the 1994 citizen petition
    25   April 1st when it came out. I wasn't at the     25   letter relating to talc?
                                                Page 211                                              Page 213
     1   agency, and I wasn't involved in this matter.   1        A. I remember nothing. I have no
     2            I certainly became aware of this in    2    recollection about this while I was at FDA. I
     3   my studying, in my involvement of this matter. 3     mean, I have no recollection about this issue
     4            Do you understand?                     4    either now or then arising during the FDA. I
     5            But I wasn't necessarily aware of      5    don't have any recollection.
     6   this in 2014.                                   6        Q. And so --
     7            Does that answer your question?        7        A. I went back and checked my book and
     8       Q. So am I understanding that you           8    my years at FDA. I didn't see anything. I
     9   weren't aware of this ruling until you started  9    believe -- and I -- and I looked at the
    10   working as an expert in this case, 2016?       10    database to see if I was involved in any
    11       A. I -- I don't know exactly when I        11    matters.
    12   knew that Sam Epstein's petition was turned    12            I was involved in cosmetic matters,
    13   down. I do not recall the date of that.        13    but not involved in talc as I -- as I can
    14            MR. O'DELL: Hey, you guys, the        14    recollect.
    15       eclipse is happening now, I think.         15        Q. Okay. And just so the record's
    16            Can we take a short break?            16    clear, when you say you were not involved in
    17            MR. EWALD: Sure.                      17    talc during your tenure as commissioner of the
    18            (Whereupon, a break was taken.)       18    FDA, you're not just specifically talking about
    19   BY MR. EWALD:                                  19    the 1994 citizen's petition; you are referring
    20       Q. Okay. Doctor, when we left off, we      20    to any issues related to talc whatsoever?
    21   were talking about what we had marked as       21        A. I have no recollection of any
    22   Exhibit 13, which is the FDA response to       22    issues pertaining to talc.
    23   citizens' petitions related to talc.           23            Now saying that, you know, if you
    24            And you're aware, am I correct,       24    go to the national archives and we FOI it,
    25   that this 2014 letter is in response to two    25    you're going to see my name on that letter.
                                                                                       54 (Pages 210 - 213)
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                                                  Page 214                                                Page 216
     1   I'm aware of that. I mean, that came in, or     1        usually got referred. It -- it was a long rich
     2   there may have been other correspondence.       2        history of citizens' petitions. I mean,
     3            But I don't remember being involved    3        tobacco got started. I mean, I got involved.
     4   at all in any matters. That doesn't mean my     4        There was a 1988 citizen's petition on tobacco
     5   memory's perfect.                               5        that got submitted that I picked up in 1992.
     6       Q. Understood. You referred to your         6                But for the most part, the
     7   book.                                           7        citizens' petitions will be dealt with by the
     8            Just what book are you referring       8        substantive center for which that petition will
     9   to?                                             9        be submitted with the subject matter. It will
    10       A. So I -- I did a book called "A          10        be dealt with by the center and those experts
    11   Question of Intent." It was really --          11        within the center that have, you know,
    12   primarily it was about my FDA term and         12        expertise on that matter.
    13   primarily about tobacco.                       13                And the administrative structure
    14       Q. And you indicated that you went         14        around that center -- obviously, they can come
    15   back and looked at that to see if there was -- 15        to the commissioner and ask for help; or there
    16       A. I --                                    16        are times when a matter, such as tobacco, I
    17       Q. -- any mention of any talc?             17        mean, is in very significant public view where,
    18       A. I believe I did. I've got to            18        you know, I mean, I involve myself, okay, in
    19   double check, but I don't believe there's      19        that matter.
    20   anything about talc in that book. If there     20            Q. All right. And so when this
    21   were -- and it deals with most of the issues   21        citizen's petition came in and in 1994 to FDA
    22   that I dealt with while I was FDA commissioner.22        from the Cancer Prevention Coalition, what
    23       Q. And you said you also searched the      23        would be the substantive center that would be
    24   discovery MDL database?                        24        directed to you?
    25       A. I just put my name in because I         25            A. It would -- it would be exec sec.
                                                  Page 215                                                Page 217
     1   wanted to know whether my recollection was           1   It was an exec -- executive organization within
     2   correct, right, whether I -- you know, was I         2   the commissioner's office. And it would be
     3   involved.                                            3   assigned there, and it would go down to sift
     4           I have -- you know, I didn't see             4   sand; and then it would go to the cosmetic
     5   with regard to talc -- again, cosmetic issues,       5   branch within sift sand.
     6   my name came back on a number of cosmetic            6       Q. And is there any process while you
     7   issues that I remember that I allude to in this      7   were at FDA in getting commissioner sign-off
     8   report, not on talc.                                 8   for responding to a citizen's petition?
     9       Q. What -- well, am I correct that you           9       A. Not that I'm -- not that I'm aware
    10   were commissioner of the FDA from 1990 to 1997,     10   of. That is a delegated authority, and it
    11   correct?                                            11   would be done by the substantive center unless
    12       A. You know, not the entire 1990 to             12   -- unless the center asked for assistance or
    13   1997; but yes, you're correct.                      13   the commissioner were involved.
    14       Q. Okay. And during that period of              14       Q. Do you recall who would have been
    15   time, what was the typical procedure in your        15   the individual who ultimately had that
    16   office if a citizen's petition came in on topic     16   delegated authority at FDA when the citizen's
    17   addressed to you?                                   17   petition came in in November 1994?
    18       A. There were -- I mean, I think I              18       A. So again, if you have the
    19   once, in another matter, compiled all the           19   response -- I mean, you note that the response
    20   citizens' petitions. I mean, I think if my          20   was not until 2014 or 1994, so it's a 20-year
    21   recollection -- I'd have to go back. There was      21   history.
    22   no shortage of citizens' petitions. You're          22           But my guess is what you will see,
    23   dealing in quite a large number of citizens'        23   for example, on the '88 response, there was a
    24   petitions that were -- that were filed, right.      24   response to a citizen's petition. On the last
    25           And, you know, citizens' petitions          25   page of that response, if you have an FDA
                                                                                           55 (Pages 214 - 217)
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                                                Page 218                                                  Page 220
     1   internal copy, you will see all these codes,       1   to that process when you came along as
     2   right.                                             2   commissioner in 1990?
     3            So I mean, I'm happy to bring it          3       A. No. In fact, if anything, there
     4   up.                                                4   were -- there was a huge backlog on citizens'
     5            THE WITNESS: Do you have the '88          5   petitions. I mean, there were petitions that
     6       petition?                                      6   were held over from the '80s that I was dealing
     7            I can just use that.                      7   with still that had never gotten answered.
     8            You will see all these codes there        8           And as you can see, the 1994
     9       of different people who are involved in        9   petition got answered in 2014.
    10       the sign-off. So let me just pull that --     10       Q. So do you have any knowledge at all
    11   BY MR. EWALD:                                     11   how FDA was responding, if at all, to the 1994
    12       Q. I'm sorry. I want to make sure             12   citizens' petitions while you were commissioner
    13   we're on the same page.                           13   through some point in 1997?
    14            You're talking about the calculated      14       A. No. I -- as I said, I've had no --
    15   one in '86?                                       15   I have no recollection of this issue whatsoever
    16       A. Yeah. What was -- what was the             16   during that time period.
    17   response?                                         17       Q. The footnote that I read a few
    18            What year was the response? The          18   moments ago on page 59 says that there were
    19   response was '86?                                 19   certain letters that were addressed to the
    20       Q. It was '86, I believe. I might be          20   commissioner during that time period concerning
    21   wrong, but --                                     21   talc.
    22       A. The one by Dick Swanson.                   22           I'm specifically looking at the
    23            When did Dick Swanson respond?           23   plural "letters."
    24       Q. I believe '86.                             24           Are you aware of any letters other
    25       A. So you're right. I am -- it's '86.         25   than the 1994 citizen's petition from Cancer
                                                Page 219                                                  Page 221
     1   So if you go, for example, to page 4 of that,    1     Prevention Society relating to talc?
     2   right.                                           2        A. You know, you're right. That could
     3       Q. Hold on. Is that the page?                3     be an error. That could be accurate. I'd have
     4       A. Yeah. So just as an example, so           4     to go back and check the database. I mean, it
     5   leave aside the cc's because that's where        5     would be in your discovery database. You can
     6   copies went, right; and those are where it got   6     just --
     7   filed, but you can see who prepared it, who      7             I mean, as we sit here right now,
     8   initialed it and where it was circled, right.    8     the only one that I can visualize -- and I
     9           So I'm blocking. Commissioner            9     mean, now from my studying this, not when the
    10   Frank -- what was Frank's last name? I'm        10     time it came in -- more recently that was the
    11   blocking. I don't see the commissioner's name 11       Sam Epstein that was addressed to me.
    12   here as having signed off on this, for example. 12        Q. All right. So let's mark as
    13           Most of these are either -- John        13     Exhibit 14, the 1994 letter. I will drop it in
    14   Taylor was regulatory affairs. Gary Flamm was 14       the chat. Just give me a second.
    15   mostly -- Bob Lake -- this as all sift sand     15             MR. EWALD: I've got this one,
    16   directed people. Derfler was general counsel, 16          Jake.
    17   right. Linda Horton was general counsel,        17             (Whereupon, Exhibit 14, Letter
    18   right.                                          18        dated November 17, 1994, with enclosure of
    19           So this is general counsel, and the     19        Citizen Petition Seeking Carcinogenic
    20   center responded, with John Taylor at           20        Labeling on all Cosmetic Tale Products,
    21   regulatory affairs also taking the lead.        21        was marked for identification.)
    22           So that would give you a sense.         22             THE WITNESS: Can we get these
    23   That was the process in '86.                    23        other screens going?
    24       Q. Okay. And did -- are you aware of        24             I'm afraid to touch anything.
    25   any change -- well, are you aware of any change 25             MS. O'DELL: John, I'm just going
                                                                                          56 (Pages 218 - 221)
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                                                Page 222                                                Page 224
     1       to adjust something for a minute here, so      1   put on to a docket; yes, sir.
     2       keep putting it in the chat.                   2       Q. Okay. And it states, among other
     3            THE WITNESS: Yeah. I've lost              3   things, that this citizen's petition is based
     4       those other monitors.                          4   on scientific papers dating back to the 1960s,
     5            Does anyone have an iPad that I can       5   which warned of increased cancer rates
     6       kindly pull up with the documents?             6   resulting from frequent exposure to cosmetica
     7            I've lost my two other monitors for       7   grade talc.
     8       the moment.                                    8            That's what it says right?
     9            So, Mr. Ewald, I'm going to borrow        9       A. Right.
    10       someone else's iPad so I can look at this     10       Q. And then if we scroll down in the
    11       document so I don't take you off the          11   formal -- formal part of the petition, it
    12       screen.                                       12   states that research done as early as 1961 has
    13   BY MR. EWALD:                                     13   shown that particles similar to talc and
    14       Q. Sure.                                      14   asbestos particles can translocate from the
    15       A. Thank you, sir.                            15   exterior genital area to the ovaries in women.
    16            Let me -- I'm happy if you could         16            Do you see that?
    17   try to do this without my flashing on the         17       A. I do.
    18   screen, let's -- not to hold you up I'm           18       Q. "These findings provide support to
    19   happy --                                          19   the unexpected high rate of mortality from
    20            MR. EWALD: There's two ways to do        20   ovarian cancer in female asbestos workers.
    21       it. We can try going forward with that,       21   Minute particles such as talc are able to
    22       or we also can go off the record. I just      22   translocate through the female reproductive
    23       don't want my time going into the             23   tract and cause foreign body reactions in the
    24       difficulties. I'm not saying suggesting       24   ovaries."
    25       you want that either. I'm just saying         25            Did I read that correctly?
                                                Page 223                                                Page 225
     1       it's up to you guys.                        1          A. You did.
     2             MS. O'DELL: We've got it right        2          Q. And then it goes on to say, "There
     3       here. So just give us a second.             3      is a large body of scientific evidence dating
     4             MR. EWALD: Okay.                      4      back 30 years on the toxicity and mineralogy of
     5             MS. O'DELL: Sorry. I don't know       5      cosmetic talc products. As early as 1968,
     6       what happened to our screen.                6      Cralley, et al., concluded"; and there's an
     7             (Discussion held off the record.)     7      entry there from Cralley.
     8             THE WITNESS: Okay. Okay. I'm          8               And am I correct that you cite to
     9       back.                                       9      the Cralley article a couple of times in your
    10             MS. O'DELL: It's opening now,        10      report?
    11       John.                                      11          A. I think that's correct.
    12             MR. EWALD: Leigh, let's go off the   12          Q. And then it also cites to a paper
    13       record.                                    13      from Rohl examining 21 samples of consumer
    14             (Whereupon, a break was taken.)      14      talcums and powders --
    15   BY MR. EWALD:                                  15          A. Right.
    16       Q. So I marked before the cutoff as        16          Q. -- which 1971 to 1975.
    17   Exhibit 14 the 1994 citizen's petition. I'll   17               Is that an article you're familiar
    18   pull it up on the screen.                      18      with?
    19       A. I have it, sir.                         19          A. Yep.
    20       Q. Great. And so for the record, this      20          Q. Okay. And then it continues on
    21   is from Cancer Prevention -- Cancer Prevention 21      with discussion of the epidemiology, including
    22   Coalition, dated November 17th, 1994; and it's 22      the Cramer 1982 study, correct?
    23   directed to Commissioner Kessler, correct?     23          A. Let's see where you are, what page.
    24       A. It comes in as to the dockets           24      You're at Harlow on 4.
    25   manager in brand, so it's specific -- it gets  25          Q. Right.
                                                                                         57 (Pages 222 - 225)
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                                                  Page 226                                                Page 228
     1       A. Cramer is cited in Number 17              1       supported -- at this time that would support a
     2   footnote.                                        2       warning that the safety has not been
     3       Q. Right. In your view is the                3       substantiated.
     4   evidence that's presented in the citizen's       4                That's your question?
     5   petition sufficient to show that there may       5           Q. That's one of my questions. Let's
     6   be -- that a warning label should have gone on   6       start with that one.
     7   talcum powder products as of 1994?               7           A. Feel free to ask any question you
     8       A. Let me understand your question.          8       want. I don't want --
     9   You're asking whether the statement -- does it   9           Q. I said that's one of my questions,
    10   support the evidence that talcum powder causes 10        so that's the question I'm asking first.
    11   cancer in laboratory animals. Frequent talc     11           A. So I believe that if you ask that
    12   application in the female genital increases the 12       question -- and again, I'd have to -- I don't
    13   risk of ovarian cancer. So you're asking for a 13        want to -- I would want to go back and look
    14   causation standard in laboratory animals where 14        exactly what is cited in this letter, right.
    15   the evidence --                                 15       I'd want to make a list of what is cited in
    16       Q. No.                                      16       this letter.
    17       A. -- supports that? I'm sorry.             17                But what I can tell you is that as
    18       Q. No. I'm sorry. And I -- it may           18       of 1994, certainly this is the -- the -- the
    19   well -- the problem may be on my end.           19       safety of the product was not substantiated and
    20           I'm asking you, from the standards      20       would require a warning that it's not
    21   that you are citing, the regulatory standards   21       substantiated.
    22   from the FDCA and CFR that you quote in your 22                   It's a little arcane FDA
    23   report relating to warning and substantiate     23       requirement in the act. It's a -- in essence,
    24   safety, does the evidence that's presented in   24       no one's going to want to put that statement
    25   this 1994 citizen's petition directed to you,   25       on. You're going to pull the product. I mean,
                                                  Page 227                                                Page 229
     1   in your mind, require a warning on talcum            1   that's the essence; but Congress, you know,
     2   powder products?                                     2   gets to set the standard, and they say if you
     3       A. I'm confused because there's a                3   don't substantiate, you have to say you don't
     4   specific warning that it is requested that is        4   substantiate. Maybe a few people have done
     5   the subject of this. You're asking me whether        5   that. But that's -- you know, it's just
     6   it's -- whether there's a different warning --       6   basically, you don't put a product on if you
     7       Q. Yes.                                          7   can't substantiate its safety.
     8       A. -- that would be substantiated.               8            But there's no doubt by 1994 -- and
     9       Q. Yes. I'm saying don't worry about             9   even we talked about in 1970 -- the product
    10   the specific warning that's asked. I'm asking       10   safety was not assured; and therefore, you have
    11   you on the evidence that's presented in this        11   to, with the evidence that was in place and
    12   1994 letter directed to you, understanding that     12   certainly in the '70s, '80s, and '90s.
    13   it didn't go directly to you, but it's directed     13            Once you know, okay, once you --
    14   to you, whether or not the evidence presented       14   once you know that asbestos is in this product,
    15   there is sufficient --                              15   it becomes a slam-dunk, right, that not only
    16       A. Yeah.                                        16   should there be a warning, the product
    17       Q. -- to require a warning under the            17   shouldn't be sold.
    18   rules and regulations that you cite in your         18            So by 1994 this product should --
    19   report.                                             19   once you recognize there's asbestos in this
    20       A. So just to be clear on what warning          20   product, okay, and you can't assure that
    21   we're talking about that I am saying -- that we     21   asbestos is not in this product, this product
    22   are -- whether we are talking about the safety      22   shouldn't be sold. 1994, 1970.
    23   of the product has not been substantiated, that     23       Q. Okay.
    24   would be the warning.                               24       A. That's not what FDA is focused on
    25            Is there evidence in this that             25   because FDA is focused on whether the petition
                                                                                           58 (Pages 226 - 229)
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     1   makes the support for the petitioner's --        1          A. Absolutely. And I -- and I
     2   petitioner's request, right. That's what FDA     2      appreciate your hypothetical, right. I
     3   is paying attention to.                          3      think -- I have no doubt in my mind, once you
     4            And in the background of this, I        4      understand that asbestos is in talc, right, you
     5   mean, certainly, we knew through the late '80s 5        have a duty, one, not to -- I mean, the product
     6   we have evidence that FDA really thought that 6         becomes adulterated. And if you are so
     7   there wasn't -- there was no asbestos in this    7      misguided you continue to sell it, right -- I
     8   stuff. You -- the -- J&J, in essence,            8      mean, why would you want to sell an adulterated
     9   convinced the agency that there's no asbestos    9      product? So that's the first step here.
    10   in this. They bought -- they bought that.       10               Now, so -- so you want to sell an
    11       Q. So we talked about the warning and       11      adulterated product, but you're going to -- of
    12   safety of this product has not been determined. 12      course you would have to put that label on it,
    13            What about the requirement that you    13      but that doesn't get you out of the
    14   talk about in your report that the cosmetics    14      adulteration.
    15   label shall bear a warning statement whenever 15                 Once your -- once there's asbestos
    16   necessary or appropriate to prevent a health    16      in this product, it's over, as your company has
    17   hazard that may be associated with the product? 17      finally recognized by pulling the product.
    18            Is it your view based on the           18               You don't -- in 2019 you didn't put
    19   evidence that is described in this citizen's    19      a label on it, oh, FDA found asbestos. You
    20   petition letter of 1994 directed to you that it 20      pulled the product. That's what you would do.
    21   is sufficient to require a warning statement    21               A hypothetical, you know, again, I
    22   because it needs to prevent a health hazard     22      mean, it's an interesting -- you can talk about
    23   that may be associated with the product?        23      a legal standard, but the core responsibility
    24       A. Could you just show me the               24      is not to sell an adulterated product; and you
    25   paragraph --                                    25      don't sell products that have asbestos in it,
                                                 Page 231                                                  Page 233
     1            THE WITNESS: I'm sorry, Counsel.           1   and it had asbestos in it.
     2            MS. O'DELL: That is my question.           2       Q. Doctor, I'm not talking about 2019
     3       Yes.                                            3   right now. I'm not talking 2024.
     4            THE WITNESS: Paragraph 31.                 4            I'm asking you, hypothetically, the
     5            MS. O'DELL: Could you repeat your          5   evidence that is contained in this citizen's
     6       question, please, John?                         6   petition from 1994 directed to you, in your
     7            MR. EWALD: Sure.                           7   mind, is it sufficient to require a warning at
     8   BY MR. EWALD:                                       8   that time that talc products implicates
     9       Q. My question is: Based on the                 9   21 CFR 740.10, there should a warning statement
    10   evidence that is cited in this 1994 citizen's      10   whenever necessary appropriated to prevent a
    11   petition letter directed to Dr. Kessler, is it     11   health hazard that may be associated with a
    12   sufficient, in your mind, to require a label on    12   product. That's my question.
    13   talc products that contains a warning statement    13            MS. O'DELL: Object to the form.
    14   to prevent a health hazard that may be             14            THE WITNESS: And the point of
    15   associated with the product?                       15       clarification that I would need to know
    16       A. Are you -- I'm not -- are you               16       from you in your hypothetical is, is
    17   saying that I made that as one of my opinions      17       asbestos in your product in your
    18   in this report?                                    18       hypothetical.
    19            Are you asking a --                       19   BY MR. EWALD:
    20       Q. No. I'm asking you a hypothetical.          20       Q. I -- I am -- the only hypothetical
    21       A. So you're asking me to go beyond my         21   part about it is you making the decision on it.
    22   report and what's my opinion?                      22            I want you to assume that this
    23       Q. I'm asking a hypothetical, which            23   state of knowledge at the FDA and publicly is
    24   is, as you know, it's been done for a long         24   the same as it actually historically was and is
    25   time. It's perfect for expert witnesses.           25   reflected in this document.

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                                              Page 234                                                  Page 236
     1         MS. O'DELL: Object to the form.            1      1970s. It got the testing results. The
     2    Incomplete hypothetical.                        2      industry walked in -- J&J walked in and
     3         You may answer it anyway you'd             3      said, no problem, we've got this under
     4    like, Doctor.                                   4      control; we have a testing method.
     5         MR. EWALD: Well, he can't answer           5            That statement's repeated in the
     6    any --                                          6      literature for decades. FDA believes
     7         THE WITNESS: I'm happy --                  7      that. That's why your getting these --
     8         MR. EWALD: He has --                       8      FDA's responding like this. You know,
     9         THE WITNESS: I -- I'm happy to --          9      level with the agency. There's asbestos
    10         MR. EWALD: He has to answer it            10      in it. This is over.
    11    truthfully.                                    11   BY MR. EWALD:
    12 BY MR. EWALD:                                     12      Q. So we'll get to the agency's
    13    Q. You have to answer it truthfully,           13   response and what happened in 1970s, but you
    14 but go ahead.                                     14   keep on avoiding my question.
    15         MS. O'DELL: So that's not the             15            I want you to leave your
    16    question, John. The question is you're         16   asbestos -- is your opinion that if there's no
    17    directing a certain response from              17   asbestos, then there's no problem?
    18    Dr. Kessler, and my instruction to him was     18            MS. O'DELL: Object to the form.
    19    he may answer in any way he feels              19            THE WITNESS: No. No, I didn't say
    20    appropriate. He doesn't have to comply         20      that. And as --
    21    with your request, but he we object to the     21   BY MR. EWALD:
    22    form of the question.                          22      Q. Okay.
    23         THE WITNESS: In 1994, to answer           23      A. I mean, I think that whenever
    24    the question this way, if I were -- if I       24   there's fibers -- mineralogical fibers that
    25    were -- if I knew as commissioner, right,      25   have biological activity, there's an issue.
                                              Page 235                                                  Page 237
     1     that talc had asbestos, if J&J walked in    1      I'm just saying let's leave that issue aside
     2     and told me that, right, that product       2      for the moment, right.
     3     would be off the market.                    3               This really depends on this last
     4          So I didn't know in 1994 that talc     4      50-year history is -- you know, FDA believing
     5     contained asbestos. Okay. We know in        5      there's no asbestos in this.
     6     1988, if you look at the documents, right,  6          Q. And what do you -- and you keep
     7     that we see that FDA believes that the      7      saying that. But what -- well, let's break
     8     1976 testing J4-1 testing requirements      8      that down.
     9     dealt with the issue and assured the        9               From your time period, which you
    10     public there was no asbestos, right.       10      have the, you know, most personal knowledge
    11          If there's asbestos in this product   11      presumably, from 1990 to 1997, your testimony's
    12     and I were commissioner, there would be -- 12      been you have no idea that it was even possible
    13     we're not talking about a warning -- the   13      that there could be asbestos in talc, right?
    14     product's not being sold.                  14          A. Possible, and I don't -- I don't
    15          And I mean, I'm sure your             15      know whether I had that. I certainly did not
    16     company -- I mean, your company would not 16       connect -- I did not connect that there was
    17     have fought me on that. I mean, any        17      asbestos in talc. That was not part of my --
    18     commissioner gets up, there's asbestos in  18      my universe.
    19     this product. It shouldn't be sold. I      19          Q. Okay. And so when it's responded
    20     mean, that's a given.                      20      in 2014, you're intimating some under the
    21          The central question is when --       21      intent from the FDA about it being due to the
    22     when does FDA know that and is convinced 22        fact that they thought there was no asbestos;
    23     there's asbestos in this product. It had   23      yet, you didn't even know it was -- got issued
    24     a great deal of suspicion and evidence     24      at the time was your prior testimony, correct.
    25     that there was some problem in the early   25               MS. O'DELL: Object to --

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                                                 Page 238                                               Page 240
     1            THE WITNESS: I'm out of the --             1            MR. EWALD: And this is "Talc:
     2            MS. O'DELL: -- object to the form.         2       Consumer Uses and Health Perspectives."
     3            THE WITNESS: I'm out of the                3       We'll make this Exhibit 15. It's dated
     4       agency. I don't have a duty. I mean, I'm        4       October 1, 1994. It's cosponsored by the
     5       not running the agency in 2014, so I'm not      5       International Society of Regulatory
     6       sure I understand your question.                6       Toxicology & Pharmacology and the United
     7            You look at the record --                  7       States Food and Drug Administration.
     8   BY MR. EWALD:                                       8            (Whereupon, Exhibit 15, Document
     9       Q. Let me --                                    9       entitled, "Talc: Consumer Uses and Health
    10       A. Let me finish the answer to my              10       Perspectives," dated October 1, 1994,
    11   question, please.                                  11       cosponsored by the International Society
    12       Q. Okay.                                       12       of Regulatory Toxicology & Pharmacology
    13       A. If you look at the record, what we          13       and the United States Food and Drug
    14   do have, okay, is in 1988 in the response; and     14       Administration, was marked for
    15   if you look at the record in 1988, right, FDA      15       identification.)
    16   believes -- just look at the -- just look at       16   BY MR. EWALD:
    17   the -- I mean, even just --                        17       Q. And then you see, Doctor, on the
    18       Q. I'm looking at it. It's '86,                18   first two pages, you have a list of
    19   though, right?                                     19   participants, correct?
    20       A. It's '86. I'm sorry. You're                 20       A. Yep.
    21   right, Mr. Ewald. Thanks for the correction.       21       Q. And the list of participants
    22   I appreciate it. You're absolutely right. I        22   include a number of folks from FDA, correct?
    23   stand corrected.                                   23       A. Yep.
    24            In that '86 letter, you look at           24       Q. Including in that is someone from
    25   what Swanson says, right, it's that the            25   your office, correct?
                                                 Page 239                                               Page 241
     1   industry put into -- put in J4-1 and that        1          A. I think Merkatz is listed.
     2   assures the public that the risk is minimized.   2          Q. I see Carol Schmenan?
     3   That was not the case.                           3          A. Carol Schmenan, yeah.
     4            And you see that that -- the            4          Q. It says Carol Schmenan, U.S. Food &
     5   support that there is not asbestos in the        5      Drug Administration Commissioner's Office,
     6   product, right, is -- I mean, in that record to  6      right.
     7   that response. So again, it's all based on the   7          A. Right.
     8   fact that you fixed the problem with J4-1, and   8          Q. Do you remember Carol?
     9   you didn't.                                      9          A. Yes. She was there, yep.
    10       Q. All right. Doctor, are you               10               Sorry?
    11   familiar with a symposium held in October 1994 11           Q. Do you remember Carol?
    12   that was cosponsored by the FDA related to      12          A. Yes.
    13   talc?                                           13          Q. Do you think highly of Carol.
    14       A. A workshop?                              14          A. Very much so. Great public
    15       Q. Yes.                                     15      servant.
    16       A. And I have my workshop notes, yes. 16                Q. So the executive summary -- this
    17   I have gone back and studied that, yes, sir.    17      is, by the way, published in the Regulatory
    18       Q. Okay. And so I take it from your         18      Toxicology and Pharmacology in 1995 and talks
    19   earlier testimony that you have no recollection 19      about: "This issue of the journal is largely
    20   whatsoever of having any involvement with that 20       dedicated to report on a January 31-February 1,
    21   workshop and any statements about that?         21      1994, workshop on talc organized in a joint
    22       A. I have no recollection of that           22      sponsorship of the U.S. Food & Drug
    23   workshop taking place during the time I'm at    23      Administration; the Cosmetics, Toiletries, and
    24   commissioner. I have studied that since then. 24        Fragrances Association (CTFA); and the
    25       Q. Okay.                                    25      International Society of Regulatory Toxicology
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                                                   Page 242                                                Page 244
     1   and Pharmacology (ISRTP). Although not all       1        document that's -- I'll give you the Bates
     2   papers given at the meeting were made available 2         number. It's a J&J document. It's minutes,
     3   for publication, this offers a general overview  3        talc-interested party, shows how that was
     4   of the substance of the presentations and        4        written, right, by the industry, paid for by
     5   discussions."                                    5        the industry.
     6            And after discussing some aspects,      6                 And when you go through -- and I
     7   it talks about Dr. Gilbertson.                   7        did this because I was interested, and I give
     8            Are you familiar with                   8        it to you. I mean, I just quickly tried to
     9   Dr. Gilbertson?                                  9        compare what was done in the transcript of that
    10       A. I know the name, certainly, yes.         10        meeting to what was in that article, and they
    11       Q. Okay. Do you have any -- what            11        don't match.
    12   is -- what is your recollection of what kind of 12                 In fact, if you look at the
    13   public servant Dr. Gilbertson was?              13        conclusion of that article, it says there was a
    14       A. I -- I'm -- I'm trying to place          14        conclusion made. In fact, there was no
    15   him. I'm drawing a blank for the moment. I'm 15           conclusion made. There was some independent
    16   sure he was a dedicated public servant.         16        statements. And if you look at individual --
    17       Q. And so it says here in these             17        how that article was -- what that article
    18   minutes that Dr. Gilbertson FDA reviewed the 18           alleges that certain people say, that's not
    19   harmonization of international standards and    19        what their testimony said.
    20   regulations for cosmetic talc in its consumer   20                 So there is a major problem with
    21   application. In their joint evaluation, talc    21        that article, and you should just be aware of
    22   has proven to be among the safest of all        22        that.
    23   consumer products."                             23            Q. Okay. And just so the record's
    24            That's what is relayed, right?         24        clear, you say what was the fact and what was
    25       A. Yeah. That's what's written there,       25        not.
                                                   Page 243                                                Page 245
     1   sir.                                                  1            You were not at the meeting, right?
     2       Q. Okay. All right. Now let's look                2            You have no recollection of ever
     3   at --                                                 3   hearing about that meeting, correct?
     4       A. Are you implying -- I just want to             4       A. That's correct. But what you do
     5   make sure --                                          5   have -- I mean, but what I can do right, I
     6       Q. There is no -- there's no question             6   think objectively, is we do -- I have the
     7   pending, Doctor.                                      7   transcript. I've gone through the transcript
     8       A. Okay. So you're not saying that                8   of that meeting and what was said. So while I
     9   Carol Schmenan and Mr. Gilbertson had anything        9   wasn't there, I have the words of everything
    10   to do with that -- that article?                     10   that was said.
    11            I just want to make sure the                11            There was a verbatim transcript of
    12   record's clear.                                      12   every presentation and of every word. That's
    13       Q. Well, are you suggesting that the             13   usual for a workshop like that. That -- that
    14   article misrepresents what was stated at the         14   work- -- that workshop transcript doesn't match
    15   workshop?                                            15   that article. That's a head scratcher.
    16       A. Yes, I am. And, in fact, if you go            16            And then you go -- well, that's
    17   back -- if you go back and look -- and I'm           17   not -- a workshop -- if you look at that
    18   referring you to draft minutes of the talc           18   article, there's a conclusion that basically
    19   interested party task force dated July 25th,         19   was, well, safety is -- I forget what the last
    20   1994, right, of the CTFA, what is striking           20   paragraph exactly says. But that was never --
    21   about that article that you just showed me,          21   that was never the conclusion at the meeting,
    22   right, that that group of industry officials,        22   nor was -- so I go back and I go who paid for
    23   right, decide to pay for an overview.                23   this? Who wrote this?
    24            The FDA is not at that meeting.             24            You just seem to imply that
    25   This article was paid for by the CTFA, and this      25   Gilbertson and Schmenan were part of this.
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                                                 Page 246                                                Page 248
     1   Yeah, they showed up at this meeting; but the       1   the safest of all consumer products."
     2   industry wrote this, and that article does not      2            So my question to you, Doctor, is:
     3   represent what happened at that meeting. Go         3   Do you have any basis at this point in time to
     4   look at the transcript.                             4   tell me that Dr. Gilbertson didn't say what was
     5       Q. Okay. So you are suggesting that             5   reported in his publicly available article?
     6   when the publicly available article's been out      6       A. We can look exactly at the
     7   there since 1995 says what Dr. Gilbertson and       7   transcript. I can tell you there are other
     8   the FDA says, that's just wrong?                    8   statements in that article, right, that were
     9            MS. O'DELL: Object to the form.            9   never made. I can assure of that.
    10            THE WITNESS: I'm saying that I --         10            I can't -- I -- I will go back and
    11       I mean, I can -- if you look, for example,     11   look at that statement. We can -- we can look
    12       okay -- and I'm happy to give you -- just      12   at that statement, but there are the statements
    13       compare what Hartge says with what is          13   and the conclusion of that article is
    14       reported to say. Look at the conclusion.       14   misleading.
    15       Try to find that conclusion in the             15       Q. Okay.
    16       transcript. It doesn't exist.                  16       A. Because it never happened at that
    17   BY MR. EWALD:                                      17   meeting and that -- you just note that on the
    18       Q. Doctor, I have limited time. I              18   record.
    19   just want to be --                                 19       Q. Okay. Let's do --
    20       A. You're going to show me an article,         20            MR. EWALD: Jake, can you -- I'm
    21   sir, and find --                                   21       having trouble pulling up on page 88 of
    22       Q. Wait. The way this works, Doctor,           22       the outline, starts at 17.04.
    23   is your counsel can ask you questions about it,    23            Do you have that?
    24   but you can't go off on your own and --            24            MR. KEESTER: I can look. Hold on.
    25       A. You showed me an article --                 25            MR. EWALD: Jake, find that one,
                                                 Page 247                                                Page 249
     1       Q. Hold on.                                  1     and also find the one on page 9017.007. I
     2       A. You showed me an article -- I'm           2     want to move on to something else.
     3   sorry. Let's not talk over each other.           3          Thank you.
     4            You showed me an article, and you       4 BY MR. EWALD:
     5   implied that Carol Schmenan and Dr. Gilbertson 5       Q. Let's look at -- quickly at the FDA
     6   wrote -- I mean, wrote that article. And what    6 1986 petition.
     7   I'm making sure that the record is clear is      7          Sorry. What?
     8   that article was paid for and written for by     8     A. I asked Margaret if I can just get
     9   the industry and doesn't represent, certainly,   9 my copy of that. I was trying to help you.
    10   the conclusions of what happened at that        10     Q. No worries.
    11   meeting, and that's a problem.                  11     A. I have the copy of the petition,
    12       Q. What I asked you, Doctor, was            12 sir. No. I have the copy of the response. I
    13   whether Carol Schmenan and, amongst others, 13 don't have a copy of the petition, sir.
    14   Dr. Gilbertson were workshop participants at 14        Q. Yeah. I'm just going over the
    15   this workshop; and I read to you what was       15 response, at least right now.
    16   represented in the publicly available published 16     A. Thank you, sir.
    17   article about what Dr. Gilbertson said.         17          MR. EWALD: Okay. We'll mark this
    18       A. You didn't show me -- you did not        18     as exhibit as -- is it -- Suzanne, is this
    19   show me the transcript.                         19     16?
    20       Q. Excuse me. Excuse me. I am still         20          I got distracted.
    21   asking the question. I would ask for you to     21          THE COURT REPORTER: This should be
    22   please wait for my question to be finished.     22     16 according to my notes.
    23       A. Of course.                               23          MR. EWALD: All right. Cool. So
    24       Q. This says, "In their joint               24     this will be the 1986 FDA response to
    25   evaluation, talc has been proven to be among 25        citizen's petition.

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                                                 Page 250                                                  Page 252
     1             (Whereupon, Exhibit 16, The United   1        says -- am I correct -- it contains -- does not
     2       States Food & Drug Administration's        2        contain significant amounts of asbestiform
     3       response to the 1986 citizen's petition,   3        minerals, right?
     4       was marked for identification.)            4            A. That's what it says, but keep on
     5   BY MR. EWALD:                                  5        reading --
     6       Q. All right. And we talked about          6            Q. Right.
     7   this is a couple of times earlier today,       7            A. -- reading.
     8   Doctor.                                        8            Q. "During the early 1970s, FDA became
     9             This is something that you have      9        concerned about the possibility that cosmetic
    10   reviewed at some level?                       10        talc that contains significant amounts of this
    11       A. Yes, sir.                              11        material. The agency received several reports
    12       Q. All right. I'm going to make it a      12        about such contamination. However, at that
    13   little bit larger. So --                      13        time the analytical procedures for determining
    14       A. But just for the sake of te -- just    14        asbestos in talc were not fully developed, and
    15   put it in the chat if you don't mind so I can 15        most of the analytical work was conducted
    16   put it up on the screen. I have a copy, but   16        without scientific agreement as to which
    17   this would be very helpful. Let me just --    17        methods were well-suited for identification of
    18             THE WITNESS: Could you close this? 18         asbestiform minerals in talc. Consequently FDA
    19             I'm afraid -- there we go. Thanks   19        considered all analytical results to be of
    20       so much.                                  20        questionable reliability."
    21             You can keep on asking questions    21                Did I read that correctly?
    22       while he does that.                       22            A. You did, sir.
    23             MR. KEESTER: That's fine. I put     23            Q. And did you conduct any kind of
    24       it in.                                    24        investigation as to the reliability of test
    25             MR. EWALD: Is this D-205?           25        results for the presence of asbestos in the
                                                 Page 251                                                  Page 253
     1            MS. O'DELL: That was the previous.         1   early to mid-1970s?
     2            MR. EWALD: I'm sorry. Thank you.           2      A. Which test results are we talking
     3   BY MR. EWALD:                                       3   about?
     4       Q. This is --                                   4      Q. I'm talking about -- this is
     5       A. You love the red and gold?                   5   referring to at that time in the early 1970s
     6       Q. Oh, yeah. It's very official.                6   the analytical procedures for determining
     7            D-7214 and we go to the response to        7   asbestos in talc were not fully developed and
     8   the citizen's petition. It shows up on page 3       8   most of the analytical work was conducted
     9   of the PDF.                                         9   without scientific agreement as to which
    10            It says, "This responds to your           10   methods were well-suited for identification
    11   November 8, 1983, petition requesting that         11   asbestiform minerals in talc.
    12   cosmetic talc be labeled with an asbestos          12           My question to you is: Do you have
    13   warning statement."                                13   any basis to disagree with the FDA's statement
    14            And it talks about how "FDA               14   here in 1986 on that front?
    15   recognizes that asbestos inhalation over           15           MS. O'DELL: Object to the form.
    16   extended periods is hazardous to humans. The       16           THE WITNESS: Yeah. I mean,
    17   agency is also aware that some cosmetic talc       17      there's transmission electron microscopy.
    18   produced in the 1960s and early 1970s did          18      I mean, with all due respect to Dick
    19   contain asbestiform minerals. However, your        19      Swanson, who wrote this letter, I know
    20   petition has not persuaded us that the cosmetic    20      others reviewed there was electron
    21   talc that is presently being produced contains     21      microscopy in the early 1970s.
    22   significant amounts of asbestiform minerals."      22           It wasn't -- the industry didn't
    23            And on that point, Doctor, the            23      want to use it, but there was sensitive
    24   letter doesn't say that the cosmetic talc          24      methods that certainly could, in the words
    25   contains no asbestiform minerals, but it           25      of this, detect -- determine asbestos in
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                                                 Page 254                                                Page 256
     1       talc. And there was transmission -- yeah,   1       BY MR. EWALD:
     2       so I would disagree. And that --            2           Q. I'm asking the questions, and I
     3   BY MR. EWALD:                                   3       think you know that.
     4       Q. Right. And -- go ahead.                  4           A. Whatever. But do you know the
     5       A. Keep on -- please, keep on going.        5       answer to my question?
     6       Q. Just to be clear, though, that           6                The reason there was controversy
     7   disagreement is based on what you have learned, 7       was that the industry didn't want to use the
     8   basically, self-taught over the last 850 hours  8       most sensitive methods, and they resisted it.
     9   in connection with your report in this case,    9           Q. Okay.
    10   fair?                                          10           A. Please go on -- on this -- please
    11            MS. O'DELL: Object to the form.       11       go on on this document.
    12            THE WITNESS: I mean, I had the        12           Q. So I also want to ask you a
    13       transmission electron microscopy --        13       question.
    14       microscope next to me, I mean, in the      14                In your -- would you agree with me
    15       1970s when was in college. So it's not     15       that the vast majority of incidence where there
    16       entirely true that I didn't know about     16       is supposedly asbestos found in J&J's talc as
    17       transmission electron microscopy.          17       reported in your expert report are from the
    18            But, you know, as far as -- and I'm   18       1970s; would you agree with that?
    19       not there at the agency in '86.            19                MS. O'DELL: Object to the form.
    20            Self-taught is a little --            20                THE WITNESS: Well, I -- I have a
    21            MS. O'DELL: Pejorative?               21           pretty detailed list. I'm happy to pull
    22            THE WITNESS: Thank you, Counsel. 22                that up. You know what, let me pull that
    23   BY MR. EWALD:                                  23           up in order to answer that question. I
    24       Q. I'm being descriptive.                  24           have a list of everything that is cited in
    25       A. I know. I don't think he meant it       25           every test.
                                                 Page 255                                                Page 257
     1   that way. I actually think, you know,               1            Could you -- could you do me a
     2   self-learning is a pretty honorable sport; and      2        favor? Could I have my laboratory -- my
     3   I'll take it any day.                               3        notebook?
     4            Transmission electron microscopy           4            Thank you.
     5   was available.                                      5            Sir, I have a notebook. What was
     6        Q. Okay. And you talk about                    6        your -- I have a notebook that is divided
     7   transmission electron microscopy being              7        between the '60s to '70s the '80s to '90s
     8   available. But they're not only talking about       8        and 2000. I'm happy to give you the
     9   sensitivity here, right?                            9        number of things that I cite in each
    10            They're talking about how the             10        decade, right --
    11   analytical procedures were not fully developed     11   BY MR. EWALD:
    12   and that most of the analytical work was           12        Q. Sir --
    13   conducted without scientific agreement as to       13        A. -- that are here. You know, I mean
    14   which methods were well-suited by                  14   it's -- we can all count. I think you're
    15   identification of asbestiform minerals in talc.    15   right. There's certainly enough positive tests
    16            And have you conducted any                16   in the '70s that should have resolved this.
    17   investigation into the adequacy of the             17        Q. Okay. So let's go on the -- the
    18   scientific test methods available in the early     18   assessment proves to be correct -- well,
    19   1970s to identify talc?                            19   actually, hold on.
    20        A. Why do you think --                        20            So the FDA says, "Consequently, FDA
    21            MS. O'DELL: Object to the form.           21   considered all analytical results to be of
    22            THE WITNESS: Why do you think --          22   questionable reliability."
    23        why do you think -- why do you think there    23            I take it you disagree with the FDA
    24        was that controversy, sir?                    24   on this as well and you --
    25                                                      25        A. Give me just --
                                                                                          65 (Pages 254 - 257)
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                                                 Page 258                                                  Page 260
     1       Q. You --                                    1          A. Well, you're missing my point, sir.
     2       A. Just read the whole letter.               2      And I -- I do disagree because the -- the
     3       Q. Uh, uh, uh, uh. I'm asking the            3      question that I asked was who -- who wrote the
     4   questions here. Doctor I'm asking the            4      article that FDA is relying.
     5   questions here. Counsel for you is welcome to 5                  Let me answer that, sir, because I
     6   ask you about other parts of the document. We 6         know you get to ask me the questions; and I'm
     7   might get there too. I'm asking you a question 7        respectful of that, right.
     8   about one sentence.                              8               But FDA is citing an article in
     9            I want you to answer that question,     9      this, right. It says, "See enclosed copy of
    10   which is: Here the FDA considered all           10      the National Bureau of Standards Special
    11   analytical results to be a questionable         11      Publication 506 entitled, "Misidentification of
    12   reliability from the early 1970s. My question 12        Asbestos." That's the authority that FDA is
    13   is: Do you disagree with the FDA on that?       13      relying on.
    14       A. So in order to answer that               14               If you turn to that article and you
    15   question, I would ask for sake of completeness, 15      see that it is authored by William H. Ashton.
    16   that you read the next sentence.                16               So FDA is saying that all this
    17       Q. Fine. "This assessment proved to         17      testing is screwed up. Very nice it says it's
    18   be correct because many questions were          18      the National Bureau of Standards, but this is
    19   subsequently raised about results reported in   19      J&J. Somehow Bill Ashton worked his way in to
    20   the literature (see enclosed copy of National   20      be able to write an article that gets -- it
    21   Bureau of Standards Special Publication 506     21      says National Bureau of Standards, right. But
    22   entitled, "Misidentification of Asbestos in     22      this is J&J feeding the FDA that the testing is
    23   Talc"). Because of the questionable nature of 23        not reliable.
    24   the analytical results, the agency was not able 24               And if you look at the record,
    25   to assess reliably the levels of asbestiform    25      right, transmission microscopy could have been
                                                 Page 259                                                  Page 261
     1   minerals in cosmetic talc then in the               1   used. This could have all been settled back
     2   marketplace."                                       2   then, but the industry didn't want it because
     3       A. Thank you. I appreciate that very            3   it was picking up asbestos.
     4   much. Again, you get to ask the question, but       4       Q. Do you have any basis to question
     5   here's the rhetorical question: Who do you          5   the mineralogical and microscopic capabilities
     6   think wrote that article that's referenced that     6   of Dr. Ashton during this time period other
     7   FDA is relying on?                                  7   than the fact he is a J&J employee?
     8       Q. So, Doctor, my question to you is:           8            MS. O'DELL: Object to the form.
     9   The FDA here is questioning the reliability --      9            THE WITNESS: I -- I don't want
    10       A. Yep.                                        10       to -- I didn't know Dr. Ashton. I've
    11       Q. -- of the test results in the 1970s         11       never met Dr. Ashton.
    12   on the --                                          12            You know, you -- you feel when you
    13       A. Yep.                                        13       read, you know, somebody's historical --
    14       Q. -- testing of -- sir, you know I'm          14       the documents, you feel like you get a
    15   in the middle of a question. Please let me         15       sense of that person. I don't want to
    16   finish.                                            16       cast any aspersions on the clear
    17       A. Of course.                                  17       Bill Ashton.
    18       Q. Here the FDA is questioning the             18   BY MR. EWALD:
    19   reliability of test results for the presence of    19       Q. Let me ask you --
    20   asbestos in talc in the 1970s based on             20       A. Let me -- let me finish the answer.
    21   questions about the reliability of the             21       Q. Sure.
    22   analytical procedures.                             22       A. Let me finish the answer to my
    23            My question is: Do you disagree           23   question.
    24   with the FDA on their assessment of the 1970s      24            It is inconceivable, okay, that --
    25   talc testing for asbestos?                         25   let me put it this way: It was masterful,
                                                                                           66 (Pages 258 - 261)
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                                                  Page 262                                           Page 264
     1   right. I mean, this was -- I mean, the --       1               MS. O'DELL: Object to the form.
     2   what -- substitute any word you want: Scheme, 2                 THE WITNESS: If you look -- go
     3   story, narrative, that got Bill, right.         3         further in this document, go into the
     4            Turn to the -- if you turn to the      4         background documents, okay, look at memos
     5   next page of this letter for completeness,      5         to Gary Flamm -- I'm sure you've seen
     6   right, and you read the second paragraph,       6         them -- where Flamm says there is a
     7   right, it says --                               7         consensus -- let me -- let me get it to
     8       Q. I'm sorry. We are not --                 8         get the exact words.
     9       A. No. I get to answer my question.         9               Flamm is saying at FDA the fact --
    10   I get to finish the answer to my question,     10         it's a general consensus the current talc
    11   please.                                        11         mines are virtually free of asbestos.
    12       Q. Go ahead. Read the whole damn           12         Offending mines should -- have gradually
    13   thing. Go ahead.                               13         been abandoned, you know, and that any
    14       A. It says, "After FDA took these          14         residual silicates in talc are so -- are
    15   actions many cosmetic manufacturers began to 15           finely and smoothly ground. So there's no
    16   analyze their talc for asbestiform minerals as 16         issue.
    17   part of their quality control programs, and    17               Did you close the mines?
    18   talc suppliers began to sell higher purity     18               You ground the stuff up to such a
    19   talcs to the cosmetic industry. By 1976,       19         level that it was all -- it was impossible
    20   asbestos analytical methodology was            20         to clearly see it. Bill Ashton, did he
    21   sufficiently developed," right, "that          21         know that?
    22   the...CTFA could issue a specification (copy   22               Of course he had to know that. I
    23   enclosed)" -- right, this is J4-1 -- "for      23         don't know that he knew that, but anyone
    24   cosmetic talc. This specification required     24         who knows -- if you look at the specs and
    25   that such talc be free of fibrous amphibole."  25         you look at the size of asbestos fibers,
                                                  Page 263                                           Page 265
     1   That was the requirement. "Asbestos in the           1   you're grinding it up to 10 microns,
     2   form of asbestiform tremolite using a CTFA           2   you're going to be grinding this stuff --
     3   method of analysis that is capable of detecting      3   this was all -- this was all premised on
     4   0.5 percent of amphibole asbestos. This              4   the fact that asbestos wasn't in there;
     5   specification contributed to the continued           5   and, in fact, it was just masked.
     6   improvement of the cosmetic talc quality."           6 BY MR. EWALD:
     7            You never had a positive test under         7   Q. Are you done now?
     8   this and that protects. But the fallacy is           8   A. You have my answer. Thank you.
     9   that if there's 5.5 percent -- .5 percent, you       9   Q. Sure.
    10   scratch your head. How did Dick Swanson, whose      10        THE WITNESS: Could I ask for a
    11   name was Dr. Doom -- that was his nickname if       11   time check, please.
    12   you want to know the history, right -- how did      12        MS. O'DELL: Yes. We've been on
    13   FDA -- how -- if there's .5 percent of              13   the record for about an hour and 15
    14   amphibole asbestos, how do you go and say there     14   minutes. So why don't we -- do you want
    15   is no asbestos?                                     15   to take a short break?
    16            There was never a reliable standard        16        THE WITNESS: No. I can keep on
    17   put in place to say there was no asbestos.          17   going.
    18   There's been asbestos in his product since in       18        MS. O'DELL: Suzanne, could you
    19   the 1970s, and it's continued; and it's all         19   give us a time check, please?
    20   been masked.                                        20        (Discussion held off the record.)
    21       Q. Okay. And so to summarize, you               21        MR. EWALD: Let's take a break, and
    22   feel like with your background, you are better      22   then finish up the last hour and 15.
    23   situated on assessing the reliability of the        23        THE WITNESS: Thank you, sir, very
    24   analytical methods for testing talc, the            24   much. I appreciate it.
    25   presence of asbestos, than Bill Ashton, fair?       25        (Whereupon, a break was taken.)
                                                                                        67 (Pages 262 - 265)
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                                                   Page 266                                                  Page 268
     1   BY MR. EWALD:                                         1   it in. It's too small for me to see right now.
     2       Q. Okay. Doctor, when we were about               2   Sir, I just need to get it put in the chat.
     3   to come back on the record, you indicated that        3            Thank you very much. I appreciate
     4   there was something that you wanted to clarify.       4   that.
     5   Go ahead.                                             5            Let me just see. 17147 coming up.
     6       A. Okay. I'd just clarify, there's                6   Got it. I can read it; and yes, I have it,
     7   a -- we need to get you -- there's a very minor       7   sir.
     8   errata sheet. There's -- I think I spelled the        8        Q. And this is talking -- this is a
     9   word "fibers" wrong in the report, and there's        9   Johnson & Johnson memo dated February 23rd,
    10   some missed Bates numbers. There may be some         10   1978, to Windsor Minerals, Mr. Miller,
    11   on certain cites. So I'm just -- for the sake        11   president.
    12   of completeness.                                     12            It says, "As you know, Windsor
    13            And I also want to make sure                13   Minerals and the baby products company have
    14   that -- I think I misspoke. Obviously there          14   already authorized the documentation of a
    15   was the petition that got responded to in '86,       15   no-detectable asbestos requirement in the
    16   but then there was two petitions that got            16   Windsor 66 Talc Material Specification. In
    17   responded to -- I think I was clear -- it was        17   this regard, the testing requirement is solely
    18   in the '94 and then in 2008, both got responded      18   for fibrous amphibole by the CTFA method J4-1
    19   to in 2014, as I think I cited in the letter;        19   as intended to make the specification wholly
    20   but I may have misspoke. And I may have said         20   consistent with the CTFA standard for cosmetic
    21   there was one, and we were actually talking          21   grade talc. However, we need to recognize that
    22   about a total of three petitions, I think,           22   Windsor Minerals and Johnson & Johnson have
    23   historically. I just wanted to make sure the         23   exercised more extensive controls and testing
    24   record was clear. Thanks, sir.                       24   in the past than just meeting the J4-1
    25       Q. Of course. And not that it really             25   requirement. Furthermore, we intend continuing
                                                   Page 267                                                  Page 269
     1   matters that much, but I completely agree on          1   to surpass the industry standard of testing as
     2   that point that there are three petitions that        2   reflected by CTFA's J4-1.
     3   we've talked about. And I think it was clear          3           "During the July 15, 1977, meeting
     4   in the record, but extra clear now.                   4   in your office, we had agreed to the need of
     5            MS. O'DELL: John, just to follow             5   documenting the entire audit protocol, which
     6       up on what Dr. Kessler said, I'm putting          6   has been your standard operating policy and
     7       in the chat a short list of just typos and        7   procedure since August 1973 and it will be
     8       other, like, transposed numbers,                  8   continued to be practiced by Windsor Minerals
     9       et cetera, that are composed as errata for        9   for Windsor 66 Talc."
    10       his report. And so you have it there in          10           Did I read that correctly?
    11       the chat for your review.                        11       A. You did.
    12   BY MR. EWALD:                                        12       Q. Is this a document you've seen
    13       Q. Okay. Doctor, I want to jump                  13   before?
    14   around a little bit here the last hour or so,        14       A. I believe so. I mean, I believe
    15   and I want to return to this question of what        15   I've seen this before.
    16   testing J&J did historically. Don't worry. We        16       Q. Okay. So it talks about for sample
    17   will get to your slide presentation, but first       17   type ground or TM7024 --
    18   I want to show you a couple of documents.            18       A. Whoa, whoa. Wait a second. I want
    19            MR. EWALD: Jake, can you please             19   to make sure where you have me now.
    20       drop in DX 17147.                                20       Q. Top of the second page.
    21            MR. KEESTER: Yep.                           21       A. Yeah. I'm not on the second page.
    22   BY MR. EWALD:                                        22   That's my problem. Hold on a second. Let me
    23       Q. And, Doctor, just let me know when            23   get there. Yep.
    24   you have a chance to look on the screen --           24       Q. Okay. Ground or TM7024 biweekly
    25       A. Do me a favor. Can you please put             25   composite samples by Windsor flash-dried talc
                                                                                             68 (Pages 266 - 269)
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     1   CTFA J4-1, TM7019, positive samples by J&J. 1         that it should be clarified exactly who
     2   And it includes here in the different            2    was doing TEM at the time.
     3   characteristics tests 7019.                      3         We know from -- I know documents
     4            You were complaining -- or you were     4    that TEM was generally -- certainly, Rio
     5   noting that J4-1 does not apply to chrysotile.   5    Tinto and Luzenac, the documents say that
     6            Are you, first, sir, aware that         6    that TEM was only beginning in the really
     7   chrysotile is a form of serpentine?              7    from Rio Tinto, Luzenac, Cyprus they
     8      A. Sure.                                      8    started in the late 1980s.
     9      Q. And this talks about a test                9         I -- I am aware of these two
    10   conducted by J&J TM7019, correct?               10    policies TM7024 and 7019. It's not clear
    11      A. I'm sorry. You slurred. I didn't          11    to me -- when you say Johnson & Johnson
    12   hear that clearly at the end.                   12    did it, it's not clear who the Johnson &
    13      Q. This testing method, TM7019, that's       13    Johnson actually did it and whether
    14   talked about here for the serpentine form is    14    McCrone did it, right, or J&J.
    15   discussed above for flash-dried talc, weekly    15         I am saying is that this was done
    16   composite samples by J&J, correct?              16    in a way that -- really you can use
    17      A. I see that well.                          17    whatever word you want -- made the test
    18      Q. Okay. And so, I guess, how does           18    very unsensitive. Again, it masked the
    19   this comport with your opinion about the lack 19      presence of asbestos, right. If you have
    20   of TEM testing by J&J in the '70s?              20    to show five, right, if you're detecting
    21      A. Well, you certainly -- a couple of        21    one or two or three -- and I can take you
    22   things. One, I mean, it's not clear to me,      22    through examples where they detected
    23   actually, who -- I think what you said is I'm   23    asbestos, but they didn't count it.
    24   not -- it's not clear to me who did the TEM for 24    That's absurd, right.
    25   J&J. I'm not sure that they consistently did    25         And you didn't need to have that
                                                Page 271                                           Page 273
     1   it in-house. Okay. I -- I think McCrone may      1     five rule for statistical methods. You
     2   have done that, but, again, I'm open to          2     know, that says that, and he publishes
     3   whatever the facts are.                          3     that was -- that wasn't necessary for
     4            Number 2, if you look at Rio Tinto,     4     statistical methodology, right. So you
     5   the TEM really only got accepted by the Rio      5     took a test that was very -- that was
     6   Tinto, Luzenac by the late 1980s and 1990s. I 6        sensitive, and you made it insensitive by
     7   see this in there. This was the weekly and       7     the rule.
     8   biweekly composites, right.                      8 BY MR. EWALD:
     9            But understand, there was the -- it     9     Q. First of all, are you now
    10   was the five-fiber rule to this, which made     10 recognizing that Johnson & Johnson did TEM
    11   this, which you see in analysis by McCrone      11 testing in the 1970s?
    12   where they find fibers and they throw it --     12     A. On biweekly composite. I'm -- I'm
    13   they don't -- your word "detectable," they said 13 aware of this. I'm not sure Johnson & Johnson
    14   it's only detectable if there's five fibers.    14 did it. There's a sheet -- there is a in the
    15   If you detect one, it's not detectable.         15 analytical that says transmission electronic
    16            So this was all -- I mean, there       16 microscopy was begun and becoming more
    17   wasn't serious TEM with that five-fiber rule.   17 generally accepted in the 1980s.
    18       Q. Okay. So first of all, I want to         18          That's what's -- certainly, that's
    19   understand.                                     19 the -- the Rio Tinto and Luzenac and Cyprus
    20            Are you saying that if J&J wasn't      20 companies generally viewed TEM as becoming more
    21   doing the TEM testing itself but was having     21 generally used in their batch-by-batch analysis
    22   someone else do it, that somehow is less valid? 22 and routinely used beginning more in the 1980s,
    23       A. No.                                      23 right. That's what the record shows.
    24            MS. O'DELL: Object to the form.        24          There was this TEM that was used.
    25            THE WITNESS: No. I just figure         25 I'm not sure exactly who did it; but from the

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     1   protocols, it had this five-fiber rule. And it   1   you look at these policies, you only count if
     2   certainly -- it didn't seem -- the mining        2   there's five fibers.
     3   companies didn't seem to be -- the producers     3            I mean, I'm giving J&J no credit
     4   didn't seem to be using it to assure the safety  4   for putting in place a policy that obscures the
     5   of what they were giving J&J. This was done on 5     presence of asbestos.
     6   these big silos and these composites material.   6      Q. And so -- and you're saying that in
     7   That's what I know.                              7   your view, based on your review of this case,
     8      Q. Okay. But you -- but you -- so             8   that there was no basis to have the five-fiber
     9   your point about -- you do realize that J&J is   9   detection limit.
    10   a completely different entity than Luzenac or 10              That's your opinion?
    11   IMERYS; you recognize that, right?              11      A. What I've read from -- in Millette
    12      A. Certainly, sir. But under the             12   was to, again -- if you asked, again, what a
    13   Federal Food Drug and Cosmetic Act, who's       13   word means, right, whether something is
    14   responsible for the production of the powder? 14     detectable, if you -- no detectable -- if you
    15           J&J. J&J audited the companies.         15   go back to the first page of this, right, there
    16   J&J found critical violations in companies like 16   was no detectable asbestos.
    17   RW -- RJ Lee. You raise that. J&J knew what 17                To me, if you detect an asbestos
    18   was going on.                                   18   fiber, right, and you see it and you can
    19      Q. But my point is that you are              19   confirm it, that's detected. To make a rule
    20   somehow criticizing J&J for conducting its own 20    that says it has to be five, somebody came up
    21   TEM work?                                       21   with a theory, well, we want to probably -- we
    22           MS. O'DELL: Object.                     22   want to avoid a background and a statistical
    23           THE WITNESS: No. We don't know 23            methodology on -- so it had to be five.
    24      they were doing their own.                   24            What Millette says is there was no
    25           Who is this doing this for -- I         25   basis for that, and it didn't need to be made.
                                                Page 275                                               Page 277
     1      mean, I'm not aware that this was done        1   And to say you detect it, you don't need five
     2      in-house in J&J. I can't figure out           2   to detect it. You have a way of assuring
     3      whether this was done consistently for        3   background noise through blinds.
     4      decades by J&J. I don't know that.            4      Q. All right. And so is this also
     5   BY MR. EWALD:                                    5   part of a conspiracy by Johnson & Johnson to
     6      Q. I think --                                 6   institute the five-fiber rule?
     7      A. I --                                       7           MS. O'DELL: Objection. Form.
     8      Q. -- for documents?                          8           THE WITNESS: That -- that's
     9           MS. O'DELL: I'm sorry, John. I           9      between you, your client, and their gods.
    10      don't think he was finished.                 10   BY MR. EWALD:
    11   BY MR. EWALD:                                   11      Q. Do you -- is it your -- you've got
    12      Q. Finish please.                            12   evidence, Doctor, that the five-fiber rule is
    13      A. Yes. I'm trying to sort that out          13   something that J&J created?
    14   because I've seen this. I've see a lot of       14           MS. O'DELL: Object to the form.
    15   McCrone documents on TEM.                       15           THE WITNESS: I can say -- saying
    16           I think it was McCrone who did this     16      that five fibers had to be detected,
    17   for J&J. Nevertheless, I mean, I'm not          17      you've got to have five to detect asbestos
    18   disagreeing. I don't see quite records over     18      and asbestos fiber doesn't make any sense.
    19   the 50 years of -- of this. I don't see that    19      Millette said they got rid of it, right.
    20   database.                                       20      So you didn't need that.
    21           I think many of these results           21           Again, this is no detectable
    22   were -- I mean, if I'm correct -- were held by  22      asbestos. I mean, come on. You're an --
    23   McCrone and Bain from what I can tell, but I do 23      you're an excellent lawyer. You know that
    24   know that when TEM was used, certainly by the 24        that word "detectable" is in there for a
    25   McCrone and certainly under these policies -- 25        reason. It's in there to obscure it,
                                                                                       70 (Pages 274 - 277)
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     1      right. If somebody came up with a               1            (Whereupon, Exhibit 17, Article
     2      definition, we'll decide what is                2       published in "The Microscope" in Volume 38
     3      detectable. That's the game that's being        3       Fourth Quarter 1990, was marked for
     4      played.                                         4       identification.)
     5   BY MR. EWALD:                                      5            MR. EWALD: And Kevin -- Kevin --
     6      Q. Okay. So you talked a lot about              6       Jake, sorry. Can you please drop it in
     7   Millette.                                          7       the chat?
     8           What do know about Millette?               8            MR. KEESTER: I can, yes.
     9      A. Millette was a microscopist.                 9            What's the -- sorry.
    10      Q. Okay. What else do you know about           10            MR. EWALD: It is DX-19666.
    11   him?                                              11            MR. KEESTER: Sending now.
    12      A. I mean, he's published in this              12            MR. EWALD: Thank you.
    13   area, and I've read some of his articles; and     13   BY MR. EWALD:
    14   he discusses the five-fiber rule.                 14       Q. Doctor, let me know when you have
    15      Q. And does it -- in your opinion, is,         15   it in front of you.
    16   based on your study over the last year, is        16       A. Yeah. I'm just doing it.
    17   Dr. Millette a well-respected microscopist?       17            I do. My copy is a little
    18      A. Sure. I -- I was using that term,           18   different.
    19   you know, in a gentlemanly way. I don't           19            Where's that paragraph?
    20   know -- I mean, I'll put him in -- I have no      20       Q. Yeah. So first of all, this is
    21   reason to question his wonderful nature.          21   published in "The Microscope" in 1990, correct?
    22      Q. Is he world class like Dr. Longo?           22       A. Correct. I have it -- mine's
    23           What do you think?                        23   formatted a little different from the one I
    24           MS. O'DELL: Object to the form.           24   have, yes.
    25           THE WITNESS: I take -- I take the         25       Q. So it's called, "A Standard TEM
                                                Page 279                                               Page 281
     1       lateness of the hour, and I appreciate the     1   Procedure for Identification and Quantitation
     2       sense of humor.                                2   of Asbestiform Minerals in Talc," correct?
     3   BY MR. EWALD:                                      3      A. Correct.
     4       Q. Well, is it a joke?                         4      Q. And amongst the co-authors is
     5            Which way is it silly?                    5   James R. Millette, right?
     6            Silly because Dr. Longo --                6      A. Correct.
     7       A. No. I think from what I can tell            7      Q. Okay. And so if you scroll down
     8   Millette was very serious and is in the            8   under "standard operating procedure" --
     9   category of Longo, and I'm not having any -- I     9           MS. O'DELL: Doctor -- excuse me.
    10   have no problems. I think Millette contributed    10      Doctor --
    11   to the field from everything I saw. I think he    11           THE WITNESS: What page are you on?
    12   is in that category.                              12   BY MR. EWALD:
    13       Q. Okay. And do you happen to know            13      Q. I'm on page 10 carrying over to 11?
    14   what -- you talked about TM7024 in that last      14      A. Give me -- give me the page number
    15   document, right?                                  15   on the bottom.
    16            That's the J&J's TEM method?             16      Q. 463.
    17       A. Yes.                                       17      A. 463.
    18       Q. In all of your research, did you           18      Q. Section 6.
    19   figure out where J&J got that TM7024 from?        19      A. Yeah.
    20       A. He got it from Millette, I believe.        20      Q. "Limit of Quantifiable Detection,"
    21       Q. Okay. So Millette --                       21   do you see that?
    22            MR. EWALD: Mark this as -- we'll         22      A. Right.
    23       mark this as Exhibit 17. It's the             23           MS. O'DELL: And if you need to
    24       Millette 1990 article.                        24      take time to read the article, feel free
    25                                                     25      to do so.
                                                                                        71 (Pages 278 - 281)
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                                                 Page 282                                               Page 284
     1   BY MR. EWALD:                                       1   page 50.
     2       Q. It states, "The detection of five            2      A. 121. Okay. Thank you.
     3   or more asbestos minerals of one variety in an      3      Q. And this paragraph refers to the
     4   analysis constitutes a quantifiable level of        4   Dutch Consumer Organization.
     5   detection." Do you see that?                        5          THE WITNESS: Can I have my
     6       A. Correct.                                     6      paragraph 121, please, in the book?
     7       Q. And is that the same standard used           7          Yes, sir.
     8   by J&J in the TM7024 method?                        8   BY MR. EWALD:
     9       A. Well, it's really -- this is 1990,           9      Q. All right. And does 121, the
    10   right.                                             10   paragraph, represent the complete story on what
    11       Q. Right.                                      11   happened with the analysis of the talc at issue
    12       A. You're citing to a 1970 method.             12   here?
    13       Q. Are you saying that the science --          13      A. I'm pulling -- I'm pulling it up.
    14   well, let's -- let's toggle. Okay. Let's look      14   The complete story? I'm happy to have you
    15   at 230.3 in your report.                           15   expand.
    16           Do you have that one on paper in           16      Q. Well, do you -- do you know
    17   front of you?                                      17   anything more than what's reflected there on
    18       A. What paragraph, sir?                        18   paragraph 121?
    19       Q. 230.3. It's on page 102?                    19      A. I know -- I know what I see in the
    20       A. 102, thanks. Hold on a second.              20   Johnson & Johnson Dutch file by Mr. Homan.
    21   230.3.                                             21      Q. All right. Let me show you --
    22       Q. Yep.                                        22          MR. EWALD: Jake, can you drop
    23       A. And that is -- that year is 2015,           23      D-7070 into the chat, please.
    24   right?                                             24
    25       Q. Right. It's in 2015. You quote              25
                                                 Page 283                                               Page 285
     1   Dr. Millette saying, "For lack of better        1                (Whereupon, Exhibit 18, Johnson &
     2   statistical information at the time in 1990,    2           Johnson document with the subject:
     3   the publication stated rule of thumb of the     3           "Allegation made by Dutch Consumer
     4   detection of five or more asbestiform minerals 4            Organization of Asbestos in our
     5   of one variety in an analysis constituted a     5           Overseas Talc - Project No. 0936.00,"
     6   quantifiable level of detection. Subsequent     6           dated September 20, 1973, was marked for
     7   method of development in the area of TEM        7           identification.)
     8   analysis for asbestos has shown that a          8       BY MR. EWALD:
     9   detection of less than five fibers in the       9           Q. And when you get a chance, Doctor,
    10   sample can provide a statistically valid       10       take a look at this and see if this is a
    11   result."                                       11       document you've seen before.
    12            So are you suggesting that it was a   12           A. Let me just get it out of chat and
    13   method by Johnson & Johnson to mask asbestos 13         see if I remember.
    14   when it was using this method in the 1970s,    14           Q. Sure.
    15   '80s, '90s?                                    15           A. 7077?
    16      A. It did as a consequence of that.         16           Q. Well, this one is DX -- yeah, 7070.
    17      Q. And you're basing that on your           17           A. Yeah. Thanks. Give me a second.
    18   expertise in mineralogy and microscopy?        18       I need to look at this a second.
    19      A. No. I'm basing that on your              19           Q. Sure.
    20   ability to count.                              20           A. I -- I got it. Let me just make it
    21      Q. Okay. Okay. I'll take that.              21       a little bigger.
    22            Now, let's go to something else.      22           Q. So does this document look
    23   Let's go to 121 in your report, page 50.       23       familiar?
    24      A. 121?                                     24           A. I have to review it. I -- at this
    25      Q. Yep. Paragraph number -- or              25       hour my brain is not computing fully. I'd --
                                                                                         72 (Pages 282 - 285)
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                                                 Page 286                                                Page 288
     1   I'd want to look at the whole thing. I think    1       definition, they might trace asbestos again and
     2   so. I think I've seen this, but I -- I'd have   2       publicize the results."
     3   to -- I don't -- I'd have to -- I'd have to     3               Did I read that correctly?
     4   read the whole thing.                           4          A. Yes, sir.
     5            MS. O'DELL: So if you need a           5          Q. Okay.
     6       minute, Doctor, take it.                    6          A. I think --
     7            THE WITNESS: Okay. Thanks. Hold 7                 Q. And by the way --
     8       on a second.                                8          A. I -- I'm sorry.
     9            Is it the use of the standing          9          Q. Go ahead.
    10       electron microscopy issue?                 10          A. I see those words in the underlying
    11   BY MR. EWALD:                                  11       document, yes.
    12       Q. Well, it depends on --                  12          Q. All right. Okay.
    13       A. I'm sorry?                              13               And so by the way, I'm not sure how
    14       Q. I'll ask you questions about it.        14       much you paid attention to this. But 1.59
    15   But finish reading the document, and then I'll 15       percent of asbestos, that's a pretty large
    16   ask questions.                                 16       number relative to what, for example, Dr. Longo
    17       A. Well, again, it's going to take me      17       was finding, right?
    18   about five, ten minutes to read this. I think  18               MS. O'DELL: Object to the form.
    19   this is the SEM issue, right?                  19               THE WITNESS: Yeah. I'm not --
    20       Q. That's the SEM issue, yes?              20          I'm -- I'm not going to do math right
    21       A. Right. Feel free to ask me the SEM      21          here, I mean, in a deposition. I'm not
    22   question, and I'll respond.                    22          prepared to answer -- I mean, I don't have
    23       Q. Well, I also have a question about      23          an opinion on that question.
    24   the definition, so just read it.               24       BY MR. EWALD:
    25       A. Okay. Well...                           25          Q. Okay. So do you have an
                                                 Page 287                                                Page 289
     1           MS. O'DELL: Take your time.                 1   understanding, as you sit here today, about the
     2           THE WITNESS: And this is what               2   average level of asbestos by volume?
     3      year?                                            3       A. No. I --
     4           This is -- what's the date of this?         4       Q. Dr. Longo's finding?
     5           This is '73, right.                         5       A. No. I --
     6           Got it. Thank you.                          6             MS. O'DELL: Object to the form.
     7           Yeah. Do you see he's questioning           7             THE WITNESS: No. What I'm doing
     8      the questioning of the SEM and the               8       is -- I don't want -- without the
     9      effectiveness of SEM as a microscopy             9       laboratory tests that support this, I
    10      method?                                         10       don't want to just comment on the
    11   BY MR. EWALD:                                      11       1.59 percent. I want to understand
    12      Q. Well, so let's -- first, let's walk          12       exactly what the metrics are that are
    13   through it.                                        13       being used and understand exactly what the
    14           First, turning to your                     14       Dutch -- this is a J&J representation of
    15   paragraph 121, you refer to an August 27th,        15       the Dutch. This is exactly what it said
    16   1973, internal J&J memorandum acknowledged that    16       here.
    17   the Dutch Consumer Organization analyzed           17             But if you want to get into the
    18   Johnson's Baby Powder and detected asbestos        18       metrics, let's pull up the underlying
    19   content at 1.59 percent.                           19       Dutch study; and then we can understand
    20           "Johnson & Johnson noted that the          20       it.
    21   organization's definition of asbestos could        21   BY MR. EWALD:
    22   cause some errors, and at this moment they are     22       Q. Well, you didn't apparently feel
    23   analyzing our powder again because we remarked     23   the need to assess its accuracy before putting
    24   that our powder was free of asbestos. However,     24   it in your report, correct?
    25   when they stick to the same method and             25       A. No. I --
                                                                                          73 (Pages 286 - 289)
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                                                 Page 290                                                 Page 292
     1            MS. O'DELL: Object to the form.            1   asbestos minerals.
     2            THE WITNESS: So just let me                2            And he goes on to say, "The
     3       read -- what this -- this whole section is      3   definition of asbestos offered by the Dutch
     4       about, if you go back to the heading,           4   Consumer Organization is as follows: All
     5       right, what -- you didn't assure the            5   needle and/or fibrous parts or composed units,
     6       safety and this is -- these were all            6   consisting of magnesium and silicon."
     7       questions that was raised.                      7            That's what he says, right?
     8            So I mean, it goes to whether you          8            MS. O'DELL: Object to the form.
     9       substantiated the safety of the product.        9       Compound.
    10       The responsibility of that falls with J&J.     10            THE WITNESS: That's exact --
    11       Okay.                                          11       that's -- that's what he says.
    12   BY MR. EWALD:                                      12   BY MR. EWALD:
    13       Q. Okay. So --                                 13       Q. Okay. And then he goes on to say,
    14       A. These were questions that were --           14   "By this definition, if talc or the common
    15   these were questions that were raised. There's     15   mineral impurity chlorite (a magnesium
    16   no question that this Dutch agency raised that     16   silicate) appeared to look fibrous by their
    17   question, but go ahead, please.                    17   analytical technique (see next section), then
    18       Q. All right. And so the Dutch agency          18   it would be called asbestos. However, if, for
    19   raises the question in August 27, 1973, as is      19   example, tremolite and anthophyllite asbestos
    20   reflected in the internal J&J memorandum.          20   were present in a fibrous form, then by their
    21            And then in September 20, 1973, a         21   definition, they would not be called asbestos
    22   little less than a month later, we have some       22   since they have elements other than just
    23   further responses from J&J where they, again,      23   magnesium and silicon. Tremolite is a calcium
    24   talk about your reported 1.59-percent asbestos     24   magnesium silicate, and anthophyllite is a
    25   content.                                           25   magnesium iron silicate."
                                                 Page 291                                                 Page 293
     1            "In this report I hope to show that     1              Did I read that correctly?
     2   their definition of asbestos is incorrect, and   2          A. You're correct.
     3   their analytical method for asbestos             3          Q. Do you have any expertise to have
     4   determination in talc is not specific enough     4      an opinion one way or the other as to whether
     5   and has severe limitations and the talc they     5      or not Dr. Rolle is correct here?
     6   are using, Italian 0000, has been thoroughly     6          A. Yeah. We -- he's not correct
     7   analyzed by different scientists in different    7      because he's not dealing with the biological
     8   countries and by different methods, and no       8      activity of fibers, and he's missing that.
     9   detectable levels of asbestos have been found." 9       He's trying to draw distinctions between
    10            That's what he says there, right?      10      certain fibers and other fibers and not
    11       A. That's what he's -- that's what          11      recognizing what -- if you want to go back to
    12   he's trying to -- that's the case he's trying   12      the IWGACP spent both -- their entire
    13   to make.                                        13      appendices on was the exactly to say that
    14       Q. Okay. And he goes on, on page 1          14      Dr. Rohl was wrong because we should be looking
    15   formally with the memo talking about definition 15      at biological activity of fibers as it relates
    16   of asbestos. And he says, "Talc is normally     16      to transformative potential. And that's what
    17   defined simply as a natural hydrous magnesium 17        key, and not what's -- let's not do
    18   silicate usually occurring in a platy form."    18      definitions. Let's look at the biological
    19            And he talks about how, "Talc and      19      activity of these fibers.
    20   all the asbestos minerals can, however, be      20              So he's wrong in that regard.
    21   unambiguously defined by determination of their21           Q. All right. Doctor, is chlorite an
    22   unique chemical structure of each mineral by    22      amphibole?
    23   such methods as X-ray diffraction."             23          A. No. But again, if you have fibrous
    24            He talks about the unique chemical     24      material, you have to analyze that biological
    25   structure of talc as it compares to different   25      activity.

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                                                Page 294                                                Page 296
     1      Q. So should I add to your expert            1        biological activity of those fibers.
     2   report that it's not only that J&J was          2             And they believe that elongate
     3   misbranded because of not warning of asbestos 3          particles, right, of a certain aspect
     4   or nonasbestos form of amphibole, so should we 4         ratio of at least 3 to 1, right, should --
     5   also add fibrous chlorite to that?              5        should be assessed for their biological
     6           MS. O'DELL: Object to the form.         6        activity.
     7      Misstates his testimony.                     7             That's what the working group has
     8           THE WITNESS: Come on, please.           8        said in all this focus on if this is
     9      We're -- we're not -- you know, you're --    9        asbestiform, we're going to look at this
    10      you want to add it to what?                 10        way. We're going to look it at that way.
    11   BY MR. EWALD:                                  11        We're going to define it this way. We're
    12      Q. You said let's -- no. Hold on.           12        going to make it so specific, right. It's
    13   Hold on. Hold on.                              13        not sensitive enough.
    14           Let's look at 21, I think. No.         14             This is the point when you're
    15   That's too early. Let me get to the right      15        dealing with these sets of minerals in
    16   spot.                                          16        fibrous form, and we're talking about the
    17           Here we go.                            17        amphiboles; and we're talking about talc.
    18      A. What paragraph?                          18        And that's what the working group is
    19      Q. Paragraph 67, on page 18. Let me         19        doing. Their focus is on elongate
    20   know -- let me know when you're there?         20        particles. That was my only point.
    21      A. Right.                                   21    BY MR. EWALD:
    22      Q. "In my opinion, once J&J had             22        Q. So but the question is -- you
    23   evidence of, A, the presence of asbestos       23    talked about the SEM issues. Isn't the
    24   because of its non-carcinogenicity and absence 24    question that's been raised in part B is: Are
    25   of a threshold dose or the presence of         25    they really seeing fibers?
                                                Page 295                                                Page 297
     1   non-asbestiform amphiboles or fibrous talc, the 1             Isn't that the question?
     2   safety of their product was not established."    2       A. It's reliability of the SEM method,
     3           My question to you is: Should we         3   right?
     4   also add fibrous chlorite to that?               4       Q. Well, it goes on to say that on B,
     5      A. No.                                        5   "The Dutch Consumer Organization attempted to
     6      Q. Okay. So you're okay with fibrous          6   determine the asbestos content by scanning
     7   chlorite?                                        7   electron microscopy and X-ray energy dispersive
     8           MS. O'DELL: Object to the form.          8   analysis."
     9           THE WITNESS: I'm sorry.                  9       A. Right.
    10           MS. O'DELL: What is -- you know,        10       Q. "By this combined technique, one
    11      John, what's your question?                  11   can look at the morphology of particles" -- and
    12           What's the topic here?                  12   it goes on to say, blah, blah, blah. And "One,
    13           MR. EWALD: The topic is -- is that      13   when preparing talc for scanning electron
    14      your witness is now saying that fibrous      14   microscopy (SEM) analysis, many talc platelets
    15      chlorite has been identified by IWGACP as 15      lie perpendicular to the viewing plane and thus
    16      something that's harmful, and he should      16   from an edge-on-view look like a fiber."
    17      add it to the list, right?                   17       A. Right.
    18           THE WITNESS: No, sir. I mean,           18       Q. But they're not a fiber?
    19      again, I apologize if I wasn't clear.        19       A. He's objecting to SEM, correct?
    20           The -- the -- what -- the working       20            That's what Mr. Rolle is doing.
    21      group was very clear. They are getting       21   He's saying the SEM is not reliable here.
    22      into these -- this definition of             22       Q. I think what he's saying, Doctor,
    23      non-asbestiform or asbestiform has           23   is that if you don't know what you're looking
    24      obfuscated in the context of the minerals    24   at, you could be calling a talc platelet lying
    25      amphiboles as well as talc, right, the       25   perpendicular as a fiber; isn't that what he's

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                                                 Page 298                                               Page 300
     1   saying there?                                    1    been referring to it. This is on historical
     2           MS. O'DELL: Object to the form.          2    development of the framework to the IMERYS
     3           THE WITNESS: What he's saying is         3    document on fiber management overview in 2011
     4      that SEM is not a reliable method to do       4    on transmission electron microscopy, and it
     5      that, fair?                                   5    says, "TEM has been used by Cyprus, Luzenac" --
     6   BY MR. EWALD:                                    6    blah, blah -- "in IMERYS personal care products
     7      Q. And what -- I'm not agreeing with          7    since 1990s. TEM was incorporated to include
     8   you one way or another.                          8    all other types in 2001. TEM gained favor in
     9           But what is your opinion on whether      9    the 1990s as a technique with the lowest
    10   or not SEM is an appropriate analytical         10    limited detection, especially in the U.S." --
    11   technique for the presence of talc?             11    blah, blah. "TEM is recognized as the best
    12      A. Well, I know when -- I know when          12    method for chrysotile detection due to the
    13   Bill Ashton went to China and wanted to invest 13     ultimate resolution crystal structure
    14   J&J's money and shift that to Vermont to use    14    determination lowest limited detection."
    15   SEM.                                            15            I just wanted to make sure that was
    16      Q. Okay. Do you understand that you          16    the context of how TEM was looked at certainly
    17   can use the right instrument but not know how 17      by J&J suppliers. I am not in any way
    18   to use it to analyze the matrix appropriately?  18    questioning J&J. The documents you set out in
    19           Do you understand that's a              19    724, 719, they are what they are.
    20   possibility?                                    20            But just certainly, the people who
    21      A. Exactly. And if you look at Rio           21    are producing this, basically, I mean, they
    22   Tinto's analysis and you look at the individual 22    believe from this that they incorporated TEM in
    23   variability between laboratories, you just hit, 23    the 1990s sort of routinely. That's my only
    24   right, another key element of why asbestos was 24     point.
    25   being masked.                                   25        Q. All right. So I'm going to --
                                                 Page 299                                               Page 301
     1            Whenever Rio Tinto had as positive,        1          MR. EWALD: Jake, can you put in
     2   they sent it to another lab. Okay. Not when         2    17.04. That 01 one.
     3   it was negative, but when it was positive.          3 BY MR. EWALD:
     4   They sent it to another lab, and they knew,         4    Q. Doctor, let me know when you have a
     5   right, the reliability of the other labs was        5 chance to take a look at it.
     6   great variability. You can look at their own        6    A. Yep. Let me just get it. Thank
     7   assessments, right, and they did it for one         7 you for putting it in.
     8   reason. And they said it. They did it for           8          MS. O'DELL: Are you going to mark
     9   liability reasons. They found a positive.           9    this as an exhibit, John?
    10   They send it out, right.                           10          MR. EWALD: Yes. It will be, I
    11            And what you see the history of           11    think, Exhibit 18.
    12   retesting and retesting, right. When you had a     12          MS. O'DELL: Okay.
    13   positive, you retested it into a negative,         13          MR. EWALD: And for the record,
    14   right. That's how you get, along with all          14    it's -- hold on.
    15   these other methods, that's how you say there's    15          THE COURT REPORTER: I think this
    16   no asbestos here.                                  16    should be 19.
    17            (Discussion held off the record.)         17          MR. EWALD: Oh, really. Sorry.
    18            (Whereupon, a break was taken.)           18          It's Bates Number JNJ 000404835
    19   BY MR. EWALD:                                      19    with the date of April 13th, 1994.
    20       Q. Dr. Kessler, I understand you have          20    Subject: Update on FDA/NTP.
    21   something else you'd like to clarify.              21          (Whereupon, Exhibit 19, Memorandum
    22       A. Yeah. I just want to clarify.               22    dated April 13, 1994, Bates labeled
    23   You're very kind. I appreciate it.                 23    JNJ 000404835, was marked for
    24            You should have in the chat --            24    identification.)
    25   we've been referring to it several times. I've     25
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                                               Page 302                                             Page 304
     1   BY MR. EWALD:                                   1     do that.
     2       Q. Do you have it in front of you,          2          MR. O'DELL: Okay.
     3   Doctor?                                         3          THE WITNESS: Yeah. I have the
     4       A. I do.                                    4     document.
     5       Q. And this is discussing from Steven       5 BY MR. EWALD:
     6   Gettings to Talc Interested Party Task Force.   6     Q. And this is from, again, Stephen
     7           "We have learned the driving force      7 Gettings, dated July 1st, 1994, to the Talc
     8   behind NTP's decision to analyze exposed        8 Interested Party Task Force, Meeting Summary
     9   animals/human tissues for the presence of talc  9 (FDA/NTP). It talks about a June 28th, 1994,
    10   is FDA.                                        10 delegation from CTFA.
    11           "The issue has been discussed at       11          "Met with representatives of FDA
    12   high level meetings at FDA between the         12 and NTP."
    13   Commissioner and representatives of consumer 13            Discussed various issues relating
    14   groups."                                       14 to talc. And if you scroll down to the first
    15           Did I read that correctly?             15 bullet on the second page, it reads, "FDA
    16       A. Exactly.                                16 conceded that they are responding to pressure
    17       Q. Does that ring any bells about          17 from within the Commissioner's Office
    18   meetings that you had with representatives of 18 (particularly from the Special Assistant to the
    19   consumer groups about concerns about talc?     19 Commissioner on Women's Issues and from the FDA
    20       A. I have no -- no. I see this here.       20 Office of Public Affairs), to fully investigate
    21   It doesn't ring any bells whatsoever. I'm not  21 any association between the talc and the
    22   saying it didn't happen. Just I have no        22 etiology of ovarian cancer."
    23   recollection of this whatsoever. If you        23          Did I read that correctly?
    24   have -- you know, I just don't see it.         24     A. They are good. I mean, I'm proud
    25       Q. Fair enough.                            25 of them. Now it makes sense. I think I
                                               Page 303                                             Page 305
     1       A. I don't recall, you know. I did          1   figured -- go ahead. Keep on going.
     2   it -- the issue is -- I mean, I always like --  2      Q. Well, what's -- what's your
     3   you -- it's amazing how people invoke, you      3   revelation?
     4   know, commissioner meetings. I mean, this is 4         A. Remember you said there were two
     5   a -- this is a J&J -- internal J&J meeting      5   FDA, besides Gilbertson, at the -- that
     6   memo.                                           6   workshop?
     7       Q. It's at the top, Talc Interested         7      Q. Yes.
     8   Party Task Force.                               8      A. That symposium, you remember you
     9       A. I -- I have no idea. It could be         9   mentioned Carol Schmenan?
    10   correct. It could not be correct. I just       10      Q. Yes.
    11   don't know, sir. I have no recollection.       11      A. Right. You remember I said Ruth
    12       Q. No worries.                             12   Merkatz was there, right?
    13            MR. EWALD: So, Jake, now throw in 13          Q. Yes.
    14       the 17.007.                                14      A. Dr. Ruth Merkatz. Those are
    15            For the record, we'll mark this       15   highly, highly competent -- you know,
    16       Exhibit 20, and it's Bates Number          16   Dr. Merkatz is one of the great women health
    17       JNJ 000016687.                             17   professionals, worked at the FDA, worked at
    18            (Whereupon, Exhibit 20, Memorandum 18      Pfizer, did -- worked for the Population
    19       dated July 1, 1994, Bates labeled          19   Council, a leader in reproductive freedom for
    20       JNJ 000016687 and JNJ 000016688, was       20   women. Carol Schmenan equally, you know.
    21       marked for identification.)                21            I'm glad while I'm doing other
    22            THE WITNESS: Hold on one second. 22        stuff, they were focused on this apparently.
    23            MS. O'DELL: Do you have it            23   So I'm sure that's what -- that's what this
    24       downloaded?                                24   says.
    25            THE WITNESS: Yeah. I'm going to       25            So FDA conceded they were
                                                                                     77 (Pages 302 - 305)
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                                                Page 306                                              Page 308
     1   responding to Ruth -- you know, Special         1            THE WITNESS: Yeah. I'm sorry.
     2   Assistant to Commissioner of Women's Health, 2           Now I just got kicked under the table.
     3   Dr. Ruth Merkatz, and from the Office of Public 3    BY MR. EWALD:
     4   Affairs is Carol Schmenan. They were the two 4           Q. If you wouldn't mind turning to
     5   at the meeting, and they were -- yeah, they     5    187, paragraph 187 of your report, page 87.
     6   were doing their jobs.                          6        A. Sorry. 18- -- paragraph 187?
     7            This is an important women's issue,    7        Q. Yes.
     8   and they were apparently focused on it.         8        A. Thank you, sir.
     9       Q. Okay. And after fully                    9        Q. Sure. And it carries over to
    10   investigating any association between talc and 10    page 88. And it's talking about Vernon Zeitz
    11   the etiology of ovarian cancer, there's no     11    and a handwritten letter about the Department
    12   action taken during your administration at the 12    of Health Education and Welfare contacting him
    13   FDA relating to that issue, correct?           13    about a government study of Vermont talc
    14            MS. O'DELL: Object to the form.       14    workers.
    15            THE WITNESS: You're telling the       15            My first question is: Have you
    16       FDA there's no asbestos in talc. I mean,   16    ever reviewed any materials relating to a
    17       I don't -- I don't believe -- I can go     17    government study of Vermont talc workers?
    18       back -- I'm happy to ask Ms. Schmenan and 18         A. I -- I have -- yes.
    19       Dr. Merkatz whether they were aware in     19        Q. Okay.
    20       1994, right, that there was asbestos in    20        A. I mean, in my late nights and early
    21       talc of the -- of the evidentiary record.  21    mornings in front of relativity, I found myself
    22       I was not. I didn't -- you know, I         22    maybe, you know, a while back, I mean, in some
    23       certainly didn't understand those issues.  23    of those documents; but it's a blur right now.
    24            So, you know, when you say            24        Q. All right. And so --
    25       "investigating," I don't -- I mean,        25        A. This was -- was this -- this was an
                                                Page 307                                              Page 309
     1       maybe -- you know, I can't -- you'd have     1   NIH study if I'm correct.
     2       to ask them whether they understood at       2       Q. And so the -- you have a quote here
     3       that time the evidence was what we see       3   from Vernon Zeitz in, say, the late '70s. And
     4       now.                                         4   it talks about, amongst other things, your
     5   BY MR. EWALD:                                    5   legions, "If we are to be those legions, it is
     6       Q. As you sit here today, you don't          6   imperative we overcome the inertia of our past
     7   know what they knew one way or another, right? 7     to modernize and mobilize our defenses and
     8       A. I can't tell you what was in -- but       8   offenses so we enter into battle with the
     9   it makes a lot of sense that Dr. Merkatz and     9   outcome assured," right?
    10   Ms. Schmenan were attending these meetings. 10           A. That's what it says.
    11   And if they were looking for certain studies to 11       Q. Right. And when you take that
    12   be done, then the agency, you know, they were 12     letter and, say, in paragraph 188, "In my
    13   doing their jobs.                               13   opinion, J&J decided in 1970s to aggressively
    14       Q. Okay. On --                              14   defend its product. That strategy kept their
    15       A. Do you have other -- do you have         15   product in the market for 50 years but put the
    16   other documents? I would love to see maybe to 16     public's health at risk. It may not have been
    17   clarify.                                        17   that way if J&J was willing to bear any
    18       Q. You're the one that's coming off of      18   additional cost in reformulating the product."
    19   seven hours so...                               19            That's what you write, right?
    20            I might have more to show you.         20       A. That's what I write.
    21       A. I'm happy to come to Brooklyn.           21       Q. And are you suggesting in a Vernon
    22       Q. Just look at, if you wouldn't            22   Zeitz's letter in the late 1970s was
    23   mind --                                         23   internalized and held forth in the company over
    24            MS. O'DELL: That was an                24   the ensuing 50 years?
    25       unauthorized statement.                     25            MS. O'DELL: Object to the form.
                                                                                       78 (Pages 306 - 309)
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                                                  Page 310                                                Page 312
     1           THE WITNESS: No. I -- I am not,              1   think every aspect of that sentence is -- you
     2      but I do have the impression that -- no,          2   know, I don't know how you -- tell me what you
     3      I'm not -- I'm not implicating Mr. Zeitz.         3   dispute in that sentence or sentences.
     4      I'm responsible for my -- my opinion              4      Q. Well, again, I know it's been a
     5      there. I mean, this is the totality of            5   long day, but I still don't have to answer your
     6      the picture that I see.                           6   questions.
     7   BY MR. EWALD:                                        7           My question to you, then, is:
     8      Q. Okay. And you say that they put                8   Throughout the day you've returned to this idea
     9   the public health at risk because they weren't       9   that J&J intentionally used test methods to
    10   willing to bear any additional costs to             10   mask the presence of asbestos.
    11   reformulate the product.                            11           How is there any way to understand
    12           That's what you write, right?               12   that conclusion other than that J&J knowingly
    13      A. Yeah. I think "additional" may not            13   put baby powder and other talc products on the
    14   be the most artful word. I mean, there was --       14   market that has asbestos in it?
    15   they didn't -- they didn't go -- you know, they     15           MS. O'DELL: Object to the form.
    16   obviously didn't go to corn starch. There was       16           THE WITNESS: So I -- there's
    17   a price differential there. That's all I mean.      17      nothing I'm the talking about intent here.
    18      Q. Okay. And so is it the opinion                18      Okay.
    19   that you're offering to a reasonable degree of      19           What I think -- and I'm very
    20   certainty that J&J knew its product contained       20      serious about this. You may not
    21   asbestos, knew that it put the public at risk,      21      understand that for anyone listening on
    22   but just decided to sell it anyway; that's your     22      this phone, right.
    23   view?                                               23           I think if you look at the
    24      A. No. I'm -- I am -- you're using               24      evidence, okay, and you just look
    25   the word "knew," okay. I'm not going to use         25      objectively at the evidence -- and I don't
                                                  Page 311                                                Page 313
     1   the word -- I don't use the word "knew" there.  1           think people are focused on this -- I
     2           Okay. Let's take --                     2           mean, and again, I'm still learning,
     3      Q. I'm not --                                3           right. I mean, and there's still -- you
     4      A. Let's take it out of the subjective       4           know, there's still much to understand,
     5   intent. It depends how you use the word         5           right.
     6   "knew." J&J knew. J&J decided.                  6                 But at every stage, just processing
     7           I mean, there was -- I don't think      7           it is going to mask it. The way it was
     8   there's any question -- you tell me if I'm      8           tested, we spent -- you didn't ask me
     9   wrong -- aggressively defended its product,     9           anything about putting it through a 325
    10   right. I mean, that has been the strategy for  10           mesh, right. 325 mesh you're going to
    11   50 years, right.                               11           diminish the pickup, right. I mean, at
    12           That strategy kept the -- their --     12           every stage here, right, you decrease the
    13   their product on the market for 50 years.      13           chances of picking up asbestos, right.
    14   There's a strategy to switch to corn starch.   14                 What people intended, that's not my
    15   That strategy put the public health at risk. I 15           job. Okay. But a reasonable -- let me
    16   don't think there's any question about that.   16           just finish.
    17           You look at the epidemiological        17                 A reasonable and sophisticated
    18   studies. There is a small statistically        18           company, right, when you look at the
    19   significant public health need.                19           grinding and the crushing and the milling,
    20           It may not be that way. It didn't      20           when you look at the passing it through
    21   have to be that way. J&J could have gone to    21           these sieves, you look at the sensitivity,
    22   corn starch and reformulated its product.      22           you look at the five-counting rule, you
    23           I don't see how you can disagree       23           look at the retesting, you know, it -- you
    24   with anything in that statement. It has        24           see -- certainly J&J documents say, you
    25   nothing to do with Johnson & Johnson knew. I 25             know, TEM, too sensitive. Can't use it.
                                                                                           79 (Pages 310 - 313)
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                                              Page 314                                                           Page 316
     1         Okay. Put it all together, one way         1        for all the reasons we discussed today.
     2    or another, detection of asbestos -- I am       2             MR. EWALD: Okay. Doctor, I think
     3    100 percent confident -- was masked,            3        my time's up. Thanks.
     4    right. I mean, in this by a whole series        4             THE WITNESS: Thank you, sir.
     5    of steps.                                       5             MS. O'DELL: I have no questions.
     6         When Ashton knew -- what Bill              6             MR. EWALD: Thank you.
     7    Ashton knew, what he did, we're not going       7             THE COURT REPORTER: Counsel,
     8    to know, right.                                 8        before everybody leaves, regular delivery
     9         But when you look at this, right,          9        on the transcript?
    10    there's no doubt that the manufacturing        10             Mr. Ewald, regular delivery on the
    11    process, right, and the testing and, you       11        transcript?
    12    know, the mask the presence of asbestos.       12             MR. EWALD: Yes.
    13    And that's -- I mean, that's -- that to me     13             (The witness is excused.)
    14    is key here.                                   14             (Deposition of David A. Kessler,
    15         You keep on saying there's no             15        M.D., concluded at 7:15 p.m. EDT.)
    16    asbestos. There's never been asbestos.         16
    17    There -- it makes no sense. You put in         17
    18    place a method to detect it, and you never     18
    19    detected it. So what good was the method       19
    20    of detecting it. That was the fatal flaw,      20
    21    right.                                         21
    22         And you -- the last document you          22
    23    talked about NTP, right. J&J's -- I mean,      23
    24    the staff there wanted NTP not to classify     24
    25    this as a carcinogen. They said there was      25
                                              Page 315                                                           Page 317
     1    a fatal flaw, right, and that's actually        1             CERTIFICATE
     2    one of the things that got me thinking          2
     3    about this.                                     3
     4         What was the fatal flaw to get NTP         4           I, SUZANNE J. STOTZ, a Certified
     5    not to classify it? And the                     5 Court Reporter, Registered Professional
     6    classification -- the fatal flaw that J&J       6 Reporter, Certified Realtime Reporter, and
     7    employees came up with to get NTP was --        7 Notary Public in and for the State of New
     8    you know, you can -- your epi is not right      8 Jersey, do hereby certify that the foregoing is
     9    because before 1976 there was asbestos in       9 a true and accurate transcript of the
    10    there, right. And after 1976, we cleaned       10 stenographic above-captioned matter.
    11    it up; and there was no asbestos.              11
    12         That was the fatal flaw NTP; and          12             <%12203,Signature%>
    13    therefore, you can't rely on the -- you        13           _______________________________
    14    can't rely on it to classify it as a           14           SUZANNE J. STOTZ, CCR, RPR, CRR
    15    possible carcinogen.                           15              LICENSE NO. 30XI00184500
    16         The fatal flaw here, as you put it,       16
    17    was the industry in J&J putting J4-1,          17
    18    screen out the asbestos and it never had a     18 DATED: April 25, 2024
    19    positive. That's the fatal flaw in the         19
    20    whole argument, right. That can't be, and      20
    21    I don't understand that.                       21 NOTE: THE CERTIFICATE APPENDED TO THIS
    22         The only way to -- the answer to          22 TRANSCRIPT DOES NOT APPLY TO ANY REPRODUCTION
    23    that question, right, is that when you         23 OF THE SAME BY ANY MEANS, UNLESS UNDER THE
    24    look, the reason why you were able to say      24 DIRECT CONTROL AND/OR DIRECTION OF THE
    25    no asbestos, no asbestos, no asbestos is       25 CERTIFYING COURT REPORTER.

                                                                                                    80 (Pages 314 - 317)
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                                                    Page 318
     1           ERRATA SHEET
     2      I have read my testimony in the foregoing
     3   transcript and believe it to be true and
     4   correct to the best of my knowledge and belief
     5   with the following changes:
     6   PAGE LINE            CHANGE
     7   ______ ______ _________________________
     8   ______ ______ _________________________
     9   ______ ______ _________________________
    10   ______ ______ _________________________
    11   ______ ______ _________________________
    12   ______ ______ _________________________
    13   ______ ______ _________________________
    14   ______ ______ _________________________
    15   ______ ______ _________________________
    16   ______ ______ _________________________
    17
    18   __________________________ ___________
    19   WITNESS SIGNATURE          DATE
    20
    21   Sworn and subscribed to before me this
    22   _____ day of _____________________ , 2024.
    23
    24   Notary Public of the
    25   State of ______________________________.




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                      Federal Rules of Civil Procedure

                                      Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




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          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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